         Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                              Entered 04/03/21 02:48:03                   Page 1 of 151

                     Part IV                       Supplemental Information. Provide the explanations required by Part I, line 2b, columns (iii) and (v),
                                                   and Part III, lines 9, 9b, 10b, 15b, 15c, 16, and 17b, as applicable. Also provide any additional
                                                   information (see instructions).


     Return Reference - Identifier                                                  Explanation
    SCHEDULE G, PART I,              THIS SUPPLEMENTAL INFORMATION NOTES THE DISTINCTION BETWEEN 990 CORE FORM PART VII SECTION
    LINE 2B(II) - VENDOR             B LINE 1 (2) AND SCHEDULE G PART I LINE 2B(2) FOR THE FILING ORGANIZATION'S VENDOR INFOCISION
    INFOCISION                       MANAGEMENT CORP. THE VENDOR INFOCISION PROVIDED SERVICES TO THE FILING ORGANIZATION FOR
    MANAGEMENT CORP                  BOTH MEMBERSHIPS AND CONTRIBUTIONS SOLICITATIONS, AS SHOWN ON 990 CORE FORM PART VIII
                                     SECTION B LINE 1. SCHEDULE G IS SPECIFIC TO THE VENDOR'S WORK AS A PAID SOLICITOR PROVIDING
                                     PROFESSIONAL FUNDRAISING SERVICES. THEREFORE, THE SCHEDULE G DISCLOSURE EXCLUDES THE
                                     MEMBERSHIP PROCESSING SERVICES.




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                              73         11/18/2020 9:47:17 AM
 XX-XXXXXXX
                                    Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                             Entered 04/03/21 02:48:03                               Page 2 of 151
   SCHEDULE I                                                 Grants and Other Assistance to Organizations,                                                                                                 OMB No. 1545-0047


                                                                                                                                                                                                               2019
   (Form 990)                                                Governments, and Individuals in the United States
                                                            Complete if the organization answered “Yes” on Form 990, Part IV, line 21 or 22.

   Department of the Treasury
                                                                                         ▶ Attach to Form 990.                                                                                             Open to Public
   Internal Revenue Service                                             ▶ Go to www.irs.gov/Form990 for the latest information.                                                                             Inspection
   Name of the organization                                                                                                                                                          Employer identification number
    NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                                                                                              XX-XXXXXXX
     Part I       General Information on Grants and Assistance
      1     Does the organization maintain records to substantiate the amount of the grants or assistance, the grantees’ eligibility for the grants or assistance, and
            the selection criteria used to award the grants or assistance?   . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                     ✔   Yes          No
      2     Describe in Part IV the organization’s procedures for monitoring the use of grant funds in the United States.
    Part II       Grants and Other Assistance to Domestic Organizations and Domestic Governments. Complete if the organization answered “Yes” on Form 990,
                  Part IV, line 21, for any recipient that received more than $5,000. Part II can be duplicated if additional space is needed.
      1 (a) Name and address of organization     (b) EIN         (c) IRC section    (d) Amount of cash   (e) Amount of non-    (f) Method of valuation            (g) Description of                     (h) Purpose of grant
                                                                                                                               (book, FMV, appraisal,
                  or government                                   (if applicable)         grant            cash assistance             other)                    noncash assistance                          or assistance

     (1) (SEE STATEMENT)
                                               XX-XXXXXXX          501(C)(3)                   12,000                                                                                              (SEE STATEMENT)
     (2)

     (3)

     (4)

     (5)

     (6)

     (7)

     (8)

     (9)

    (10)

    (11)

    (12)

      2     Enter total number of section 501(c)(3) and government organizations listed in the line 1 table .            .     .   .   .   .    .   .    .   .   .   .   .   .   .     .   .   .   ▶                 1
      3     Enter total number of other organizations listed in the line 1 table . . . . . . . . . .                     .     .   .   .   .    .   .    .   .   .   .   .   .   .     .   .   .   ▶                 0
   For Paperwork Reduction Act Notice, see the Instructions for Form 990.                                                    Cat. No. 50055P                                                           Schedule I (Form 990) (2019)




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                                      74                11/18/2020 9:47:17 AM
 XX-XXXXXXX
                                     Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                Entered 04/03/21 02:48:03                      Page 3 of 151
   Schedule I (Form 990) (2019)                                                                                                                                                                Page 2
    Part III      Grants and Other Assistance to Domestic Individuals. Complete if the organization answered “Yes” on Form 990, Part IV, line 22.
                  Part III can be duplicated if additional space is needed.
                     (a) Type of grant or assistance       (b) Number of     (c) Amount of          (d) Amount of          (e) Method of valuation (book,   (f) Description of noncash assistance
                                                             recipients        cash grant         noncash assistance           FMV, appraisal, other)


      1 (SEE STATEMENT)                                         22                      91,491                         0


      2

      3

      4

      5

      6

      7
    Part IV       Supplemental Information. Provide the information required in Part I, line 2; Part III, column (b); and any other additional information.

    (SEE STATEMENT)




                                                                                                                                                                        Schedule I (Form 990) (2019)




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                      75             11/18/2020 9:47:17 AM
 XX-XXXXXXX
         Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                              Entered 04/03/21 02:48:03                   Page 4 of 151

                    Part IV                       Supplemental Information. Provide the information required in Part I, line 2, Part III, column (b), and
                                                  any other additional information.


    Return Reference - Identifier                                            Explanation
    SCHEDULE I, PART I, LINE        THE NATIONAL FOUNDATION FOR WOMEN LEGISLATORS PARTNERS WITH THE NATIONAL RIFLE
    2 - PROCEDURES FOR              ASSOCIATION FOR THE ANNUAL NFWL/NRA BILL OF RIGHTS ESSAY SCHOLARSHIP CONTEST FOR FEMALE
    MONITORING USE OF               HIGH SCHOOL JUNIORS AND SENIORS. THE NRA ACTIVELY ASSISTS NATIONAL FOUNDATION OF WOMEN
    GRANT FUNDS.                    LEGISLATORS IN THE SELECTION AND ADMINISTRATION OF NFWL SCHOLARSHIPS FOR COLLEGE. NFWL
                                    SCHOLARSHIP APPLICATIONS ARE ASSESSED ON THE ELEMENTS OF HISTORICAL RESEARCH, INSIGHT AND
                                    PERSPECTIVE, DEMONSTRATED UNDERSTANDING OF THE AMERICAN CONSTITUTION, INSPIRATIONAL
                                    QUALITY, AND MEANINGFUL PERSONAL CONNECTION. SCHOLARSHIP AWARDS ARE PAID DIRECTLY TO THE
                                    EDUCATIONAL INSTITUTION.
    SCHEDULE I, PART II,
    COLUMN A - NAME AND             NATIONAL FOUNDATION FOR WOMEN LEGISLATORS
    ADDRESS OF
    ORGANIZATION OR                 910 16TH ST NW, WASHINGTON, DC 20006-2900
    GOVERNMENT
    SCHEDULE I, PART II ,           NATIONAL FOUNDATION FOR WOMEN LEGISLATORS:
    COLUMN H - PURPOSE OF
    GRANT OR ASSISTANCE             UNDERGRADUATE COLLEGE SCHOLARSHIP
    SCHEDULE I, PART III -          THE NRA JEANNE E. BRAY MEMORIAL SCHOLARSHIP AWARDS PROGRAM IS NAMED IN HONOR AND
    LINE 1                          RECOGNITION OF THE GROUNDBREAKING POLICE OFFICER JEANNE E. BRAY, A SHOOTING CHAMPION AND
                                    PAST MEMBER OF THE NRA BOARD OF DIRECTORS. JEANNE E. BRAY WAS THE FIRST FEMALE DETECTIVE
                                    ON BURGLARY SQUAD, WHICH HAS EVOLVED INTO TODAY'S MODERN SWAT TEAMS. SHE WAS THE FIRST
                                    FEMALE POLICE OFFICER TO EARN THE NRA POLICE MARKSMANSHIP "DISTINGUISHED" BAR, AND SHE WON
                                    THE NATIONAL WOMEN'S POLICE PISTOL COMBAT CHAMPIONSHIP FIVE TIMES FROM 1962 TO 1967. THE
                                    PROGRAM OFFERS SCHOLARSHIPS OF UP TO $2,500 PER SEMESTER, UP TO $5,000 PER YEAR FOR A
                                    MAXIMUM OF FOUR YEARS, TO DEPENDENT CHILDREN OF ANY PUBLIC LAW ENFORCEMENT OFFICER
                                    KILLED IN THE LINE OF DUTY WHO WAS AN NRA MEMBER AT THE TIME OF DEATH, AND TO DEPENDENT
                                    CHILDREN OF ANY CURRENT OR RETIRED LAW ENFORCEMENT OFFICERS WHO ARE LIVING AND HAVE
                                    CURRENT NRA MEMBERSHIP. THE MEMBERSHIP RESTRICTION IS PERMITTED BY LAW BECAUSE THE NRA
                                    JEANNE E. BRAY MEMORIAL SCHOLARSHIP AWARDS PROGRAM IS A 501(C)(4) PROGRAM. SCHOLARSHIP
                                    AWARDS ARE PAID DIRECTLY TO THE EDUCATIONAL INSTITUTION.
    SCHEDULE I, PART III,
    COLUMN A - TYPE OF              NRA JEANNE E BRAY MEMORIAL SCHOLARSHIP AWARDS
    GRANT




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                             76          11/18/2020 9:47:17 AM
 XX-XXXXXXX
           Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                                Entered 04/03/21 02:48:03                             Page 5 of 151
   SCHEDULE J                                          Compensation Information                                                                       OMB No. 1545-0047


                                                                                                                                                       2019
   (Form 990)                            For certain Officers, Directors, Trustees, Key Employees, and Highest
                                                                Compensated Employees
                                      ▶ Complete if the organization answered “Yes” on Form 990, Part IV, line 23.
                                                                  ▶ Attach to Form 990.                                                               Open to Public
   Department of the Treasury
   Internal Revenue Service            ▶ Go to www.irs.gov/Form990 for instructions and the latest information.                                        Inspection
   Name of the organization                                                                                             Employer identification number
    NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                                   XX-XXXXXXX
     Part I         Questions Regarding Compensation
                                                                                                                                                               Yes   No
      1a     Check the appropriate box(es) if the organization provided any of the following to or for a person listed on Form
             990, Part VII, Section A, line 1a. Complete Part III to provide any relevant information regarding these items.
              ✔   First-class or charter travel                        ✔   Housing allowance or residence for personal use
              ✔   Travel for companions                                    Payments for business use of personal residence
              ✔   Tax indemnification and gross-up payments            ✔   Health or social club dues or initiation fees
                  Discretionary spending account                           Personal services (such as maid, chauffeur, chef)

       b If any of the boxes on line 1a are checked, did the organization follow a written policy regarding payment
         or reimbursement or provision of all of the expenses described above? If “No,” complete Part III to
         explain . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                      1b         ✔


      2      Did the organization require substantiation prior to reimbursing or allowing expenses incurred by all
             directors, trustees, and officers, including the CEO/Executive Director, regarding the items checked on line
             1a? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                     2         ✔


      3      Indicate which, if any, of the following the organization used to establish the compensation of the
             organization’s CEO/Executive Director. Check all that apply. Do not check any boxes for methods used by a
             related organization to establish compensation of the CEO/Executive Director, but explain in Part III.
              ✔   Compensation committee                               ✔   Written employment contract
                  Independent compensation consultant                  ✔   Compensation survey or study
                  Form 990 of other organizations                      ✔   Approval by the board or compensation committee

      4      During the year, did any person listed on Form 990, Part VII, Section A, line 1a, with respect to the filing
             organization or a related organization:
       a Receive a severance payment or change-of-control payment? . . . . . . . . . . . . . . .                                                          4a   ✔
       b Participate in, or receive payment from, a supplemental nonqualified retirement plan? . . . . . . .                                              4b   ✔
       c Participate in, or receive payment from, an equity-based compensation arrangement? . . . . . . .                                                 4c         ✔
         If “Yes” to any of lines 4a–c, list the persons and provide the applicable amounts for each item in Part III.

             Only section 501(c)(3), 501(c)(4), and 501(c)(29) organizations must complete lines 5–9.
      5      For persons listed on Form 990, Part VII, Section A, line 1a, did the organization pay or accrue any
             compensation contingent on the revenues of:
          a The organization? . . . . . . . . .                .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .     .       5a   ✔
          b Any related organization? . . . . . .              .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .     .       5b         ✔
            If “Yes” on line 5a or 5b, describe in Part III.

      6      For persons listed on Form 990, Part VII, Section A, line 1a, did the organization pay or accrue any
             compensation contingent on the net earnings of:
          a The organization? . . . . . . . . .                .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .     .       6a         ✔
          b Any related organization? . . . . . .              .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .     .       6b         ✔
            If “Yes” on line 6a or 6b, describe in Part III.

      7      For persons listed on Form 990, Part VII, Section A, line 1a, did the organization provide any nonfixed
             payments not described on lines 5 and 6? If “Yes,” describe in Part III . . . . . . . . . . . . .                                             7   ✔
      8      Were any amounts reported on Form 990, Part VII, paid or accrued pursuant to a contract that was subject
             to the initial contract exception described in Regulations section 53.4958-4(a)(3)? If “Yes,” describe
             in Part III . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                 8         ✔


      9      If “Yes” on line 8, did the organization also follow the rebuttable presumption procedure described in
             Regulations section 53.4958-6(c)?   . . . . . . . . . . . . . . . . . . . . . . . .                                                           9
   For Paperwork Reduction Act Notice, see the Instructions for Form 990.                              Cat. No. 50053T                          Schedule J (Form 990) 2019


NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                      77           11/18/2020 9:47:17 AM
 XX-XXXXXXX
                                        Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                           Entered 04/03/21 02:48:03              Page 6 of 151
   Schedule J (Form 990) 2019                                                                                                                                                                       Page   2
    Part II          Officers, Directors, Trustees, Key Employees, and Highest Compensated Employees. Use duplicate copies if additional space is needed.
   For each individual whose compensation must be reported on Schedule J, report compensation from the organization on row (i) and from related organizations, described in the
   instructions, on row (ii). Do not list any individuals that aren’t listed on Form 990, Part VII.
   Note: The sum of columns (B)(i)–(iii) for each listed individual must equal the total amount of Form 990, Part VII, Section A, line 1a, applicable column (D) and (E) amounts for that individual.
                                                        (B) Breakdown of W-2 and/or 1099-MISC compensation
                                                                                                                      (C) Retirement and   (D) Nontaxable     (E) Total of columns      (F) Compensation
                                                          (i) Base        (ii) Bonus & incentive      (iii) Other       other deferred         benefits             (B)(i)–(D)       in column (B) reported
                  (A) Name and Title                                                                                                                                                   as deferred on prior
                                                        compensation           compensation          reportable         compensation
                                                                                                   compensation                                                                              Form 990

          MARION P HAMMER                         (i)           220,350                      0                    0                    0                  0               220,350                       0
      1 BOARD DIRECTOR                           (ii)                 0                      0                    0                    0                  0                     0                       0
        OLIVER L NORTH                           (i)            986,015                      0                    0                    0                  0               986,015                       0
      2 BOARD DIRECTOR                           (ii)                 0                      0                    0                    0                  0                     0                       0
          CHRIS COX                              (i)            744,676                      0              767,906               16,800             43,143             1,572,525                 652,997
      3 EXECUTIVE DIRECTOR ILA 6/26/2019         (ii)                 0                      0                    0                    0                  0                     0                       0
        JOSEPH P DEBERGALIS, JR                  (i)            346,490                      0               75,850               16,800             37,216               476,356                       0
      4 EXECUTIVE DIRECTOR GO                    (ii)                 0                      0                    0                    0                  0                     0                       0
        JOHN C FRAZER                            (i)            324,989                 54,100               35,496               16,800             59,084               490,469                       0
      5 SECRETARY                                (ii)                 0                      0                    0                    0                  0                     0                       0
          WAYNE R LAPIERRE                       (i)          1,268,790                455,000               86,781               16,800             57,338             1,884,709                       0
      6 EXECUTIVE VICE PRESIDENT                 (ii)                 0                      0                    0                    0                  0                     0                       0
        JASON OUIMET                             (i)            393,922                      0                3,182               16,574             48,590               462,268                       0
      7 EXECUTIVE DIRECTOR ILA                   (ii)                 0                      0                    0                    0                  0                     0                       0
        CRAIG B SPRAY                            (i)            566,437                210,000               29,274               16,800             53,227               875,738                       0
      8 TREASURER                                (ii)                 0                      0                    0                    0                  0                     0                       0
          TODD GRABLE                            (i)            437,958                187,744               11,130               16,800             48,309               701,941                       0
      9 EXECUTIVE DIRECTOR, MEMBERSHIP           (ii)                 0                      0                    0                    0                  0                     0                       0
        DOUG HAMLIN                              (i)            455,666                100,000               61,166               16,800             62,782               696,414                       0
     10 EXECUTIVE DIRECTOR, PUBLICATIONS         (ii)                 0                      0                    0                    0                  0                     0                       0
        DAVID LEHMAN                             (i)            384,381                      0              251,355               16,800              7,120               659,656                 235,810
     11   DEPUTY EXECUTIVE DIRECTOR 9/13/2019    (ii)                 0                      0                    0                    0                  0                     0                       0
          JOSHUA L POWELL                        (i)            784,652                      0               74,278               16,800             59,351               935,081                       0
     12
          CHIEF OF STAFF AND SENIOR STRATEGIST   (ii)                 0                      0                    0                    0                  0                     0                       0
          TYLER SCHROPP                          (i)            718,429                 75,000                7,911               16,784             51,889               870,013                       0
     13 EXECUTIVE DIRECTOR, ADVANCEMENT          (ii)                 0                      0                    0                    0                  0                     0                       0
        THOMAS R TEDRICK                         (i)            389,316                      0                7,998               16,800             28,323               442,437                       0
     14 MANAGING DIRECTOR FINANCE                (ii)                 0                      0                    0                    0                  0                     0                       0
        JOHN G PERREN                            (i)            350,000                      0                9,906                8,885              3,411               372,202                       0
     15 SR. ADVISOR TO THE EVP                   (ii)                 0                      0                    0                    0                  0                     0                       0
          (SEE STATEMENT)                        (i)
     16                                          (ii)
                                                                                                                                                                                Schedule J (Form 990) 2019




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                                78        11/18/2020 9:47:17 AM
 XX-XXXXXXX
                             Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                          Entered 04/03/21 02:48:03                   Page 7 of 151

           Part II   Officers, Directors, Trustees, Key Employees and Highest Compensated Employees (continued)


                             (a)                                                     (b)                                  (c)                  (d)                 (e)                 (f)

                           Name                                Breakdown of W-2 and/or 1099-MISC compensation        Retirement and         Nontaxable       Total of columns     Compensation
                                                                                                                     other deferred          benefits            (b)(i)-(d)      reported in prior
                                                                 (i) Base        (ii) Bonus &       (iii) Other      compensation                                               Form 990 or Form
                                                              Compensation          incentive       reportable                                                                       990-EZ
                                                                                compensation      compensation
       WILSON H PHILLIPS
    (16)                                               (i)            232,366                 0            427,020              4,985                    0            664,371                426,309
    FORMER TREASURER 9/13/2018                         (ii)                 0                 0                  0                  0                    0                  0                      0
    (17)ROBERT K WEAVER                                (i)                  0                 0            240,000                  0                    0            240,000                      0
    FORMER EXECUTIVE FORMER DIRECTOR GO
    10/25/2016                                         (ii)                 0                 0                 0                     0                  0                  0                     0




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                    79               11/18/2020 9:47:17 AM
 XX-XXXXXXX
         Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                               Entered 04/03/21 02:48:03                    Page 8 of 151

                     Part III                      Supplemental Information. Provide the information, explanation, or descriptions required for Part I,
                                                   lines 1a, 1b, 3, 4a, 4b, 4c, 5a, 5b, 6a, 6b, 7, and 8, and for Part II. Also complete this part for any
                                                   additional information.


     Return Reference - Identifier                                           Explanation
    SCHEDULE J, PART I, LINE         CHARTER TRAVEL WAS USED ON OCCASIONS WHEN TRAVEL LOGISTICS OR SECURITY CONCERNS
    1A - FIRST-CLASS OR              PRECLUDED OTHER AVAILABLE OPTIONS, AND TRAVEL WAS PROPERLY EXCLUDED FROM TAXABLE
    CHARTER TRAVEL                   COMPENSATION.
    SCHEDULE J, PART I, LINE         DUES FOR CERTAIN EMPLOYEES MAINTAINING MEMBERSHIPS IN CLUBS FOR BUSINESS PURPOSES, ARE
    1A - HEALTH OR SOCIAL            APPROVED THROUGH THE NRA'S STANDARD EXPENSE REIMBURSEMENT PROCESS.
    CLUB DUES OR
    INITIATION FEES
    SCHEDULE J, PART I, LINE         HOUSING EXPENSES WERE PROVIDED FOR FOUR INDIVIDUALS AND WERE PROPERLY INCLUDED IN
    1A - HOUSING                     TAXABLE COMPENSATION. DOUG HAMLIN $20,901, JOSHUA POWELL $69,299, JOSEPH DEBERGALIS $52,983,
    ALLOWANCE OR                     AND CRAIG B SPRAY $3,500.
    RESIDENCE FOR
    PERSONAL USE
    SCHEDULE J, PART I, LINE         ONE INDIVIDUAL (TYLER SCHROPP) RECEIVED A DISCRETIONARY BONUS THAT WAS GROSSED UP. THE
    1A - TAX                         BONUS WAS TREATED AS TAXABLE COMPENSATION
    INDEMNIFICATION AND
    GROSS-UP PAYMENTS
    SCHEDULE J, PART I, LINE         COMPANIONS OCCASIONALLY TRAVEL WITH NRA OFFICIALS. TRAVELS WERE PROPERLY EXCLUDED FROM
    1A - TRAVEL FOR                  TAXABLE COMPENSATION WHEN TRAVELING ON NRA BUSINESS. SEE SCHEDULE L FOR ADDITIONAL
    COMPANIONS                       DISCLOSURES.
    SCHEDULE J, PART I, LINE         THE NRA HAS A WRITTEN POLICY FOR FIRST-CLASS TRAVEL.
    1B - WRITTEN POLICY
    REGARDING PAYMENT OR
    REIMBURSEMENT OF
    EXPENSES
    SCHEDULE J, PART I, LINE         COMPENSATION OF THE NRA'S TOP MANAGEMENT OFFICIAL IS ESTABLISHED BY METHODS INCLUDING
    3 - METHODS USED TO              COMPENSATION SURVEYS AND STUDIES, AND COMPARABILITY DATA. COMPENSATION OF THE TOP
    ESTABLISH THE                    MANAGEMENT OFFICIAL MUST BE APPROVED BY THE BOARD OF DIRECTORS, BASED ON
    COMPENSATION                     RECOMMENDATIONS BY THE COMPENSATION COMMITTEE. ALL DECISIONS ARE PROPERLY DOCUMENTED.
    SCHEDULE J, PART I, LINE         ROBERT K. WEAVER'S EMPLOYMENT AS EXECUTIVE DIRECTOR OF GENERAL OPERATIONS ENDED IN 2016
    4A - SEVERANCE OR                AND DURING CALENDAR YEAR 2019 MR. WEAVER RECEIVED TAXABLE COMPENSATION OF $240,000 AS
    CHANGE-OF-CONTROL                YEAR 4 OF A 4 YEAR SEVERANCE AGREEMENT.
    PAYMENT
    SCHEDULE J, PART I, LINE THE NRA HAS DEFERRED COMPENSATION RETIREMENT BENEFIT PLANS FOR CERTAIN EMPLOYEES AND
    4B - SUPPLEMENTAL        NONQUALIFIED SUPPLEMENTAL EXECUTIVE RETIREMENT PLANS FOR CERTAIN EMPLOYEES. FOR
    NONQUALIFIED             NONQUALIFIED PLANS, THE FILING ORGANIZATION DECIDES THE BENEFIT AMOUNT AND TIMEFRAME FOR
    RETIREMENT PLAN          VESTING OF EACH PARTICIPANT USING DIFFERENT FACTORS PARTICULAR TO EACH RELEVANT INDIVIDUAL
                             AND HIS OR HER SPECIFIC CIRCUMSTANCES. PAYOUTS ARE PROPERLY INCLUDED IN TAXABLE WAGES AND
                             REPORTED IN W-2 INCOME. THE AMOUNT FOR MR. COX INCLUDE $246,031 457(F) DISBURSEMENT, FOR MR.
                             PHILLIPS $19,853 457(F) DISBURSEMENT, AND MR. LEHMAN $51,213 457(F) DISBURSEMENT.
    SCHEDULE J, PART I, LINE ONE INDIVIDUAL LISTED ON FORM 990, PART VII, SECTION A, LINE 1A, TODD GRABLE, RECEIVES INCENTIVE
    5A - COMPENSATION        COMPENSATION BASED ON REVENUES RECEIVED FROM CERTAIN MARKETING, RECRUITING, AND
    CONTINGENT ON            LICENSING PROGRAMS.
    REVENUES OF THE
    ORGANIZATION
    SCHEDULE J, PART I, LINE THREE INDIVIDUALS LISTED ON FORM 990, PART VII, SECTION A, LINE 1A (MR. LAPIERRE, MR. SPRAY AND
    7 - NON-FIXED PAYMENTS MR. FRAZER) RECEIVED DISCRETIONARY BONUSES APPROVED BY THE BOARD OF DIRECTORS. TWO
                             INDIVIDUALS (MR. SCHROPP AND MR. HAMLIN) RECEIVED DISCRETIONARY BONUSES APPROVED BY THEIR
                             SUPERVISOR.
    SCHEDULE J, PART II,     OLIVER L. NORTH RECEIVED $986,015 PAID BY AN UNRELATED ORGANIZATION, ACKERMAN MCQUEEN (AS
    COLUMN (B)(I) - OLIVER L FURTHER DETAILED ON SCHEDULE O). JULIE GOLOB RECEIVED $16,119 PAID BY AN UNRELATED
    NORTH                    ORGANIZATION, ACKERMAN MCQUEEN (AS FURTHER DETAILED ON SCHEDULE O)
    SCHEDULE J, PART II,     OTHER REPORTABLE COMPENSATION WITHIN TAXABLE WAGES FOR MR. LAPIERRE INCLUDED $63,036
    COLUMN (B)(III) - OTHER  GROUP LIFE INSURANCE, $19,000 457(B) PLAN, AND $4,745 TAXABLE PERSONAL EXPENSES. OTHER
    REPORTABLE               REPORTABLE COMPENSATION WITHIN TAXABLE WAGES FOR MR. COX INCLUDED $406,965 457(B) PAYOUT,
    COMPENSATION             $246,031 457(F) PAYOUT, $10,234 457(B) PLAN, $3,735 GROUP LIFE INSURANCE, AND $940 TAXABLE
                             PERSONAL EXPENSES. OTHER REPORTABLE COMPENSATION WITHIN TAXABLE WAGES FOR MR. PHILLIPS
                             INCLUDED $406,456 457(B) PAYOUT, $19,853 457(F) PAYOUT, AND $711 457(B) PLAN. OTHER REPORTABLE
                             COMPENSATION WITHIN TAXABLE WAGES FOR MR. POWELL INCLUDED $70,048 TAXABLE PERSONAL
                             EXPENSES AND $4,230 GROUP LIFE INSURANCE. OTHER REPORTABLE COMPENSATION WITHIN TAXABLE
                             WAGES FOR MR. SPRAY INCLUDED $19,000 457(B) PLAN, $7,100 TAXABLE PERSONAL EXPENSE, AND $3,174
                             GROUP LIFE INSURANCE. OTHER REPORTABLE COMPENSATION WITHIN TAXABLE WAGES FOR MR. FRAZER
                             INCLUDED $19,000 457(B) PLAN, $12,652 TAXABLE PERSONAL EXPENSES, AND $3,845 GROUP LIFE
                             INSURANCE. OTHER REPORTABLE COMPENSATION WITHIN TAXABLE WAGES FOR MR. DEBERGALIS
                             INCLUDED $53,238 TAXABLE PERSONAL EXPENSES, $19,000 457(B) PLAN, AND $3,612 GROUP LIFE
                             INSURANCE. OTHER REPORTABLE COMPENSATION WITHIN TAXABLE WAGES FOR MR. OUIMET INCLUDED
                             $930 GROUP LIFE INSURANCE AND $2,252 TAXABLE PERSONAL EXPENSES. OTHER REPORTABLE
                             COMPENSATION WITHIN TAXABLE WAGES FOR MR. SCHROPP INCLUDED $4,545 GROUP LIFE INSURANCE
                             AND $3,366 TAXABLE PERSONAL EXPENSES. OTHER REPORTABLE COMPENSATION WITHIN TAXABLE
                             WAGES FOR MR. GRABLE INCLUDED $9,600 TAXABLE PERSONAL EXPENSES AND $1,530 GROUP LIFE
                             INSURANCE. OTHER REPORTABLE COMPENSATION WITHIN TAXABLE WAGES FOR MR. HAMLIN INCLUDED
                             $26,901 TAXABLE PERSONAL EXPENSES, $19,000 457(B) PLAN, AND $15,265 GROUP LIFE INSURANCE. OTHER
                             REPORTABLE COMPENSATION WITHIN TAXABLE WAGES FOR MR. LEHMAN INCLUDED $51,213 457(F)
                             PAYOUT, $13,889 457(B) PLAN CONTRIBUTION, 457(B) PAYOUT 184,597, AND $1,656 GROUP LIFE INSURANCE.
                             OTHER REPORTABLE COMPENSATION WITHIN TAXABLE WAGES FOR MR. TEDRICK INCLUDED $7,998 GROUP
                             LIFE INSURANCE. OTHER REPORTABLE COMPENSATION WITHIN TAXABLE WAGES FOR MR. PERREN
                             INCLUDED $9,906 GROUP LIFE INSURANCE.


NATIONAL RIFLE ASSOCIATION OF AMERICA                                                               80          11/18/2020 9:47:17 AM
 XX-XXXXXXX
         Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                       Entered 04/03/21 02:48:03          Page 9 of 151
    Return Reference - Identifier                                               Explanation
    SCHEDULE J, PART II,            EMPLOYER DEPOSITS TOWARD BENEFITS THAT WILL NOT BE PAID UNTIL A FUTURE DATE ARE SHOWN IN
    COLUMN (C) -                    COLUMN C. THE AMOUNT FOR MR. LAPIERRE INCLUDED $16,800 401(K). THE AMOUNT FOR MR. COX
    RETIREMENT AND OTHER            INCLUDED $16,800 401(K). THE AMOUNT FOR MR. PHILLIPS INCLUDED $4,985 401(K). THE AMOUNT FOR MR.
    DEFERRED                        POWELL INCLUDED $16,800 401(K). THE AMOUNT FOR MR. SPRAY INCLUDED $16,800 401(K). THE AMOUNT
    COMPENSATION                    FOR MR. FRAZER INCLUDED $16,800 401(K). THE AMOUNT FOR MR. DEBERGALIS INCLUDED $16,800 401(K).
                                    THE AMOUNT FOR MR. SCHROPP INCLUDED $16,784 401(K). THE AMOUNT FOR MR. GRABLE INCLUDED
                                    $16,800 401(K). THE AMOUNT FOR MR. HAMLIN INCLUDED $16,800 401(K). THE AMOUNT FOR MR. LEHMAN
                                    INCLUDED $16,800 401(K). THE AMOUNT FOR MR. QUIMET INCLUDED $16,574 401(K). THE AMOUNT FOR MR.
                                    TEDRICK INCLUDED $16,800. THE AMOUNT FOR MR. PERREN INCLUDED $8,885
    SCHEDULE J, PART II,            COLUMN D NONTAXABLE BENEFITS ARE PROVIDED TO EMPLOYEES CONSISTENT WITH ASSOCIATION
    COLUMN (D) -                    INDUSTRY STANDARDS AND BEST PRACTICES. STANDARD NONTAXABLE BENEFITS INCLUDE EMPLOYEE
    NONTAXABLE BENEFITS             BENEFITS SUCH AS THE EMPLOYER PAID PORTIONS OF MEDICAL AND DENTAL PLANS AND LONG-TERM AND
                                    SHORT-TERM DISABILITY PLANS.




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                   81       11/18/2020 9:47:17 AM
 XX-XXXXXXX
              Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                                              Entered 04/03/21 02:48:03                                 Page 10 of
                                                      151
   SCHEDULE L                                          Transactions With Interested Persons                                                                           OMB No. 1545-0047
   (Form 990 or 990-EZ)
   Department of the Treasury
                                 ▶ Complete        if the organization answered “Yes” on Form 990, Part IV, line 25a, 25b, 26, 27, 28a,
                                                             28b, or 28c, or Form 990-EZ, Part V, line 38a or 40b.
                                                                    ▶ Attach to Form 990 or Form 990-EZ.
                                                                                                                                                                        2019
                                                                                                                                                                      Open To Public
   Internal Revenue Service                          ▶ Go to www.irs.gov/Form990 for instructions and the latest information.                                         Inspection
   Name of the organization                                                                                                           Employer identification number
    NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                                                    XX-XXXXXXX
     Part I          Excess Benefit Transactions (section 501(c)(3), section 501(c)(4), and section 501(c)(29) organizations only).
                     Complete if the organization answered “Yes” on Form 990, Part IV, line 25a or 25b, or Form 990-EZ, Part V, line 40b.
                                                              (b) Relationship between disqualified person and                                                                  (d) Corrected?
      1       (a) Name of disqualified person
                                                                                 organization
                                                                                                                                (c) Description of transaction
                                                                                                                                                                                Yes      No
     (1)    JOSHUA POWELL                                 FORMER OFFICER                                           SEE PART V                                                            ✔
     (2)    CHRISTOPHER COX                               OFFICER                                                  SEE PART V                                                            ✔
     (3)    DAVID LEHMAN                                  HIGHEST COMPENSATED EMPLOYEE                             SEE PART V                                                            ✔
     (4)    WAYNE LAPIERRE                                OFFICER                                                  SEE PART V                                                    ✔
     (5)    WILSON PHILLIPS                               FORMER OFFICER                                           SEE PART V                                                            ✔
     (6)    (SEE STATEMENT)
      2       Enter the amount of tax incurred by the organization managers or disqualified persons during the year
              under section 4958 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ▶                                                                           $
      3       Enter the amount of tax, if any, on line 2, above, reimbursed by the organization                             .     .   .   .   .     .    .    .   ▶    $

    Part II          Loans to and/or From Interested Persons.
                     Complete if the organization answered “Yes” on Form 990-EZ, Part V, line 38a or Form 990, Part IV, line 26; or if the
                     organization reported an amount on Form 990, Part X, line 5, 6, or 22.

     (a) Name of interested person        (b) Relationship      (c) Purpose of    (d) Loan to or       (e) Original       (f) Balance due         (g) In default? (h) Approved (i) Written
                                          with organization          loan            from the       principal amount                                               by board or agreement?
                                                                                  organization?                                                                    committee?

                                                                                   To      From                                                    Yes       No   Yes      No   Yes      No
    (1)
    (2)
    (3)
    (4)
    (5)
    (6)
    (7)
    (8)
    (9)
   (10)
   Total        .   . . . . . . . . . . . . . . . . . . . . . . . .▶ $
    Part III         Grants or Assistance Benefiting Interested Persons.
                     Complete if the organization answered “Yes” on Form 990, Part IV, line 27.
          (a) Name of interested person         (b) Relationship between interested     (c) Amount of assistance       (d) Type of assistance                 (e) Purpose of assistance
                                                    person and the organization
     (1)
     (2)
     (3)
     (4)
     (5)
     (6)
     (7)
     (8)
     (9)
    (10)
   For Paperwork Reduction Act Notice, see the Instructions for Form 990 or 990-EZ.                                  Cat. No. 50056A              Schedule L (Form 990 or 990-EZ) 2019




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                  82             11/18/2020 9:47:17 AM
 XX-XXXXXXX
           Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                        Entered 04/03/21 02:48:03                   Page 11 of
                                                   151
   Schedule L (Form 990 or 990-EZ) 2019                                                                                                      Page   2
    Part IV      Business Transactions Involving Interested Persons.
                 Complete if the organization answered “Yes” on Form 990, Part IV, line 28a, 28b, or 28c.
               (a) Name of interested person        (b) Relationship between   (c) Amount of        (d) Description of transaction    (e) Sharing of
                                                   interested person and the     transaction                                          organization’s
                                                           organization                                                                 revenues?

                                                                                                                                       Yes     No
     (1) (SEE STATEMENT)
     (2)
     (3)
     (4)
     (5)
     (6)
     (7)
     (8)
     (9)
    (10)
     Part V    Supplemental Information.
               Provide additional information for responses to questions on Schedule L (see instructions).

    (SEE STATEMENT)




                                                                                                              Schedule L (Form 990 or 990-EZ) 2019


NATIONAL RIFLE ASSOCIATION OF AMERICA                                                          83   11/18/2020 9:47:17 AM
 XX-XXXXXXX
                                     Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                           Entered 04/03/21 02:48:03              Page 12 of
                                                                             151
          Part I         Excess Benefit Transactions (continued)


                   (a) Name of disqualified person                 (b) Relationship between disqualified person and                (c) Description of transaction   (d) Corrected?
                                                                                     organization                                                                    Yes       No
    (6)   JOHN FRAZER                                        OFFICER                                                  SEE PART V
    (7)   OLIVER NORTH                                       DIRECTOR                                                 SEE PART V
    (8)   JOSEPH P DEBERGALIS, JR                            OFFICER                                                  SEE PART V




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                       84            11/18/2020 9:47:17 AM
 XX-XXXXXXX
                                Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                           Entered 04/03/21 02:48:03           Page 13 of
                                                                        151
          Part IV     Business Transactions Involving Interested Persons (continued)


                         (a) Name of interested person                        (b) Relationship between interested   (c) Amount of     (d) Description of transaction   (e) Sharing of
                                                                                  person and the organization         transaction                                      organization's
                                                                                                                                                                         revenues?
                                                                                                                                                                       Yes        No
                                                                                                                                   MARION P HAMMER PROVIDED
                                                                                                                                   CONSULTING SERVICES IN THE
                                                                                                                                   FORM OF ADVICE, ANALYSIS AND
                                                                                                                          $220,000 OTHER  DUTIES REASONABLY
    (1)   MARION P HAMMER                                                   BOARD DIRECTOR                                         ASSIGNED BY THE EXECUTIVE
                                                                                                                                   VICE PRESIDENT OF THE NRA AND
                                                                                                                                   EXECUTIVE DIRECTOR OF ILA
                                                                                                                                   DURING 2019.




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                    85         11/18/2020 9:47:17 AM
 XX-XXXXXXX
         Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                      Entered 04/03/21 02:48:03                 Page 14 of
                                                 151
                 Part V                   Supplemental Information. Provide additional information for responses to questions on Schedule L
                                          (see instructions).


    Return Reference - Identifier                                           Explanation
    SCHEDULE L, PART I, LINE THE NATIONAL RIFLE ASSOCIATION HAS IDENTIFIED WHAT IT BELIEVES ARE EXCESS BENEFIT
    1 - 1A. EXCESS BENEFIT        TRANSACTIONS IN WHICH IT ENGAGED IN 2019 AND IN PRIOR CALENDAR YEARS OF WHICH IT BECAME
    TRANSACTIONS                  AWARE BUT WERE NOT REPORTED ON ITS PRIOR FORMS 990. THESE TRANSACTIONS ARE EXPLAINED
                                  BELOW. THERE ARE OTHER TRANSACTIONS IN 2019 AND PRIOR CALENDAR YEARS THAT ARE STILL UNDER
                                  REVIEW BY THE NRA AND/OR ARE CURRENTLY SUBJECT TO DISPUTE IN THE FOLLOWING LEGAL
                                  PROCEEDINGS:

                            1.PEOPLE OF THE STATE OF NEW YORK, BY LETITIA JAMES, ATTORNEY GENERAL OF THE STATE OF NEW
                            YORK V. THE NATIONAL RIFLE ASSOCIATION OF AMERICAN, INC., WAYNE LAPIERRE, WILSON PHILLIPS,
                            JOHN FRAZER AND JOSHUA POWELL, PENDING IN THE SUPREME COURT OF THE STATE OF NEW YORK,
                            [ALBANY COUNTY] INDEX NO. 451625/2020;

                            2.THE NATIONAL RIFLE ASSOCIATION OF AMERICA V. OLIVER NORTH, PENDING IN THE SUPREME COURT OF
                            THE STATE OF NEW YORK, [ALBANY COUNTY] INDEX NO. 903843-20;

                            3.THE NATIONAL RIFLE ASSOCIATION OF AMERICA AND WAYNE LAPIERRE V. ACKERMAN MCQUEEN, INC.,
                            ET. AL., PENDING IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF TEXAS,
                            DALLAS DIVISION, CIVIL ACTION NO. 3:19-CV-02074-G; AND

                            4.NATIONAL RIFLE ASSOCIATION OF AMERICA V. AMC MCQUEEN, INC. AND MERCURY GROUP, INC.,
                            PENDING IN THE CIRCUIT COURT OF THE CITY OF ALEXANDRIA, [VIRGINIA], CASE NOS.: CL19001757,
                            CL19002067 AND CL19002886.

                             THE NRA CANNOT AT THE TIME THIS FORM 990 IS FILED DETERMINE WHETHER THESE OTHER
                             TRANSACTIONS ARE EXCESS BENEFIT TRANSACTIONS.
    SCHEDULE L, PART I, LINE FROM 2016 THROUGH JANUARY 30, 2020, MR. POWELL SERVED THE NRA IN NUMEROUS CAPACITIES:
    1 - 1B. EXCESS BENEFIT   EXECUTIVE DIRECTOR OF GENERAL OPERATIONS, CHIEF OF STAFF AND SENIOR STRATEGIST. THE NRA
    TRANSACTIONS: JOSHUA BELIEVES MR. POWELL WAS IN A POSITION TO SUBSTANTIALLY INFLUENCE ITS AFFAIRS BY EXERCISING OR
    POWELL                   SHARING THE RESPONSIBILITY FOR SUPERVISION, MANAGEMENT OR ADMINISTRATION OF ITS
                             OPERATIONS. THEREFORE, THE NRA BELIEVES THAT MR. POWELL WAS A DISQUALIFIED PERSON WITHIN
                             THE INTENDMENT OF SECTION 4958 OF THE INTERNAL REVENUE CODE ("CODE"). SEE TREAS. REG. SECT.
                             53.4958-3(E)(2).

                             MR. POWELL CHARGED TO THE NRA, OR HAD REIMBURSED BY THE NRA, VARIOUS PERSONAL TRAVEL,
                             CELLULAR AND OTHER EXPENSES WHICH MR. POWELL KNEW OR SHOULD HAVE KNOWN WERE NOT
                             APPROPRIATE TO SUBMIT AS BUSINESS EXPENSES. PAYMENT OF THESE EXPENSES WERE NOT INTENDED
                             BY THE NRA TO BE PART OF MR. POWELL'S COMPENSATION AND CONSTITUTE AUTOMATIC EXCESS
                             BENEFITS UNDER TREASURY REGULATIONS SECTION 53.4958-4(C). THE AGGREGATE EXCESS BENEFIT
                             DETERMINED TO BE PROVIDED TO MR. POWELL FROM 2016 THROUGH 2019 WAS $54,904.45. ON MARCH 15,
                             2020, THE NRA MADE DEMAND FOR REPAYMENT OF $57,522.12 (WHICH INCLUDED INTEREST). ON OR ABOUT
                             JULY 9, 2020, MR. POWELL TENDERED A CHECK TO THE NRA FOR $40,760.20, IN PURPORTED FULL
                             SETTLEMENT. THE NRA HAS REJECTED THE CHECK, SO CORRECTION OF THE EXCESS BENEFIT HAS NOT
                             YET BEEN MADE. THE AMOUNT OF EXCISE TAX DUE UNDER SECTION 4958 BY MR. POWELL IS DETERMINED
                             TO BE $13,726.11. IN ADDITION, THE NEW YORK STATE OFFICE OF THE ATTORNEY GENERAL HAS
                             CHALLENGED, AS UNREASONABLE, COMPENSATION PAID TO MR. POWELL DURING THE PERIOD FROM 2016
                             THROUGH 2019.
    SCHEDULE L, PART I, LINE FROM 2002 THROUGH JUNE 26, 2019, MR. COX SERVED AS THE EXECUTIVE DIRECTOR OF THE INSTITUTE
    1 - 2. EXCESS BENEFIT    FOR LEGISLATIVE ACTION ("ILA"), WHICH IS THE LEGISLATIVE AND POLITICAL DIVISION OF THE NATIONAL
    TRANSACTIONS:            RIFLE ASSOCIATION. MR. COX WAS ALSO AN OFFICER OF THE NRA. BECAUSE (I) ILA'S FINANCES WERE
    CHRISTOPHER COX          MAINTAINED SEPARATELY FROM THOSE OF THE OTHER NRA DIVISIONS, (II) ILA MAINTAINED ITS OWN
                             FISCAL STAFF, AND (III) MR. COX WAS AN OFFICER OF THE ORGANIZATION, THE NRA BELIEVES MR. COX
                             WAS IN A POSITION TO SUBSTANTIALLY INFLUENCE ITS AFFAIRS AND IS THUS A DISQUALIFIED PERSON
                             WITHIN THE INTENDMENT OF CODE SECTION 4958. TREAS. REG. SECT. 53.4958-3(E)(2)(IV), (V).

                            THE NRA HAS BECOME AWARE THAT MR. COX IMPROPERLY USED ASSOCIATION FUNDS TO PAY PERSONAL
                            EXPENSES CHARGED ON HIS PERSONAL CREDIT CARD, AMOUNTING TO UNAUTHORIZED INTEREST-FREE
                            ADVANCES TO HIMSELF. IN ADDITION, MR. COX CAUSED EXPENSES TO BE PAID BY THE NRA, OR
                            REIMBURSED TO HIM, FOR PERSONAL AND FAMILY TRAVEL, BUSINESS TRIPS UTILIZING UNAPPROVED
                            CHARTER OR FIRST CLASS TRAVEL, TICKETS TO SPORTING/ENTERTAINMENT EVENTS, AND MEALS AND
                            HOTEL EXPENSES WHICH WERE NOT APPROVED BY THE NRA. PAYMENT OF THESE EXPENSES WERE NOT
                            INTENDED BY THE NRA TO BE PART OF MR. COX'S COMPENSATION AND THEREFORE CONSTITUTED AN
                            AUTOMATIC EXCESS BENEFIT UNDER TREASURY REGULATIONS SECTION 53.4958-4(C).

                             TO DATE, THE AGGREGATE EXCESS BENEFIT FROM 2015 TO JUNE 26, 2019, DETERMINED TO BE PROVIDED
                             TO MR. COX IS IN EXCESS OF $1 MILLION, WHICH THE NRA IS SEEKING TO RECOVER. THIS IS BEING
                             DISPUTED BY MR. COX AND, TO DATE, ANY EXCESS BENEFIT RECEIVED BY MR. COX HAS NOT BEEN
                             CORRECTED. THE NRA BELIEVES THAT THE AMOUNT OF EXCISE TAX DUE UNDER CODE SECTION 4958 BY
                             MR. COX WOULD BE APPROXIMATELY $328,001.50.
    SCHEDULE L, PART I, LINE FROM 2002 THROUGH SEPTEMBER 13, 2019, MR. LEHMAN SERVED AS DEPUTY EXECUTIVE DIRECTOR. AS
    1 - 3. EXCESS BENEFIT    SUCH, THE NRA BELIEVES MR. LEHMAN WAS IN A POSITION TO SUBSTANTIALLY INFLUENCE ITS AFFAIRS
    TRANSACTION: DAVID       AND ILA'S AFFAIRS BY EXERCISING OR SHARING RESPONSIBILITY FOR SUPERVISION, MANAGEMENT OR
    LEHMAN                   ADMINISTRATION OF THEIR OPERATIONS. THEREFORE, THE NRA BELIEVES MR. LEHMAN WAS A
                             DISQUALIFIED PERSON WITHIN THE INTENDMENT OF CODE SECTION 4958. TREAS. REG. SECT. 53.4958-
                             3(E)(2).

                            UPON INFORMATION AND BELIEF, FROM 2015 TO SEPTEMBER 13, 2019, MR. LEHMAN CAUSED THE NRA TO
                            PAY FOR PERSONAL TRAVEL, CLUB, AND MEAL EXPENSES IN THE AGGREGATE AMOUNT OF AT LEAST
                            $87,595.83. THE NRA HAS NOT YET COMPLETED ITS INVESTIGATION OF THE EXTENT TO WHICH MR. LEHMAN
                            MAY HAVE RECEIVED IMPROPER BENEFITS, BUT IF SUCH EXPENSES ARE SUBSTANTIATED, THEY WERE
                            LIKELY NOT APPROVED NOR INTENDED TO BE COMPENSATION TO MR. LEHMAN BY THE NRA, AND WOULD
                            THUS LIKELY CONSTITUTE AUTOMATIC EXCESS BENEFITS UNDER TREASURY REGULATIONS SECTION
                            53.4958-4(C).


NATIONAL RIFLE ASSOCIATION OF AMERICA                                                   86        11/18/2020 9:47:17 AM
 XX-XXXXXXX
           Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                    Entered 04/03/21 02:48:03            Page 15 of
                                                   151
    Return Reference - Identifier                                          Explanation
    SCHEDULE L, PART I, LINE MR. LAPIERRE IS THE EXECUTIVE VICE PRESIDENT AND CHIEF EXECUTIVE OFFICER OF THE NRA. HE IS AN
    1 - 4. EXCESS BENEFIT    OFFICER AND IS THUS A DISQUALIFIED PERSON WITHIN THE INTENDMENT OF CODE SECTION 4958. TREAS.
    TRANSACTION: WAYNE       REG. SECT. 53.4958-3(C)(2).
    LAPIERRE                 FROM 2015 THROUGH 2019, THE NRA ESTIMATES THAT IT PAID ON BEHALF OF MR. LAPIERRE, DIRECTLY OR
                             INDIRECTLY, TRAVEL EXPENSES FOR MR. LAPIERRE IN THE AGGREGATE AMOUNT OF $299,778.78. THE NRA
                             HAS DETERMINED TO TREAT THE PAYMENTS AS AUTOMATIC EXCESS BENEFITS UNDER TREASURY
                             REGULATIONS SECTION 53.4958-4(C). MR. LAPIERRE HAS REPAID THIS EXCESS BENEFIT TO NATIONAL RIFLE
                             ASSOCIATION, PLUS INTEREST, AND THEREFORE THE EXCESS BENEFIT HAS BEEN CORRECTED. THE
                             AMOUNT OF EXCISE TAX DUE UNDER CODE SECTION 4958 BY MR. LAPIERRE HAS BEEN ESTIMATED TO BE
                             $74,944.70. IN ADDITION, THE NEW YORK STATE OFFICE OF THE ATTORNEY GENERAL HAS CHALLENGED, AS
                             UNREASONABLE, COMPENSATION PAID TO MR. LAPIERRE DURING HIS TENURE.
    SCHEDULE L, PART I, LINE FROM 1993 THROUGH SEPTEMBER 13, 2018, MR. PHILLIPS SERVED AS TREASURER AND CHIEF FINANCIAL
    1 - 5. EXCESS BENEFIT    OFFICER OF THE NRA. AS SUCH, MR. PHILLIPS WAS A DISQUALIFIED PERSON WITHIN THE INTENDMENT OF
    TRANSACTION: WILSON      CODE SECTION 4958. TREAS. REG. SECT. 53.4958-3(C)(3).
    PHILLIPS
                             THE NEW YORK STATE OFFICE OF THE ATTORNEY GENERAL HAS ALLEGED THAT COMPENSATION PAID TO
                             MR. PHILLIPS DURING AND AFTER TENURE HIS TENURE WAS UNREASONABLE.
    SCHEDULE L, PART I, LINE FROM 2015 THROUGH THE PRESENT, MR. FRAZER HAS SERVED AS SECRETARY AND GENERAL COUNSEL
    1 - 6. EXCESS BENEFIT    OF THE NRA. AS SUCH, MR. FRAZER MAY BE A DISQUALIFIED PERSON WITHIN THE INTENDMENT OF CODE
    TRANSACTION: JOHN        SECTION 4958. TREAS. REG. SECT. 53.4958-3(E)(2). THE NEW YORK STATE OFFICE OF THE ATTORNEY
    FRAZER                   GENERAL HAS ALLEGED THAT COMPENSATION PAID TO MR. FRAZER HAS BEEN UNREASONABLE.
    SCHEDULE L, PART I, LINE LT. COL. NORTH SERVED AS PRESIDENT OF THE NATIONAL RIFLE ASSOCIATION AT TIMES IN 2018 AND 2019.
    1 - 7. EXCESS BENEFIT    WITHIN THE FIVE PRIOR YEARS, HE WAS ALSO A VOTING MEMBER OF ITS BOARD OF DIRECTORS. AS SUCH,
    TRANSACTION: OLIVER      MR. NORTH WAS A DISQUALIFIED PERSON WITHIN THE INTENDMENT OF CODE SECTION 4958. TREAS. REG.
    NORTH                    SECT. 53.4958-3(C)(1), (2).

                             UPON INFORMATION AND BELIEF, DURING CERTAIN TIMES IN 2018 AND 2019, MR. NORTH WAS EMPLOYED
                             BY ACKERMAN MCQUEEN, INC. ("AM"), A THIRD-PARTY VENDOR OF THE NATIONAL RIFLE ASSOCIATION, TO
                             HOST A TELEVISION SHOW PRODUCED BY AM. DURING THE SAME PERIOD, AM INVOICED THE NRA FOR A
                             VARIETY OF EXPENSES WHICH ARE NOW THE SUBJECT OF LITIGATION, BUT ARE BELIEVED TO HAVE
                             INCLUDED SALARY, BENEFITS, AND RELATED PERQUISITES FURNISHED BY AM TO NORTH IN CONNECTION
                             WITH NORTH'S EMPLOYMENT BY AM. NRA PAID ALL THESE INVOICES TO AM. SUCH PAYMENTS MAY
                             CONSTITUTE AN INDIRECT BENEFIT FROM NATIONAL RIFLE ASSOCIATION TO MR. NORTH. TREAS. REG.
                             SECT. 53.4958-4(A)(2)(III). AS FURTHER SET FORTH IN THE SAME LITIGATION, THE NRA HAS REASON TO
                             BELIEVE THAT NORTH FAILED TO PERFORM THE SERVICES FOR WHICH HE HAD BEEN CONTRACTED BY AM,
                             AND FOR WHICH HE MAY HAVE BEEN INDIRECTLY COMPENSATED BY THE NRA. IF THAT IS TRUE, THEN ALL
                             OR PART OF NORTH'S COMPENSATION BY AM, PAID INDIRECTLY BY THE NRA, WOULD CONSTITUTE AN
                             EXCESS BENEFIT PROVIDED BY TO THE NRA TO NORTH. THE PENDING LITIGATION IN WHICH THE
                             FOREGOING MATTERS ARE ALLEGED AND CONTESTED CONSISTS PRINCIPALLY OF: PEOPLE V. NAT'L RIFLE
                             ASS'N OF AM., ET AL., INDEX NO. 451625/2020 (SUP. CT. N.Y. CNTY.); NAT'L RIFLE ASS'N OF AM. V. ACKERMAN
                             MCQUEEN, INC. AND MERCURY GROUP, INC., CONS. CASE NOS. CL19002067; CL19001757; CL19002886 (VA.
                             CIR. CT.); AND, NAT'L RIFLE ASS'N OF AM. V. ACKERMAN MCQUEEN, INC., ET AL., CIV. CASE NO. 3-19-CV-
                             02074-G (N.D. TEX.).
    SCHEDULE L, PART I, LINE FROM 2015 THROUGH EARLY 2017, JOSEPH P. DEBERGALIS, JR. WAS AN NRA DIRECTOR. FROM JANUARY
    1 - 8. EXCESS BENEFIT    25, 2017 TO THE PRESENT, MR. DEBERGALIS HAS SERVED AS AN NRA EXECUTIVE AND OFFICER, INCLUDING
    TRANSACTION: JOSEPH P AS THE EXECUTIVE DIRECTOR OF GENERAL OPERATIONS. AS SUCH, MR. DEBERGALIS MAY, AT SOME OR
    DEBERGALIS, JR           ALL TIMES, HAVE BEEN A DISQUALIFIED PERSON WITHIN THE INTENDMENT OF CODE SECTION 4958. TREAS.
                             REG. SECT. 53.4958-3(C) (1), (E) (2) (IV), (V). THE NRA IS CURRENTLY REVIEWING WHETHER MR. DEBERGALIS
                             MAY HAVE USED BUSINESS CLASS TRAVEL WITHOUT AUTHORIZATION REQUIRED UNDER THE NRA'S
                             TRAVEL POLICY. AT THE TIME OF FILING, THE NRA IS UNABLE TO ESTIMATE THE AMOUNT OF EXCESS
                             COSTS INCURRED, IF ANY. IF SUCH EXPENSES ARE SUBSTANTIATED, THEY WERE LIKELY NOT APPROVED
                             NOR INTENDED TO BE COMPENSATION TO MR. DEBERGALIS BY THE NRA, AND WOULD THUS LIKELY
                             CONSTITUTE AUTOMATIC EXCESS BENEFITS UNDER TREASURY REGULATIONS SECTION 53.4958-4(C).
    SCHEDULE L, PART I, LINE THE NRA IS CURRENTLY REVIEWING WHETHER IN 2019 AND PRIOR YEARS, VARIOUS BOARD MEMBERS MAY
    1 - 9. BOARD MEMBER      HAVE USED FIRST CLASS OR BUSINESS CLASS TRAVEL WITHOUT AUTHORIZATION REQUIRED UNDER THE
    TRAVEL                   NRA'S TRAVEL POLICY. AT THE TIME OF FILING, THE NRA IS UNABLE TO ESTIMATE THE AMOUNT OF EXCESS
                             COSTS INCURRED, IF ANY. SUCH BOARD MEMBERS WOULD HAVE BEEN DISQUALIFIED PERSONS WITHIN
                             THE INTENDMENT OF TREAS. REG. SECT. 53.4958-3(C)(1). IF SUCH EXCESS COSTS ARE SUBSTANTIATED,
                             THEY WOULD THUS LIKELY CONSTITUTE EXCESS BENEFITS UNDER CODE SECTION 4958.




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                 87       11/18/2020 9:47:17 AM
 XX-XXXXXXX
           Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                                Entered 04/03/21 02:48:03                   Page 16 of
                                                   151
   SCHEDULE M                                                                                                                         OMB No. 1545-0047
   (Form 990)
                                                             Noncash Contributions
                                ▶ Complete  if the organizations answered “Yes” on Form 990, Part IV, lines 29 or 30.                   2019
                                ▶ Attach to Form 990.
   Department of the Treasury                                                                                                         Open to Public
   Internal Revenue Service     ▶ Go to www.irs.gov/Form990 for instructions and the latest information.                               Inspection
   Name of the organization                                                                                     Employer identification number
    NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                      XX-XXXXXXX
     Part I       Types of Property
                                                       (a)                  (b)                            (c)                           (d)
                                                                                                  Noncash contribution
                                                     Check if    Number of contributions or       amounts reported on           Method of  determining
                                                    applicable      items contributed           Form 990, Part VIII, line 1g noncash contribution amounts
     1      Art—Works of art . . . .            .       ✔                    1                                         5,000 MARKET VALUE
     2      Art—Historical treasures . .        .
     3      Art—Fractional interests . .        .
     4      Books and publications . .          .
     5      Clothing and household
            goods . . . . . . . .               .
     6      Cars and other vehicles . .         .
     7      Boats and planes . . . .            .
     8      Intellectual property . . .         .
     9      Securities—Publicly traded .        .
    10      Securities—Closely held stock       .
    11      Securities—Partnership, LLC,
            or trust interests   . . . .        .
    12      Securities—Miscellaneous .          .
    13      Qualified conservation
            contribution—Historic
            structures . . . . . . . .
    14      Qualified conservation
            contribution—Other . . . .
    15      Real estate—Residential . . .
    16      Real estate—Commercial . .
    17      Real estate—Other . . . . .
    18      Collectibles . . . . . . .
    19      Food inventory . . . . . .
    20      Drugs and medical supplies . .
    21      Taxidermy . . . . . . .
    22      Historical artifacts . . . . .
    23      Scientific specimens . . . .
    24      Archeological artifacts  . . .
    25      Other ▶ ( (SEE STATEMENT) )
    26      Other ▶ (                     )
    27      Other ▶ (                     )
    28      Other ▶ (                     )
    29      Number of Forms 8283 received by the organization during the tax year for contributions for
            which the organization completed Form 8283, Part IV, Donee Acknowledgement . . . . .                            29               0
                                                                                                                                                 Yes No
    30a  During the year, did the organization receive by contribution any property reported in Part I, lines 1 through
         28, that it must hold for at least three years from the date of the initial contribution, and which isn't required
         to be used for exempt purposes for the entire holding period? . . . . . . . . . . . . . . .                                      30a         ✔
       b If “Yes,” describe the arrangement in Part II.
    31   Does the organization have a gift acceptance policy that requires the review of any nonstandard
         contributions? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      31    ✔

    32a Does the organization hire or use third parties or related organizations to solicit, process, or sell noncash
         contributions? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     32a    ✔
       b If “Yes,” describe in Part II.
    33   If the organization didn't report an amount in column (c) for a type of property for which column (a) is checked,
         describe in Part II.
   For Paperwork Reduction Act Notice, see the Instructions for Form 990.                     Cat. No. 51227J                    Schedule M (Form 990) 2019



NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                 88        11/18/2020 9:47:17 AM
 XX-XXXXXXX
         Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                             Entered 04/03/21 02:48:03             Page 17 of
                                                 151
                  Part I                       Types of Property (continued)


           Property Type        (a) Check If     (b) Number of contributions or      (c) Noncash contribution     (d) Method of determining
                                 Applicable            items contributed          amounts reported on Form 990, noncash contribution amounts
                                                                                         Part VIII, line 1g
    ENGRAVED CUSTOM MADE                        1                                 19,000                        MARKET VALUE
    KNIFE
    SL3 OVER/UNDER SHOTGUN                      1                                 18,800                        MARKET VALUE
    WINCHESTER MODEL 1873                       1                                 18,300                        MARKET VALUE
    RIFLE
    K-20 VICTORIA SOVEREIGN                     1                                 17,000                        MARKET VALUE
    GRADE & LADIES
    ACCESSORY PACKAGE
    ULTIMATE FDE PACKAGE                        1                                 15,000                        MARKET VALUE
    2 GUN PACKAGE - MRAD &                      2                                 12,000                        MARKET VALUE
    M107
    CUSTOM MADE LONG RANGE                      1                                 12,000                        MARKET VALUE
    RIFLE TOPPED WITH
    NIGHTFORCE SCOPE
    CERTIFICATE
    MID ASIAN OR ALTAY IBEX                     1                                 10,500                        MARKET VALUE
    HUNT FOR 1 HUNTER - SPAIN
    IBEX HUNT FOR 1 & IBEX
    MOUNT CERTIFICATE
    NEW ZEALAND RED STAG                        1                                 10,000                        MARKET VALUE
    HUNT (2 STAGS)
    TWO CUSTOM PISTOLS &                        2                                 9,630                         MARKET VALUE
    HOLSTER PACKAGE
    SET OF TWO UPPER AR                         1                                 8,500                         MARKET VALUE
    RIFLE PACKAGE IN .224
    VALKYRIE AND .223
    RAGING HUNTER WITH                          1                                 8,500                         MARKET VALUE
    ENHANCEMENS BY DARK
    ALLIANCE, TRIJICON SCOPE
    AND SHOOTING EXPERIENCE
    TOUR PLANT, CUSTOM BUILT                    1                                 8,000                         MARKET VALUE
    RIFLE PACKAGE
    SPECIAL EDITION SWAT                        1                                 8,000                         MARKET VALUE
    MODEL TWO RIFLE PACKAGE
    MODEL 1873 LEVER ACTION                     1                                 8,000                         MARKET VALUE
    RIFLE
    NEW ZEALAND TAHR HUNT                       1                                 8,000                         MARKET VALUE
    GOLD PLATED AK AND                          1                                 7,500                         MARKET VALUE
    ADDITIONAL AK PACKAGE
    SPECIAL EDITION PAIR OF                     1                                 7,500                         MARKET VALUE
    FAL RIFLES & CASE
    CERTIFICATE FOR A FOOD                      1                                 7,500                         MARKET VALUE
    PLOT IMPLEMENT
    2 DAY ALL-INCLUSIVE                         1                                 7,500                         MARKET VALUE
    PHEASANT HUNT FOR 2
    HUNTERS
    HUNGARY WILD BOAR HUNT                      1                                 7,500                         MARKET VALUE
    CUSTOM TURNBULL EDITION                     1                                 7,250                         MARKET VALUE
    M1911 PISTOL
    ESPACAZA SPAIN RED STAG                     1                                 7,000                         MARKET VALUE
    HUNT




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                       89        11/18/2020 9:47:17 AM
 XX-XXXXXXX
           Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                             Entered 04/03/21 02:48:03                    Page 18 of
                                                   151
                     Part II                     Supplemental Information. Provide the information required by Part I, lines 30b, 32b, and 33, and
                                                 whether the organization is reporting in Part I, column (b), the number of contributions, the number of
                                                 items received, or a combination of both. Also complete this part for any additional information.


    Return Reference - Identifier                                             Explanation
    SCHEDULE M, PART I,             THE NATIONAL RIFLE ASSOCIATION IS REPORTING THE NUMBER OF ITEMS RECEIVED ON PART I, COLUMN
    LINE 1 - THE NUMBER OF          B.
    CONTRIBUTIONS OR THE
    NUMBER OF ITEMS
    SCHEDULE M, PART I,             ON OCCASION AND AS APPROPRIATE, SECURITIES AND OTHER DONATED LIQUID OR ILLIQUID ASSETS CAN
    LINE 32B - THIRD PARTIES        BE CONVERTED INTO CASH BY THE OUTSIDE THIRD PARTY SPECIALISTS THAT PARTNER WITH THE NRA TO
    USED TO SOLICIT,                FULFILL THE PHILANTHROPIC INTENTIONS OF THE DONORS.
    PROCESS, OR SELL
    NONCASH
    CONTRIBUTIONS




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                             90          11/18/2020 9:47:17 AM
 XX-XXXXXXX
             Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                                    Entered 04/03/21 02:48:03                          Page 19 of
                                                     151
    SCHEDULE O                             Supplemental Information to Form 990 or 990-EZ                                                  OMB No. 1545-0047

    (Form 990 or 990-EZ)                        Complete to provide information for responses to specific questions on


    Department of Treasury Internal
                                                   Form 990 or 990-EZ or to provide any additional information.
                                                                Attach to Form 990 or 990-EZ.                                                      2019
    Revenue Service                                             Go to www.irs.gov/Form990 for the latest information.                      Open to Public Inspection
    Name of the Organization                                                                                             Employer Identification Number
    NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                XX-XXXXXXX


        Return Reference - Identifier                                                              Explanation
     FORM 990, PART I, LINE 1 - THE     THE NRA IS A 501(C)(4) MEMBERSHIP ASSOCIATION WITH FOUR 501(C)(3) PUBLIC CHARITIES AND A
     ORGANIZATION’S MISSION OR          SECTION 527 POLITICAL ACTION COMMITTEE (PAC) WHICH IS A SEPARATE SEGREGATED FUND.
     MOST SIGNIFICANT ACTIVITIES        THE FOUR CHARITIES AFFILIATED WITH THE NRA ARE NRA CIVIL RIGHTS DEFENSE FUND, NRA
                                        FOUNDATION INC, NRA FREEDOM ACTION FOUNDATION, AND NRA SPECIAL CONTRIBUTION FUND
                                        DBA NRA WHITTINGTON CENTER. THE POLITICAL ACTION COMMITTEE IS NRA POLITICAL VICTORY
                                        FUND. SEE SCHEDULE R, PART II.

     FORM 990, PART I, LINE 7A -        THIS INFORMATIONAL NOTE REGARDS THE NRA'S UNRELATED BUSINESS INCOME. FORM 990 PAGE
     UNRELATED BUSINESS                 1 SHOWS GROSS UNRELATED BUSINESS REVENUE ON LINE 7A AND NET UNRELATED BUSINESS
     REVENUE                            TAXABLE INCOME ON LINE 7B. THE NRA DID NOT OWE UNRELATED BUSINESS INCOME TAX FOR
                                        THE YEAR 2019 BECAUSE DIRECTLY CONNECTED DEDUCTIONS WERE GREATER THAN THE
                                        ASSOCIATED INCOME IN 2019. THE MAIN SOURCES OF NRA UNRELATED BUSINESS INCOME, AS
                                        SHOWN ON 990 PART VIII, COLUMN C, ARE CERTAIN MERCHANDISE SALES FROM THE E COMMERCE
                                        PLATFORMS, ADVERTISING, AND OTHER ACTIVITIES NOT RELATED TO THE NRA'S TAX EXEMPT
                                        PURPOSES. ADDITIONAL INFORMATIONAL NOTES RELATED TO THE NRA'S TAXES ARE SHARED ON
                                        SCHEDULE C REGARDING 527(F) PROXY TAXES AND SCHEDULED REGARDING STATE AND LOCAL
                                        TAXES. THE NRA CHOOSES TO SHARE THIS EXTRA INFORMATION ABOUT THE TAXES IN ORDER TO
                                        DEMONSTRATE IN GOOD FAITH THAT THE ORGANIZATION IS A TAXPAYER IN GOOD STANDING.

     FORM 990, PART I, LINE 8 -         THIS INFORMATIONAL NOTE REGARDS THE NRA'S CONTRIBUTION REVENUE. THE VAST MAJORITY
     CONTRIBUTIONS AND GRANTS           OF CONTRIBUTIONS TO THE NRA COMES FROM MILLIONS OF SMALL INDIVIDUAL DONORS. GIFTS
                                        FROM COMPANIES AND EXECUTIVES IN THE FIREARMS, HUNTING, AND SHOOTING SPORTS
                                        INDUSTRIES TYPICALLY COMPRISE LESS THAN 5% OF THE NRA'S CONTRIBUTION REVENUE EVERY
                                        YEAR, AS APPLIED TO CONTRIBUTION REVENUE REPORTED ON FORM 990, PART VIII, LINE 1.

     FORM 990, PART III, LINE 4D -      THIS NOTE PROVIDES FURTHER INFORMATION ON PART III PROGRAM SERVICE
     OTHER PROGRAM SERVICES             ACCOMPLISHMENTS. NRA PROGRAM SERVICES ARE CENTERED ON THE NRA'S CORE MISSION OF
                                        FIREARMS SAFETY, EDUCATION, AND TRAINING, INCLUDING MESSAGING THAT PROMOTES
                                        FREEDOM AND LIBERTY. THE ADDITIONAL PROGRAM SERVICE EXPENSES OF $31,766,483 NOTED
                                        ON 990 CORE FORM PART III LINE 4D INCLUDE THE PROGRAM SERVICES COMPONENTS OF PUBLIC
                                        AFFAIRS, EXECUTIVE, AND ADVANCEMENT OPERATIONS. 990 READERS ARE ENCOURAGED TO
                                        ACCESS NRA.ORG FOR OPPORTUNITIES TO CONTINUE TO ENGAGE WITH THE NRA.

     FORM 990, PART VI, LINE 1A -       UNDER THE NRA'S BYLAWS, THE BOARD OF DIRECTORS ELECTS 20 DIRECTORS ANNUALLY TO
     GOVERNING BODY                     SERVE ON AN EXECUTIVE COMMITTEE. THE PRESIDENT AND VICE-PRESIDENTS ALSO SERVE ON
                                        THE COMMITTEE, FOR A CURRENT TOTAL OF 23 MEMBERS. THE BYLAWS ALLOW THE COMMITTEE
                                        TO EXERCISE ALL POWERS OF THE BOARD WHEN THE BOARD IS NOT IN SESSION, WITH CERTAIN
                                        ENUMERATED EXCEPTIONS. THE LAWS OF NEW YORK GOVERNING NOT-FOR-PROFIT
                                        CORPORATIONS ALSO PROVIDE LIMITS ON THE AUTHORITY OF EXECUTIVE COMMITTEES.

     FORM 990, PART VI, LINE 2 -        CARRIE LIGHTFOOT & OWEN MILLS - BUSINESS RELATIONSHIP
     FAMILY/BUSINESS                    IL LING NEW & OWEN MILLS - BUSINESS RELATIONSHIP
     RELATIONSHIPS AMONGST              KRISTY TITUS & SANDRA FROMAN - BUSINESS RELATIONSHIP
     INTERESTED PERSONS

     FORM 990, PART VI, LINE 2 -        SEVERAL NRA DIRECTORS ARE EMPLOYED IN THE FIREARMS INDUSTRY AS MANUFACTURERS OR
     OFFICER, DIRECTOR,                 SELLERS OF FIREARMS, AMMUNITION, OR COMPONENTS THEREOF. THESE BOARD MEMBERS
     TRUSTEE, OR KEY EMPLOYEE           ROUTINELY BUY AND SELL PRODUCTS FROM ONE ANOTHER IN THE ORDINARY COURSE OF
     RELATIONSHIP                       BUSINESS.

     FORM 990, PART VI, LINE 4 -        THE NATIONAL RIFLE ASSOCIATION AMENDED THE BYLAWS IN 2019 TO CHANGE THE
     SIGNIFICANT CHANGES TO             QUALIFICATIONS TO BE ON THE BOARD OF DIRECTORS. IN ADDITION TO PREVIOUS
     ORGANIZATIONAL DOCUMENTS           QUALIFICATIONS, THE INDIVIDUAL MUST ALSO BE A LIFETIME MEMBER OF THE ASSOCIATION FOR A
                                        MINIMUM OF FIVE YEARS AT THE TIME OF NOMINATION FOR THE BOARD OF DIRECTORS

     FORM 990, PART VI, LINE 5 -        THE NATIONAL RIFLE ASSOCIATION BECAME AWARE DURING 2019 OF A SIGNIFICANT DIVERSION OF
     DIVERSION OF ORGANIZATION          ITS ASSETS DURING 2019 AND FOR PRIOR CALENDAR YEARS. SEE SCHEDULE L, PART V FOR AN
     ASSETS                             EXPLANATION. IN ADDITION, A STAFF EMPLOYEE (WHO WAS NOT A DISQUALIFIED PERSON,
                                        MANAGER, KEY EMPLOYEE OR HIGHLY COMPENSATED EMPLOYEE) DIVERTED $41,820.37 FROM
                                        THE NRA BUT HAS FULLY REPAID THE ORGANIZATION, INCLUDING INTEREST, FOR A TOTAL OF
                                        $56,241.35.

     FORM 990, PART VI, LINE 6 -        THE NATIONAL RIFLE ASSOCIATION IS A MEMBERSHIP ASSOCIATION THAT REPRESENTS ONLY
     CLASSES OF MEMBERS OR              INDIVIDUAL CITIZENS. MEMBERSHIP DUES ARE PROPERLY REPORTED ON FORM 990, PART VIII,
     STOCKHOLDERS                       LINE 2 PURSUANT TO THE INSTRUCTIONS FOR SUCH REPORTING.

     FORM 990, PART VI, LINE 7A -       NRA MEMBERS ELECT ALL 76 MEMBERS OF THE NRA BOARD OF DIRECTORS. 75 DIRECTORS ARE
     MEMBERS OR STOCKHOLDERS            ELECTED FOR STAGGERED THREE YEAR TERMS, AND THE 76TH DIRECTOR IS ELECTED FOR ONE
     ELECTING MEMBERS OF                YEAR TERM ON THE OCCASION OF EACH ANNUAL MEETING OF MEMBERS. AT THE END OF 2019,
     GOVERNING BODY                     NRA HAD 73 DIRECTORS DUE TO UNFILLED VACANCIES.




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                          91        11/18/2020 9:47:17 AM
 XX-XXXXXXX
          Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                           Entered 04/03/21 02:48:03                Page 20 of
                                                  151
       Return Reference - Identifier                                                 Explanation
     FORM 990, PART VI, LINE 7B -      CERTAIN RECOMMENDATIONS BY THE BOARD OF DIRECTORS ARE SUBJECT TO MEMBERSHIP
     DECISIONS REQUIRING               APPROVAL PER NRA BYLAWS AND NEW YORK NOT FOR PROFIT CORPORATE LAW
     APPROVAL BY MEMBERS OR
     STOCKHOLDERS

     FORM 990, PART VI, LINE 11B -     DRAFTS OF FORM 990 ARE REVIEWED BY THE EXTERNAL ACCOUNTING FIRM, PRESENTED TO THE
     REVIEW OF FORM 990 BY             NRA BOARD OF DIRECTORS AUDIT COMMITTEE, AND MADE AVAILABLE TO BOARD MEMBERS
     GOVERNING BODY                    ATTENDING THE BOARD OF DIRECTORS MEETING. THE NRA'S ELECTED OFFICERS AND AUDIT
                                       COMMITTEE LEADERSHIP REVIEW A FINAL DRAFT BEFORE FILING.

     FORM 990, PART VI, LINE 12C -     THE ORGANIZATION'S CONFLICT OF INTEREST POLICY APPLIES TO OFFICERS, DIRECTORS, AND
     CONFLICT OF INTEREST              KEY EMPLOYEES OF THE FILING ORGANIZATION AND ITS AFFILIATES, AS WELL AS TO THEIR
     POLICY                            RELATIVES. RELATED PARTY TRANSACTIONS AND POTENTIAL CONFLICTS ARE SELF-REPORTED ON
                                       A QUESTIONNAIRE THAT IS DISTRIBUTED AT LEAST ANNUALLY AND REVIEWED BY THE SECRETARY
                                       AND GENERAL COUNSEL.

     FORM 990, PART VI, LINE 15A -     COMPENSATION OF THE NRA'S TOP MANAGEMENT OFFICIAL IS ESTABLISHED BY METHODS
     PROCESS TO ESTABLISH              INCLUDING COMPENSATION SURVEYS AND STUDIES, AND COMPARABILITY DATA. COMPENSATION
     COMPENSATION OF TOP               OF THE TOP MANAGEMENT OFFICIAL MUST BE APPROVED BY THE BOARD OF DIRECTORS, BASED
     MANAGEMENT OFFICIAL               ON RECOMMENDATIONS BY THE COMPENSATION COMMITTEE. ALL DECISIONS ARE PROPERLY
                                       DOCUMENTED.

     FORM 990, PART VI, LINE 15B -     COMPENSATION OF SALARIED OFFICERS AND KEY EMPLOYEES OTHER THAN THE NRA'S TOP
     PROCESS TO ESTABLISH              MANAGEMENT OFFICIAL IS ESTABLISHED BY METHODS INCLUDING (DEPENDING ON THE POSITION)
     COMPENSATION OF OTHER             COMPENSATION SURVEYS AND STUDIES, AND COMPARABILITY DATA. COMPENSATION OF THE
     OFFICERS OR KEY EMPLOYEES         SECRETARY AND THE TREASURER MUST BE APPROVED BY THE BOARD OF DIRECTORS, BASED ON
                                       RECOMMENDATIONS BY THE COMPENSATION COMMITTEE. ALL DECISIONS ARE PROPERLY
                                       DOCUMENTED.

     FORM 990, PART VI, LINE 17 -      CO, CT, DE, FL, GA, HI, IA, ID, IL, IN, KS, KY, LA, MA, MD, ME, MI, MN, MO, MS, MT, NC, ND, NE, NH, NJ,
     STATES WITH WHICH A COPY          NM, NV, NY, OH, OK, OR, PA, PR, RI, SC, SD, TN, TX, UT, VA, VT, WA, WI, WV, WY
     OF THIS FORM 990 IS
     REQUIRED TO BE FILED

     FORM 990, PART VI, LINE 18 -      READERS ARE POLITELY REMINDED THE NRA WAS FOUNDED 148 YEARS AGO, IN 1871. THE NRA'S
     AVAILABILITY OF 990 FOR           1944 DETERMINATION LETTER FROM THE INTERNAL REVENUE SERVICE IS AVAILABLE ON
     PUBLIC INSPECTION                 GUIDESTAR.ORG AND CAN ALSO BE REQUESTED DIRECTLY FROM THE NRA AS REQUIRED BY LAW.
                                       FORMS 990 CAN BE REQUESTED DIRECTLY FROM THE NRA AS REQUIRED BY LAW.

     FORM 990, PART VI, LINE 19 -      THE ORGANIZATION'S ANNUAL REPORT (INCLUDING AUDITED FINANCIAL STATEMENTS) IS
     REQUIRED DOCUMENTS                AVAILABLE UPON REQUEST. ITS ARTICLES OF INCORPORATION ARE A PUBLIC RECORD AVAILABLE
     AVAILABLE TO THE PUBLIC           FROM THE STATE OF NEW YORK, AND ITS BYLAWS ARE AVAILABLE TO MEMBERS BY MAIL UPON
                                       REQUEST. THE NRA'S CONFLICT OF INTEREST POLICY IS NOT AVAILABLE TO THE PUBLIC..

     FORM 990, PART VII, SECTION       THIS INFORMATIONAL NOTE REGARDS SERVICE ON THE NRA BOARD OF DIRECTORS, WHICH IS
     A, LINE 1A - THE NRA BOARD        NOT COMPENSATED. BOARD MEMBERS WHO RECEIVED COMPENSATION IN 2019 WERE
     OF DIRECTORS                      COMPENSATED FOR OTHER REASONS, NOT FOR THEIR VOLUNTARY BOARD SERVICE. MR. BUTZ,
     COMPENSATION                      MS. HAMMER, MR. KEENE, MR. NUGENT, MR. OLSON, AND MR. SKELTON WERE COMPENSATED FOR
                                       OTHER PROFESSIONAL SERVICES THEY PERFORMED FOR THE ORGANIZATION. MR. BACH MR.
                                       BROWNELL, MR. COTTON, MS. LIGHTFOOT, MR. MILLS, MR. TED NUGENT, AND MS. WALKER
                                       RECEIVED MEMBERSHIP RECRUITING COMMISSIONS THAT WERE PAID TO THEIR COMPANIES. FOR
                                       THE PURPOSE OF DETERMINING THE COUNT OF INDEPENDENT DIRECTORS AS OF DECEMBER 31,
                                       2019 SHOWN ON PART I LINE 3 AND PART VI LINE 1B, THE TEN DIRECTORS NOT CONSIDERED
                                       INDEPENDENT FOR 2019 WERE MR. NORTH, MS. HAMMER, MR. KEENE, MR. NUGENT, MR. BUTZ, MS.
                                       GOLOB, MR. OLSON, MR. SKELTON, MR. NOSLER, AND MR. BROWNELL

     FORM 990, PART VII, SECTION       THE NRA HAS COMPLETED SCHEDULE J REPORTING FOR DIRECTOR OLIVER NORTH, WHO
     A, LINE 5 - COMPENSATION          REPORTED COMPENSATION OF $986,015 FROM AN UNRELATED ORGANIZATION, ACKERMAN
     FROM UNRELATED                    MCQUEEN, INC., FOR PROFESSIONAL SERVICES RELATED TO PRODUCTION AND HOSTING OF AN
     ORGANIZATION                      ONLINE VIDEO SERIES FOR THE NRA. UPON INFORMATION AND BELIEF, THE NRA ESTIMATES THAT
                                       THIS SELF-REPORTED AMOUNT IS ONLY A FRACTION OF THE ACTUAL AMOUNT PAID BY THE NRA
                                       TO ACKERMAN MCQUEEN FOR COL. NORTH'S SERVICES, AND THAT THE TOTAL PAID EXCEEDS THE
                                       VALUE RECEIVED DUE TO (AMONG OTHER THINGS) ACKERMAN'S FAILURE TO PRODUCE ALL OF
                                       THE EPISODES FOR WHICH THE NRA CONTRACTED. THE RELATIONSHIP BETWEEN COL. NORTH,
                                       ACKERMAN MCQUEEN, AND THE NRA IS CURRENTLY THE SUBJECT OF LITIGATION IN THE CASES
                                       LISTED ON SCHEDULE L.

                                       THE NRA HAS ALSO COMPLETED SCHEDULE J REPORTING FOR DIRECTOR JULIE GOLOB, WHO
                                       REPORTED COMPENSATION OF $16,119 FROM ACKERMAN MCQUEEN FOR PROFESSIONAL
                                       SERVICES PERFORMED ON NRA DIGITAL MEDIA PROJECTS.

     FORM 990, PART VII, SECTION       THIS INFORMATIONAL NOTE PROVIDES ADDITIONAL DETAIL ABOUT AMOUNTS PAID TO OUTSIDE
     B, LINE 1 - HIGHEST               SERVICES PROVIDERS. THE FILING ORGANIZATION REPORTS COMPENSATION PAID TO SERVICES
     COMPENSATED INDEPENDENT           PROVIDERS EXCLUSIVE OF ADVERTISING AND OTHER MEDIA PLACED ON BEHALF OF THE FILING
     CONTRACTORS                       ORGANIZATION AND EXPENSES INCURRED ON BEHALF OF THE FILING ORGANIZATION. FOR
                                       EXAMPLE, THE FIGURE OF $7,317,206 STATED ON PART VII SECTION B LINE 1 REFLECTS
                                       COMPENSATION FOR SERVICES PAID TO ACKERMAN MCQUEEN INC.




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                        92         11/18/2020 9:47:17 AM
 XX-XXXXXXX
          Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                    Entered 04/03/21 02:48:03          Page 21 of
                                                  151
       Return Reference - Identifier                                         Explanation
     FORM 990, PART VIII, LINE 2B -    THIS INFORMATIONAL NOTE REGARDS THE REPORTING OF MEMBER DUES ON FORM 990. LINE 1B
     MEMBERSHIP DUES                   OF THE REVENUE STATEMENT IS PROPERLY LEFT BLANK. PURSUANT TO 990 INSTRUCTIONS,
                                       MEMBERSHIP DUES THAT ARE NOT CONTRIBUTIONS BECAUSE THEY COMPARE REASONABLY WITH
                                       AVAILABLE BENEFITS ARE SHOWN ON LINE 2. THUS, ALL NRA MEMBER DUES ARE PROPERLY
                                       SHOWN ON THE 990 REVENUE STATEMENT AS PROGRAM SERVICE REVENUE ON LINE 2, OTHER
                                       THAN NRA LIFE-PLUS CONTRIBUTIONS WHICH ARE PROPERLY COUNTED AS CONTRIBUTION
                                       REVENUE IN LINE 1F OF THE 990 REVENUE STATEMENT.

     FORM 990, PART IX, LINE 11 -      THIS INFORMATIONAL NOTE REGARDS THE NRA'S PAYMENT OF FEES FOR OUTSIDE
     FEES FOR SERVICES                 PROFESSIONAL SERVICES AS STATED ON LINE 11 OF THE 990 EXPENSE STATEMENT. LINE 11B
                                       REPORTS LEGAL FEES PAID TO OUTSIDE ATTORNEYS, SUCH AS FOR SECOND AMENDMENT CASE
                                       WORK AND RELATED LITIGATION AT THE FEDERAL AND STATE LEVELS AND FOR REGULATORY,
                                       COMPLIANCE MATTERS, AND CORPORATE LITIGATION. LINE 11C REPORTS ACCOUNTING FEES PAID
                                       TO THE OUTSIDE CPA FIRM THAT PROVIDES THE NRA'S AUDITING AND TAX SERVICES. LINE 11D
                                       REPORTS LOBBYING EXPENSE PAID TO EXTERNAL REGISTERED LOBBYISTS. LINE 11E REPORTS
                                       FUNDRAISING COSTS PAID TO THE AUTHORIZED VENDORS LISTED ON SCHEDULE G. LINE 11F
                                       REPORTS INVESTMENT MANAGEMENT FEES PAID TO INVESTMENT ADVISORS THAT MANAGE THE
                                       NRA'S PORTFOLIOS. LINE 11G SHOWS TELEMARKETING COSTS FOR MEMBERSHIP SERVICING.
                                       PROFESSIONAL SERVICES PERFORMED BY NRA EMPLOYEES (IN HOUSE COUNSEL, IN HOUSE
                                       ACCOUNTANTS, IN HOUSE LOBBYISTS, IN HOUSE FUNDRAISERS, AND IN HOUSE INVESTMENT
                                       MANAGERS, RESPECTIVELY) ARE PROPERLY REPORTED WITHIN LINES 5-7 OF THE 990 EXPENSE
                                       STATEMENT, AS REQUIRED BY 990 FORM INSTRUCTIONS. PROFESSIONAL SERVICES PERFORMED
                                       BY THE TELEMARKETING VENDOR FOR FUNDRAISING PURPOSES, RATHER THAN FOR
                                       MEMBERSHIP, ARE PROPERLY REPORTED WITHIN LINE 11E, AS REQUIRED BY 990 FORM
                                       INSTRUCTIONS.

     FORM 990, PART IX, LINE 24E -     THIS RESPONSE EXPLAINS $13,258,411 OF OTHER EXPENSES STATED ON LINE 24E OF THE 990,
     ALL OTHER EXPENSES                PART IX EXPENSE STATEMENT WHICH WERE NOT ACCOMMODATED BY OTHER EXPENSE LINE
                                       DESCRIPTIONS. THIS FIGURE INCLUDES $7,229,130 OF FULFILLMENT MATERIALS, $4,261,888
                                       BANKING FEES, $1,032,468 MEMBERSHIP PREMIUMS, $328,452 OF NON-PAYROLL TAXES

     FORM 990, PART X, LINE 15 -       THIS INFORMATIONAL NOTE PROVIDES ADDITIONAL DETAIL ABOUT OTHER ASSETS. DUE FROM
     OTHER ASSETS                      AFFILIATES INCLUDED IN ACCOUNTS RECEIVABLE IN THE PRIOR YEAR HAVE BEEN RECLASSIFIED
                                       TO OTHER ASSETS TO CONFORM WITH CURRENT YEAR PRESENTATION

     FORM 990, PART XI, LINE 9 -       THIS RESPONSE EXPLAINS $(750,566) OF OTHER CHANGES IN THE NET ASSETS RECONCILIATION
     OTHER CHANGES IN NET              SCHEDULE. THE FIGURE INCLUDES $3,534,160 AGENCY TRANSACTIONS BETWEEN THE NRA AND
     ASSETS OR FUND BALANCES           NRA FOUNDATION; $2,040,070 ADOPTION OF ASC 606, AND $122,132 UNREALIZED GAIN ON
                                       DERIVATIVE INSTRUMENT, AND OTHER NET PENSION PLAN LOSS (6,446,928). THE AGENCY
                                       TRANSACTIONS FIGURE OF $3,534,160 INCLUDES ENDOWMENT CONTRIBUTIONS AND ENDOWMENT
                                       EARNINGS DESIGNATED BY NRA FOUNDATION DONORS FOR ELIGIBLE NRA PROGRAMS.

     FORM 990, PART XI, LINE 9 -                                   (a) Description                                   (b) Amount
     OTHER CHANGES IN NET
     ASSETS OR FUND BALANCES           AGENCY TRANSACTIONS BETWEEN THE NRA AND NRA FOUNDATION                               3,534,162
                                       UNREALIZED GAIN ON DERIVATIVE INSTRUMENT                                               122,132
                                       ADOPTION OF ASC 606                                                                  2,040,070
                                       OTHER NET PENSION PLAN LOSS                                                        - 6,446,928




NATIONAL RIFLE ASSOCIATION OF AMERICA                                               93       11/18/2020 9:47:17 AM
 XX-XXXXXXX
                                         Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                                         Entered 04/03/21 02:48:03                           Page 22 of
                                                                                 151
                                                                                                                                                                                                                     OMB No. 1545-0047
   SCHEDULE R                                                       Related Organizations and Unrelated Partnerships
   (Form 990)
                                                             ▶   Complete if the organization answered “Yes” on Form 990, Part IV, line 33, 34, 35b, 36, or 37.                                                        2019
   Department of the Treasury
                                                                                                  ▶ Attach to Form 990.                                                                                             Open to Public
   Internal Revenue Service                                             ▶ Go to www.irs.gov/Form990 for instructions and the latest information.                                                                     Inspection
   Name of the organization                                                                                                                                                                              Employer identification number
    NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                                                                                                          XX-XXXXXXX

     Part I        Identification of Disregarded Entities. Complete if the organization answered “Yes” on Form 990, Part IV, line 33.
                                                   (a)                                                               (b)                                 (c)                    (d)                    (e)                         (f)
                       Name, address, and EIN (if applicable) of disregarded entity                            Primary activity                Legal domicile (state       Total income        End-of-year assets          Direct controlling
                                                                                                                                                or foreign country)                                                              entity

    (1)

    (2)

    (3)

    (4)

    (5)

    (6)


    Part II        Identification of Related Tax-Exempt Organizations. Complete if the organization answered “Yes” on Form 990, Part IV, line 34, because it had
                   one or more related tax-exempt organizations during the tax year.
                                          (a)                                                    (b)                             (c)                      (d)                       (e)                       (f)                   (g)
                      Name, address, and EIN of related organization                        Primary activity           Legal domicile (state      Exempt Code section     Public charity status       Direct controlling     Section 512(b)(13)
                                                                                                                        or foreign country)                               (if section 501(c)(3))            entity              controlled
                                                                                                                                                                                                                                  entity?
                                                                                                                                                                                                                              Yes        No
    (1) NRA FOUNDATION INC (XX-XXXXXXX)                                               CHARITABLE                     DC                                       501(C)(3)                            7 NRA                        ✔
    11250 WAPLES MILL RD, FAIRFAX, VA 22030
     (2) NRA SPECIAL CONTRIBUTION FUND (XX-XXXXXXX)                                   CHARITABLE                     NM                                       501(C)(3)                            7 NRA                        ✔
    11251 WAPLES MILL RD, FAIRFAX, VA 22031
     (3) NRA CIVIL RIGHTS DEFENSE FUND (XX-XXXXXXX)                                   CHARITABLE                     VA                                       501(C)(3)                            7 NRA                        ✔
    11252 WAPLES MILL RD, FAIRFAX, VA 22032
     (4) NRA FREEDOM ACTION FOUNDATION (XX-XXXXXXX)                                   CHARITABLE                     VA                                       501(C)(3)                            7 NRA                        ✔
    11253 WAPLES MILL RD, FAIRFAX, VA 22033
     (5) NRA POLITICAL VICTORY FUND (XX-XXXXXXX)                                      PAC/SSF                        VA                              527 POL. ORG.                                  NRA                         ✔
    11254 WAPLES MILL RD, FAIRFAX, VA 22034
    (6)

    (7)

   For Paperwork Reduction Act Notice, see the Instructions for Form 990.                                                              Cat. No. 50135Y                                                     Schedule R (Form 990) 2019

NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                                                    94               11/18/2020 9:47:17 AM
 XX-XXXXXXX
                                       Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                                              Entered 04/03/21 02:48:03                             Page 23 of
                                                                               151
   Schedule R (Form 990) 2019                                                                                                                                                                                                          Page 2

    Part III      Identification of Related Organizations Taxable as a Partnership. Complete if the organization answered “Yes” on Form 990, Part IV, line 34,
                  because it had one or more related organizations treated as a partnership during the tax year.
                     (a)                                 (b)                 (c)                 (d)                      (e)                   (f)                (g)               (h)                 (i)            (j)           (k)
          Name, address, and EIN of                Primary activity         Legal        Direct controlling         Predominant            Share of total    Share of end-of- Disproportionate     Code V—UBI       General or    Percentage
            related organization                                          domicile             entity             income (related,           income            year assets      allocations?     amount in box 20   managing      ownership
                                                                          (state or                                   unrelated,                                                                  of Schedule K-1    partner?
                                                                                                                   excluded from
                                                                           foreign                                                                                                                  (Form 1065)
                                                                                                                      tax under
                                                                          country)                               sections 512—514)
                                                                                                                                                                                  Yes No                            Yes No
    (1) (SEE STATEMENT)

    (2)

    (3)

    (4)

    (5)

    (6)

    (7)


    Part IV       Identification of Related Organizations Taxable as a Corporation or Trust. Complete if the organization answered “Yes” on Form 990, Part IV,
                  line 34, because it had one or more related organizations treated as a corporation or trust during the tax year.
                               (a)                                          (b)                            (c)                      (d)                     (e)                  (f)                 (g)            (h)              (i)
           Name, address, and EIN of related organization             Primary activity               Legal domicile         Direct controlling        Type of entity        Share of total       Share of       Percentage   Section 512(b)(13)
                                                                                               (state or foreign country)         entity         (C corp, S corp, or trust)   income         end-of-year assets ownership       controlled
                                                                                                                                                                                                                                  entity?
                                                                                                                                                                                                                              Yes       No
    (1) (SEE STATEMENT)

    (2)

    (3)

    (4)

    (5)

    (6)

    (7)

                                                                                                                                                                                                             Schedule R (Form 990) 2019



NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                                                       95               11/18/2020 9:47:17 AM
 XX-XXXXXXX
                                   Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                                    Entered 04/03/21 02:48:03                                 Page 24 of
                                                                           151
   Schedule R (Form 990) 2019                                                                                                                                                                                               Page 3

    Part V       Transactions With Related Organizations. Complete if the organization answered “Yes” on Form 990, Part IV, line 34, 35b, or 36.
     Note: Complete line 1 if any entity is listed in Parts II, III, or IV of this schedule.                                                                                                                          Yes    No
     1   During the tax year, did the organization engage in any of the following transactions with one or more related organizations listed in Parts II–IV?
       a Receipt of (i) interest, (ii) annuities, (iii) royalties, or (iv) rent from a controlled entity . . . . . . . . . . . . . . . . . . . .                                                  .   .   .     1a     ✔
       b Gift, grant, or capital contribution to related organization(s) . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                  .   .   .     1b            ✔
       c Gift, grant, or capital contribution from related organization(s)           . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        .   .   .     1c     ✔
       d Loans or loan guarantees to or for related organization(s) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                     .   .   .     1d     ✔
       e Loans or loan guarantees by related organization(s) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                        .   .   .     1e     ✔

       f    Dividends from related organization(s) . . . . . . . . . . .                   .   .   .   .   .   .    .   .   .    .   .   .    .   .   .   .     .   .    .    .   .   .   .   .   .   .   .     1f            ✔
       g    Sale of assets to related organization(s) . . . . . . . . . . .                .   .   .   .   .   .    .   .   .    .   .   .    .   .   .   .     .   .    .    .   .   .   .   .   .   .   .     1g            ✔
       h    Purchase of assets from related organization(s) . . . . . . . .                .   .   .   .   .   .    .   .   .    .   .   .    .   .   .   .     .   .    .    .   .   .   .   .   .   .   .     1h            ✔
       i    Exchange of assets with related organization(s) . . . . . . . .                .   .   .   .   .   .    .   .   .    .   .   .    .   .   .   .     .   .    .    .   .   .   .   .   .   .   .     1i            ✔
       j    Lease of facilities, equipment, or other assets to related organization(s)     .   .   .   .   .   .    .   .   .    .   .   .    .   .   .   .     .   .    .    .   .   .   .   .   .   .   .     1j            ✔

       k    Lease of facilities, equipment, or other assets from related organization(s) . . . . . .                    .   .    .   .   .    .   .   .   .     .   .    .    .   .   .   .   .   .   .   .    1k             ✔
       l    Performance of services or membership or fundraising solicitations for related organization(s)              .   .    .   .   .    .   .   .   .     .   .    .    .   .   .   .   .   .   .   .     1l     ✔
       m    Performance of services or membership or fundraising solicitations by related organization(s)               .   .    .   .   .    .   .   .   .     .   .    .    .   .   .   .   .   .   .   .    1m             ✔
       n    Sharing of facilities, equipment, mailing lists, or other assets with related organization(s) . .           .   .    .   .   .    .   .   .   .     .   .    .    .   .   .   .   .   .   .   .    1n      ✔
       o    Sharing of paid employees with related organization(s) . . . . . . . . . . . . .                            .   .    .   .   .    .   .   .   .     .   .    .    .   .   .   .   .   .   .   .    1o      ✔

       p Reimbursement paid to related organization(s) for expenses .          .   .   .   .   .   .   .   .   .    .   .   .    .   .   .    .   .   .   .     .   .    .    .   .   .   .   .   .   .   .     1p            ✔
       q Reimbursement paid by related organization(s) for expenses .          .   .   .   .   .   .   .   .   .    .   .   .    .   .   .    .   .   .   .     .   .    .    .   .   .   .   .   .   .   .     1q     ✔

       r    Other transfer of cash or property to related organization(s) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     1r    ✔
       s    Other transfer of cash or property from related organization(s) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     1s         ✔
     2      If the answer to any of the above is “Yes,” see the instructions for information on who must complete this line, including covered relationships and transaction thresholds.
                                                          (a)                                                                       (b)                            (c)                                     (d)
                                             Name of related organization                                                       Transaction                   Amount involved             Method of determining amount involved
                                                                                                                                type (a—s)

          NRA FOUNDATION INC                                                                                                         A                                       180,000 CASH VALUE
    (1)
          NRA FOUNDATION INC                                                                                                         C                                  12,073,526 CASH VALUE
    (2)
          NRA FOUNDATION INC                                                                                                         E                                  5,000,000 CASH VALUE
    (3)
          NRA FOUNDATION INC                                                                                                         O                                  11,088,682 CASH VALUE
    (4)
          NRA FOUNDATION INC                                                                                                         Q                                  4,109,204 CASH VALUE
    (5)
          (SEE STATEMENT)
    (6)
                                                                                                                                                                                                  Schedule R (Form 990) 2019

NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                                        96                 11/18/2020 9:47:17 AM
 XX-XXXXXXX
                                       Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                                     Entered 04/03/21 02:48:03                     Page 25 of
                                                                               151
   Schedule R (Form 990) 2019                                                                                                                                                                                         Page 4

    Part VI       Unrelated Organizations Taxable as a Partnership. Complete if the organization answered “Yes” on Form 990, Part IV, line 37.

   Provide the following information for each entity taxed as a partnership through which the organization conducted more than five percent of its activities (measured by total assets
   or gross revenue) that was not a related organization. See instructions regarding exclusion for certain investment partnerships.
                           (a)                         (b)                 (c)                 (d)               (e)               (f)               (g)                (h)               (i)            (j)          (k)
              Name, address, and EIN of entity   Primary activity    Legal domicile       Predominant     Are all partners     Share of           Share of       Disproportionate   Code V—UBI       General or   Percentage
                                                                    (state or foreign   income (related,      section        total income        end-of-year       allocations?   amount in box 20   managing     ownership
                                                                        country)      unrelated, excluded    501(c)(3)                             assets                          of Schedule K-1    partner?
                                                                                         from tax under   organizations?                                                             (Form 1065)
                                                                                      sections 512—514)
                                                                                                            Yes No                                                Yes No                             Yes No
    (1)

    (2)

    (3)

    (4)

    (5)

    (6)

    (7)

    (8)

    (9)

   (10)

   (11)

   (12)

   (13)

   (14)

   (15)

   (16)

                                                                                                                                                                                             Schedule R (Form 990) 2019




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                                       97                 11/18/2020 9:47:17 AM
 XX-XXXXXXX
                                   Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                                        Entered 04/03/21 02:48:03                            Page 26 of
                                                                           151
          Part III     Identification of Related Organizations Taxable as a Partnership (continued)


    (a) Name, address and EIN of related organization (b) Primary Activity    (c) Legal          (d) Direct    (e) Predominant        (f) Share of       (g) Share of           (h)      (i) Code V -    (j)       (k)
                                                                               domicile          controlling       income             total income        end-of-year       Dispropor    UBI amount General Percentage
                                                                             (state or foreign     entity       related, unrelated,                         assets           tionate     in box 20 of    or     ownership
                                                                                 country)                       excluded from tax
                                                                                                               under sections 512-                                          allocation   Schedule K- managing
                                                                                                                        514                                                     s?          1 (Form   partner?
                                                                                                                                                                                             1065)
                                                                                                                                                                            Yes No                    Yes No
    (1)WBB INVESTMENTS, LLC (XX-XXXXXXX)                                                                                                                                                                       99.00
                                                      INVESTMENT             DE                  NRA           N/A                                   0                  0
    11250 WAPLES MILL RD, FAIRFAX, VA 22030




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                                         98               11/18/2020 9:47:17 AM
 XX-XXXXXXX
                                     Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                                Entered 04/03/21 02:48:03                     Page 27 of
                                                                             151
          Part IV         Identification of Related Organizations Taxable as a Corporation or Trust (continued)


            (a) Name, address and EIN of related organization       (b) Primary      (c) Legal           (d) Direct    (e) Type of entity   (f) Share of       (g) Share of       (h) Percentage    (i) Section
                                                                       activity    domicile (state or    controlling   (C-corp, S-corp or   total income        end-of-year          ownership      512(b)(13)
                                                                                    foreign country)       entity            trust)                               assets                             controlled
                                                                                                                                                                                                       entity?
                                                                                                                                                                                                   Yes        No
    (1) LEXINGTON CONCORD HOLDINGS LLC (XX-XXXXXXX)               DEVELOPMENT
                                                                  PHASE           DE                    NRA            C CORPORATION                       0                  0          100.00
    11250 WAPLES MILL RD, FAIRFAX, VA 22030
    (2) NRA HOLDINGS COMPANY INC (XX-XXXXXXX)                     MANAGEMEN VA                          NRA            C CORPORATION                       0                  0          100.00
    11250 WAPLES MILL RD, FAIRFAX, VA 22030                       T SERVICES




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                                                99            11/18/2020 9:47:17 AM
 XX-XXXXXXX
                              Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21       Entered 04/03/21 02:48:03         Page 28 of
                                                                      151
          Part V   Transactions with Related Organizations (continued)


                    (a) Name of other organization                       (b) Transaction type (a-s)                 (c) Amount Involved        (d) Method of
                                                                                                                                            determining amount
                                                                                                                                                  involved
    (6) NRA CIVIL RIGHTS DEFENSE FUND                                C                                                           652,384   CASH VALUE
    (7) NRA CIVIL RIGHTS DEFENSE FUND                                Q                                                            41,831   CASH VALUE
    (8) NRA SPECIAL CONTRIBUTION FUND                                A                                                           353,051   CASH VALUE
    (9) NRA SPECIAL CONTRIBUTION FUND                                Q                                                         1,881,719   CASH VALUE
    (10) NRA POLITICAL VICTORY FUND                                  R                                                             3,952   CASH VALUE
    (11) LEXINGTON CONCORD HOLDINGS LLC                              Q                                                            98,926   CASH VALUE
    (12) NRA FREEDOM ACTION FOUNDATION                               Q                                                           977,377   CASH VALUE
    (13) NRA POLITICAL VICTORY FUND                                  Q                                                         2,908,114   CASH VALUE




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                                 100   11/18/2020 9:47:17 AM
 XX-XXXXXXX
           Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                    Entered 04/03/21 02:48:03                 Page 29 of
                                                   151
                     Part VII             Supplemental Information. Provide additional information for responses to questions on Schedule R
                                          (see instructions).


     Return Reference - Identifier                                      Explanation
    SCHEDULE R, PART II -   THE NRA IS A 501(C)(4) MEMBERSHIP ASSOCIATION WITH FOUR 501(C)(3) PUBLIC CHARITIES AND A SECTION
    IDENTIFICATION OF       527 POLITICAL ACTION COMMITTEE (PAC) WHICH IS A SEPARATE SEGREGATED FUND. THE FOUR CHARITIES
    RELATED TAX-EXEMPT      AFFILIATED WITH THE NRA ARE NRA CIVIL RIGHTS DEFENSE FUND, NRA FOUNDATION INC, NRA FREEDOM
    ORGANIZATIONS           ACTION FOUNDATION, AND NRA SPECIAL CONTRIBUTION FUND DBA NRA WHITTINGTON CENTER. THE
                            POLITICAL ACTION COMMITTEE IS NRA POLITICAL VICTORY FUND; NRAPVF IS A SEPARATE
                            UNINCORPORATED PAC OF THE NRA. IN THE EVENT THAT ANY FUNDS ARE RECEIVED BY THE NRA AND
                            EARMARKED TO THE PAC, THE NRA HAS SYSTEMS IN PLACE TO ENSURE ANY SUCH RECEIPTS ARE
                            PROMPTLY AND IMMEDIATELY DEPOSITED INTO THE SEPARATE SEGREGATED FUND'S ACCOUNT.
    SCHEDULE R, PART III -  WBB INVESTMENTS, LLC WAS FORMED IN CONNECTION WITH A POSSIBLE TRANSACTION THAT WAS NEVER
    WBB INVESTMENTS, LLC ULTIMATELY EXECUTED. A CERTIFICATE OF CANCELLATION HAS BEEN FILED AND THE ENTITY WAS
                            DISSOLVED IN 2019.
    SCHEDULE R, PART V,     THIS INFORMATIONAL NOTE REGARDS QUALIFIED CHARITABLE GRANT MAKING. ALL GRANTS MADE BY NRA
    LINE 1C - GIFT, GRANT,  FOUNDATION, NRA CIVIL RIGHTS DEFENSE FUND, AND NRA FREEDOM ACTION FOUNDATION TO THE NRA
    OR CAPITAL              ARE SUBJECT TO STRINGENT REVIEW PROCESSES REQUIRING THAT THE GRANTS BE MADE AND USED
    CONTRIBUTION FROM       ONLY FOR QUALIFIED CHARITABLE PURPOSE PROGRAMS. THE NRA IS REQUIRED TO PROVIDE
    RELATED ORGANIZATION DOCUMENTATION TO THE CHARITIES THAT PROCEEDS WERE USED BY THE NRA FOR QUALIFIED
                            CHARITABLE PURPOSES AS SET FORTH IN THE GRANT DOCUMENTS.
    SCHEDULE R, PART V,     THE NRA ENTERED A SECURED LOAN AGREEMENT WITH THE NRA FOUNDATION. THE $5,000,000 LOAN IS
    LINE 1E - LOANS OR LOAN PAYABLE TO THE NRA FOUNDATION AT A FAIR VALUE INTEREST RATE. THE NRA MAKES MONTHLY
    GUARANTEES BY           INTEREST PAYMENTS OF 7%.
    RELATED ORGANIZATION




NATIONAL RIFLE ASSOCIATION OF AMERICA                                                  101        11/18/2020 9:47:17 AM
 XX-XXXXXXX
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 30 of
                                        151
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 31 of
                                        151




                                   EXHIBIT 3
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21   Entered 04/03/21 02:48:03   Page 32 of
                                        151




                                                        minutes
                                           of the meeting of the
                                              board of directors
                                                          ofthe
                              NATIONAL RIFLE
                                ASSOCIATION

                                January 7, 2021




                                                               AMc DEPOSITION
                                                                  EXHIBIT
                                                                      9
   Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                                         Entered 04/03/21 02:48:03                        Page 33 of
                                           151


                         MINUTES OF THE MEETING OF THE BOARD OF DIRECTORS
                                              OFTHE
                              NATIONAL RIFLE ASSOCIATION OF AMERICA
                                          JANUARY 7, 2021
                                        OMNI DALLAS HOTEL

INDEX                                                                                                                          PAGE NO.

MINUTES ........................................................................................................................................ l

REPORT OF THE FIRST VICE PRESIDENT ............................................................................... 7

REPORT OF THE SECOND VICE PRESIDENT ......................................................................... 9

REPORT OF THE EXECUTIVE VICE PRESIDENT ................................................................. 11

REPORT OF THE SECRETARY ................................................................................................. 31

REPORT OF THE TREASURER .................................................................................................34

REPORT OF THE EXECUTIVE DIRECTOR,
GENERAL· OPERATIONS ........................................................................................................... 36

REPORT OF THE EXECUTNE DIRECTOR,
INSTITUTE FOR LEGISLATIVE ACTION ................................................................................ 69

REPORT OF THE LEGAL AFFAIRS COMMITTEE ............................................................... 136

REPORT OF THE EXECUTIVE COMMITTEE ....................................................................... 137

REPORT OF THE BYLAWS & RESOLUTIONS COMMITTEE ............................................ 140

RESOLUTION MEMORIALIZING MR. ROBERT J. KUKLA ................................................ 146

REPORT OF THE LEGISLATIVE POLICY COMMITTEE ..................................................... 147

REPORT OF THE NOMINATING COMMITIEE .................................................................... 148

REPORT OF THE SMALLBORE RJFLE COMMITTEE.......................................................... 150

REPORT OF THE NRA CIVIL RIGHTS DEFENSE FUND .................................................... 152
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                 Entered 04/03/21 02:48:03            Page 34 of
                                        151



                       NATIONAL RIFLE ASSOCIATION OF AMERICA
                  MINUTES OF THE MEETING OF THE BOARD OF DIRECTORS
                                   JANUARY 7, 2021


           The Board of Directors and the Executive Council of the National Rifle Association of
   America convened at 9:00 am. in Dallas Ballrooms D/H of the Omni Dallas Hotel, Dallas,
   Texas, on Thursday, January 7, 2021. NRA First Vice President Charles L. Cotton presided.

         The Chair called the meeting to order and recognized Chief J. William Carter for the
   opening prayer. Chief Carter led the Body in the Pledge of Allegiance to the Flag.

         At the request ofthe Chair, the Secretary called the roll. The following members of the
   Board of Directors and Executive Council were present, and the existence of a quorum was
   established:

BOARD OF DIRECTORS                    BARBARA RUMPEL
JOE M. ALLBAUGH                       DON SABA
BOB BARR                              RONALD L. SCHMEITS
RONNIE BARRETT                        STEVEN C. SCHREINER
MATIBLUNT                             BART SKELTON
J. WILLIAM CARTER                     KRISTY TITUS
TED W. CARTER                         MARKE. VAUGHAN
ANTHONYP.COLANDRO                     LINDA L. WALKER
CHARLES L. COTTON                     JAMES L. WALLACE
DAVIDG. COY                           JUDI WHITE
TODD R. ELLIS
RICHARD S. FIGUEROA                   EXO&ICIO
EDIE P, FLEEMAN                       JOHN C. FRAZER
JOEL FRIEDMAN                         WAYNER. LAPIERRE
SANDRA S. FROMAN
MARK.GEIST                            EXECUTIVE COUNCIL
MARIA HEIL                            KAYNE ROBINSON
NIGER INNIS
PHILLIP B. JOURNEY
DAVID A. KEENE
HERBERT A. LANFORD, JR.
WILLES K. LEE
DUANE LIPTAK, JR.
BILL MILLER
JOHNNY NUGENT
JAMES W. PORTER II
JAYPRJNTZ
TODD J. RATHNER

   *These minutes are being provided to you as a record of the most recent Board meeting. In accordance
   with Roberts Rules ofOrder, Newly Revised 11th Edition, these minutes will be considered a DRAFT until
   the Board of Directors corrects or approves them during the next Board meeting. At that time 1hey will
   become the OFFICIAL record for the meeting.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                Entered 04/03/21 02:48:03           Page 35 of
                                        151



          Also present for the meeting were outside counsel William Davis; several members of1he
   executive and administrative staff; and guests.

           The Secretary provided information about the reasons for absences. The Chair granted
   excused absenoos to the following members: Dr. Thomas P. Arvas; Mr. Paul Babaz; Scott L.
   Bach, Esq.; Mr. W'tlliam A. Bachenberg; The Honorable Clel Baudler; The Honorable
   J. Kenneth Blackwell; Lt. Col. Robert K. Brown; Mr. Dave Butz; Ms. Patricia A. Clark;
   The Honorable Robert K. Corbin; Mr. Allan D. Cors; The Honorable Larry E. Craig; Mrs. Carol
   Frampton; Ms. Marion P. Hammer; Mr. Graham Hill; Ms. Susan Howard; The Honorable
   Cunis S. Jenkins; Mr. Tom King; Ms. Carrie Lightfoot; Mr. Robert E. Mansell; Mrs. CarQlyn D.
   Meadows; Mr. Owen Buz Mills; Ms. 11 Ling New; Mr. Ted Nugent; Ms. Kim Rhode; Mr. Mark
   Robinson; Colonel Wayne Anthony Ross; Mr. William H. Satterfield; Captain John C. Sigler;
   Deputy Dwight D. Van Horn; ChiefBlaine Wade; Mr. Howard J. Walter; Lt. Col. Allen B. West;
   and the Honorable Donald E. Young.

         The Chair asked for any amendments to the proposed agenda that had been distributed.
   Hearing none, the Chair announced that the agenda was adopted as presented.

          The Chair called for the approval of the minutes of the October 24, 2020, meeting of the
   Board of Directors. Hearing no corrections, the President announced that the minutes were
   approved as presented.

           The Chair called NRA Board member James L. Wallace forward to receive the oath of
   office, which was administered by the NRA Secretary.

           The Chair presented the Report of the First Vice President A copy of the report is
   attached to and made a part of these minutes.

           The Chair called for the Report of the Second Vice President, which was presented by
   Lt. Col. Willes K. Lee. A copy ofthe report is attached to and made a part of these minutes.

         The Chair called for the Report ofthe Executive Vice President, which was presented by
   Mr. Wayne LaPierre. A copy of the report is attached to and made a part of these minutes.

          The Chair called for the Report of the Secretary, which was presented by Mr. John C.
   Frazer. A copy of the report is attached to and made a part of these minutes.

   (Secretary's Note: The printed reports of the Treasurer, the Executive Director of General
   Operations and the Executive Director of the Institute for Legislative Action were distributed.
   Copies ofthese reports are attached to and made a part of these minutes.)

           The Chair called for the Report of the Legal Affairs Committee~which was presented by
   the Committee Chairman, Ms. Sandra S. Froman. A copy of the report is attached to and made a
   part ofthese minutes.

         The Chair presented the Report ofthe Executive Committee. A copy ofthe report is
  attached to and made a part of these minutes.


                                                    2
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                 Entered 04/03/21 02:48:03   Page 36 of
                                        151



          The Chair presented the Report of the Bylaws & Resolutions Committee. A copy ofthe
   report is attached to and made a part of these minutes.

          Mr. Cotton:

                  "MOVED, That the NRA adopt the proposed amendments to
                  the NRA Board Policy for Board Member Attendance as
                  identified in the document attached to this report."

          The motion carried.

          Mr. Cotton:

                  "MOVED, The adoption ofthe following memorial resolution:

                 'WHEREAS, Robert J. Kukla, of Park Ridge, Illinois, a fonner
                 Executive Director of the NRA Institute for Legislative Action
                 and member ofthe Board of Directors of the National Rifle
                 Association of America, passed away on November 4, 2020, at
                 the age of 87; and

                 WHEREAS. Robert was born on December 1, 1932, in
                 Chicago, Illinois; he graduated from Northwestern University
                 in 1957 with a Juris Doctor degree; he wore many professional
                 hats throughout his life; he worked as casualty adjuster at
                 Allstate Insurance Company. a trial attorney at the firm
                 Fitzgerald, Petrucelli & Simon, and as Director of Marketing
                 Sales and Distribution at Sears, Roebuck and Company; he was
                 a self-employed author, teacher, consultant, television and
                 radio personality; and

                 WHEREAS, Robert was a man with great integrity; he
                 received a certificate of merit from Chicago Mayor Richard J.
                 Daley in 1970, for his demonstration of good citizenship in
                 action for aiding and assisting a victim of assault and robbery;
                 he helped form and was President of the 'Logan Square
                 Neighborhood Association,' an organization formed to resist
                 crime in the area; he had a deep appreciation for the law and
                 decided to share his passion and knowledge by teaching law
                 cow-ses at Triton College, Oakton College, and Roosevelt
                 University; and

                 WHEREAS, Robert was an NRA Life member at the time of
                 his death; he was Executive Director of NRA-ILA from 1977
                 to 1978; he served on the NRA Board ofDirectors from 1966-
                 1976; he served on the Firearms Legislative Committee,
                 Bylaws & Resolutions Committee, Range Facilities


                                                   3
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21              Entered 04/03/21 02:48:03        Page 37 of
                                        151



                  Committee, Protest Committee, and State Association
                  Committee; and

                 WHEREAS, Robert was an ardent supporter of firearms and
                 the Second Amendment; he was a skilled marksman and
                 renowned pistol shooter; he served as Vice President and
                 Legislative Committee Chairman of the Illinois State Rifle
                 Association; he served as Vice President of the Tri-County
                 Pistol and Revolver League; he was a member ofthe
                 Northwest Gun Club, Inc.; he wrote on firearms matters,
                 including a landmark gun rights book, "'Gun Control," which is
                 still relevant and referenced today; he was a skilled debater and
                 made over 300 media appearances on behalf of the NRA; now,
                 therefore, be it

                 RESOLVED, That the Board of Directors ofthe National Rifle
                 Association of America, at its meeting on January 7, 2021, in
                 Dallas, Texas, in recognition of Robert Kukla and his long
                 years of service to the National Rifle As.sociation of America,
                 hereby expresses its profound sense of loss occasioned by his
                 passing, and extends its sincere sympathy to his family; and, be
                 it further

                 RESOLVED, That the text of this resolution be spread upon
                 the minutes of the meeting, and that a copy, suitably engrossed,
                 be forwarded to his beloved children Robert and Jay "'

          The motion passed.

          The Chair called for the Report of the Legislative Policy Committee) which was
   presented by the Committee Chairman, Mr. Kayne Robinson. A copy of the report is attached to
   and made a part ofthese minutes.

           The Chair called for the Report of the Nominating Committee, which was presented by
   the Committee Ch.airman, Congressman Bob Barr. A copy of the report is attached to and made
   a part of these minutes.

          The Chair called for the Report of the Smallbore Rifle Committee, which was presente<l
   by Ms. Edie P. Fleeman, a member of the committee. A copy of the report is attached to and
   made a part ofthese minutes.

          Ms. Fleeman:

                 "MOVED, That the 2021 Pershing Team Match and the
                 Goodwill Randle Team Match be rescheduled to the 2022
                 National Matches at Camp Atterbury in order to allow for team
                 selection and preparation by visiting teams. The match
                 schedule will return to the every eight year schedule with the next
                 Pershing and Goodwill Randle Team Matches fired in 2029."
                                                  4
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21               Entered 04/03/21 02:48:03         Page 38 of
                                        151




           The motion passed.

           The Chair called for the body to go into executive session to consider the report of the
   Officers Compensation Committee. Before the executive session, Ms. Sandra Froman asked for
   the record to reflect that she was not present for, and took no part in the discussion or on the
   adoption of, the committee's report.

          Without objection, the body entered into executive session at 10:00 a.m. The body
   returned to open session at 10:52 a.m.

           The Chair announced that during the executive session, the Board of Directors adopted
   the following resolution:

                  RESOLVED that the Employment Agreement between the
                  NRA and Mr. LaPierre be approved by the NRA Board of
                  Directors, subject to the addition of a choice of law and venue
                  provision to be negotiated between the parties, and

                  RESOLVED FURTHER, that Mr. Cotton is authorized to
                  execute the Employment Agreement on behalf of the NRA.

          The Chair called for the Report ofthe NRA Civil Rights Defense Fund, which was
   presented by the Fund Chairman, Mr. James W. Porter Il. A copy of the report is attached to and
   made a part ofthese minutes.

           The Chair called for new business. Mr. Frazer stated that he had received one resolution,
   as follows:

                  "WHEREAS, on September 10th, 2020, NRA President
                  Carolyn Meadows announced the appointment of a Special
                  Litigation Committee (the SLC) to oversee the prosecution and
                  defense of certain litigation; and

                  WHEREAS, the Board desires that the SLC in furtherance of
                  its mission and responsibilities, be vested with corporate
                  authority as a committee of the Board pursuant to New York
                  Not-For-Profit Corporation Law Section 712(a): now, therefore
                  be it

                  RESOLVED, that a Special Litigation Committee of the NRA
                  Board of Directors is hereby appointed~ and that the members
                  of such committee shall be Carolyn Meadows, Charles Cotton,
                  and Willes Lee, each ofwhom has been determined to be
                  independent and disinterested in all respects relevant to their
                  service on the SLC; and be it further




                                                       5
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21               Entered 04/03/21 02:48:03         Page 39 of
                                        151



                  RESOLVED1 That the Special Litigation Committee shall
                  exercise corporate authority on behalf of the NRA with respect
                  to the prosecution and defense of

                        (i) The litigation captioned People ofthe State of
                        New York versus the National Rifle Association. et
                        al., Index Number 451625/2020 (Supreme Court of
                        New York);

                        (ii) The litigation captioned the National Rifle
                        Association versus Letitia James, Case Number
                        1:20-cv-889 (Northern District of New York, 2020);

                        {iii) The litigation captioned District ofColumbia
                        versus NRA Foundation, Inc., et al.; this is Case
                        Number 2020-CA-003545B; and

                        (iv) Any additional legal proceedings arising from
                        the same mets, circumstances, or allegations as the
                        foregoing, wherein the potential for an actual or
                        apparent conflict of interest favors recusal by one or
                        more NRA executives who would customarily
                        oversee such proceedings."

          Mr. Todd Rathner moved to adopt the resolution. Professor Coy seconded the motio.n.

          The Chair called for the body to go into executive session to discuss the resolution and
   legal matters.

          Without objection. the body entered into executive session at 11 :05 a.m. The body
   returned to open session at 11 :39 a.m.

           The Chair announced that during executive session, the Board ofDirectors passed the
   resolution formalizing the Special Litigation Committee. Mr. Cotton noted that Ms. Froman
   abstained from the vote.

          There were no comments or announcements for the good of the order.

          At the Chair's request, Chief J. William Carter presented the closing prayer.

          There being no further business to come before the body, the meeting was adjourned at
   approximately 11 :41 a.m., January 7, 2021

                                                        Respectfully submitted.

                                                        Y-L.y
                                                        John C. Frazer
                                                        Secretary

                                                   6
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21               Entered 04/03/21 02:48:03         Page 40 of
                                        151



                                                REPORT
                                                OFTHE
                                       FIRST VICE PRESIDENT
                                                 TOTHE
                                 BOARD OF DIRECTORS
                        NATIONAL RIFLE ASSOCIATION OF AMERICA
  Dallas, Texas                                                                       January 7, 2021

  Members of the Board, Officers, Sta.ff and Guests:

           It is time for the Officer Reports now.

           Twice in a row now I will do something completely out of character for me and l will be
  brief.

          A lot of folks are probably wondering why now, why Dallas, why no committee meetings
  or no in-person committee meetings.

         And the short version of that is-actually we could make Jim our poster child-the short
  version ofthat is COVID.

        The hotel in Tysons Corner shut down everything for the month of January, and it will
 probably be extended beyond that, so we were going to lose our meeting date and spot. We had
 to have some--we had to get something done.

          As you all will recall, we were scrambling last year trying to get in our Annual Meeting
  of the Members because it is required by the bylaws. And since Letitia James, the New York
  AG, is, throwing everything she can at us, we just wanted to make sure we did not give her a
  bylaw violation to add to the list.

         We decided we are not going to let-we are not going to start off2021 in the hole in
  terms of meetings. So that is the reason we said we are going to go ahead and have it in January.

        We do not know what is going to happen with COVID. 1 mean if what we are bearing on
 the news and what we are seeing locally is accurate, we have no idea what it is going to be like.

           We are going to schedule meetings and attend those meetings when we can.

        Now, as for committee meetings, I am not crazy about telephonic me_etings any more than
 probably a lot of you folks are, but it is a sign of the times right now.

         Every time I drive past a restaurant that 1 used to really like to go to and patronize good
 folks that have built their businesses for years and I see it closed because of what we are going
 through now, it breaks my heart to see what is going on.

           But that is the reality that we are facing now and will face until this COVID situation is
 over.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 41 of
                                        151



         1 am not going to get into vaccines or is it going to help or not; we do not know. We just
  flat do not know.

          But that is the reason we are here now, that is the reason we thought we are going to get
  the January meeting under our belts, so that means by the bylaws we have to have two more
  before the end of the year, and hopefully our Annual Meeting, our annual convention, and all
  that that brings will actually be held in September.

         As you already know, we had to move it to September because everything in the George R.
  Brown Convention Center in Houston for that month was canceled, literally everything, so we
  were able to move it to September 4 I believe it is.

        And again, we are hoping we can get that done as well. If not, we will have an Annual
  Meeting of the Members someplace and we will have our second Board Meeting.

          In all likelihood-and a lot of folks are not going to like hearing this- but in atl
  likelihood we are going to have to continue with committee meetings either telephonically or,
  you know, by WebEx or something like that.

        It is certainly less than optimal. I mean let's face it, a lot of the business that we do is
 outside of the formal committee meetings. It is gathering aroWld tables and having coffee or
 IWJch together and discussing issues, and then we-I guess it is a little bit of an overstatement to
 say we formalize it in the committee meetings before the Board Meeting, but that is the way it
 works.

         That is the way legislatures work. And we have been correctly described as much more of
 a legislature than a board of directors because of our size and the varying scope of our
 responsibilities.

        So that is why we are here today, that is why we are so sparsely populated is the COVID
 problem as well, and that is why our committee meetings are being held telephonically.

         If any committee chairs want to have telephonic or WebEx meetings- and we have the
 ability for WebEx, folks-just let Carolyn know, let the President know, and we will get them
 done. I mean they will be approved for you; that wiJJ not be an issue.

       Okay. That is all I have got. Let me put my eyes back on here and make sure I do not get
 anyone out of order.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21              Entered 04/03/21 02:48:03          Page 42 of
                                        151



                                               REPORT
                                               OFTHE
                                    SECOND VICE PRESIDENT
                                                TOTHE
                                BOARD OF DIRECTORS
                       NATIONAL RIFLE ASSOCIATION OF AMERICA
  Dallas, Texas                                                                      January 7, 2021

  Members of the Board, Officers, Staff and Guests:

         It is a privilege to serve as an officer with Carolyn and Charles and Wayne. I could not
  beforehand realize the time-consuming complexities of today's NRA, those that we face every
  day.

          We thank you, as Charles just mentioned, for attending the Board Meeting. We had to do
  this. And, I appreciate you being here.

          More importantly, thank you for all the work you have done this past year, certain1y since
  the last Board Meeting, with the elections and our programs and all of the efforts that we have
  had to conduct to get to this point. I am humbled to serve with each of you.

         The NRA, as you will hear in several reports today, enjoyed a very successful 2020. I
  love being on the team. J love the challenge. I love winning.

         It is a joy to be on this team with you. I have been on a couple of teams; in combat with
 real bullets, at the Pentagon with paper bullets, in sports, in business, in politics with rhetorical
 bullets, and even in planning for nuclear operations with really, really, really big bullets.

         Working with our team is best when it is altruistic. We are all about the Second
 Amendment and all of our work is for our five million members. massive numbers of supporters.
 and for freedom.

       In a year that we have seen reduced NRA programs and a contentious election, our
 members and supporters over-performed in training, education, and especially in what they
 produced during the elections this year.

         We, the Board, signed on to preserve, protect, and defend the Constitution and in
 particular the Second Amendment. To uphold our oath the NRA must be secure and whole.

        We have met challenges to freedom and to the NRA. We continue to maintain the best-
 in-business programs, communications, personnel, legislation, and finances. We should be, we
 are proud of our successes.

        The NRA's strength and importance are highlighted by the fact that so many try to
 destroy us.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21           Entered 04/03/21 02:48:03       Page 43 of
                                        151



         We have sustained attacks by tyrannical governments, NGOs, haters, China virus,
  fraudulent elections, dishonest media, and leftist terrorists in the streets.

         I am glad to fight this fight by your side. Who would not want to be here? Who would not
  want to be here now to save the NRA and to save freedom?

       It is humbling for our association to have great patriots who support us and support our
  members.

        Now, bear with me as I list 16 states whose Attorneys General have publicly voiced their
 support. Led by Arkansas' Leslie Rutledge, the coalition includes Alaska, Georgia, Idaho,
 Mississippi, Oklahoma, Kansas, Kentucky, Louisfona, Missouri, Ohio, South Carolina,
 South Dakota, Texas, Utah, and West Virginia

         Each of these Attorneys General bashed New York's attempt to silence the NRA, while
 inviting us to come join them in their freedom loving state.

         Today we are focused on the immediate and near future. We need to work in unison.

         We are the National Rifle-Association of America. This year in Houston we celebrate 150
 years of promoting freedom. I am spending the year celebrating our next 150 years. This is an
 exciting journey.

         God bless you. God bless the National Rifle Association of America.

         Thank you~Mr. Vice President.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 44 of
                                        151



                                         REPORT
                                           of the
                                 EXECUTIVE VICE PRESIDENT
                                           to the
                                   BOARD OF DIRECTORS
                       NATIONAL RIFLE ASSOCIATION OF AMERICA

  Dallas, Texas                                                                January 7, 2021

  Mrs. President, Members of the Board, and Executive Council:

  The report of the Executive Vice President provides information on the progress of our staff in
  carrying out the policies and programs of the National Rifle Association and in implementing the
  resolutions and decisions approved b y the NRA Board. This report is given in three parts to include
  the two staff officers appointed by the NRA Executive Vice President: the Executive Directors of
  General Operations and the Institute for Legislative Action. The following report provides full
  year's program/activities report for 2019.


                                           MEMBERSmP

  While there have been many challenges in 2020, the Membership Division bas snown solid
  returns throughout the year. Our staff has adapted to a virtual environment, and have shown they
  are capable of maintaining productivity while working from home. While there has been a
  decline in face-to-face sales with our Annual Meeting and many gun shows being cancelled, we
  have more than made up for that in increases in direct mail, phones and web marketing. The
  market will be stagnant and continue to evolve in the post-election period, and shou1d shift
  significantly after the inauguration.

  Recruiting Programs

  The Recruiting Programs Department is comprised of seven national recruiting programs:
  Certified Instructors, Stocking Gun Dealers) Independent Individuals, Affiliated Clubs, Gun
  Shows and Special Events, Staff attended shows, and Manufacturers. Through December 15,
  2020 these Recruiters have generated 115,569 members and $6,347, 156 in revenue.

  The program is 1% ahead of 2019, year to date for the year, a huge leap from the shortfall for the
  first half of the year. If you take Annual Meeting revenues out of the mix the department is
  actually up roughly 16% on the year. Industry partners have led the charge realizing a 205%
  increase vs 2019 year to date.

  Industry participation will continue to be a large focus moving into next year. Costs are very low
  with potential rewards being very high. The loss of almost every staff show and major event
  coupled with Jack of adequate staffing will make Industry participation extremely valuable for
  the first quarter of 2021.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 45 of
                                        151



  Membership Operations

  Valtim has mailed out 2,056,155 credential packages from January to December, and nearly
  700,000 of those have shipped since the first of October. Valtim has also sent out 1,775,325
  premiums from January to December thjs year, 680,000 of the total was since the beginning of
  October, which has made for a busy few months for fulfillment. After reassessing the total cost
  of shipping premiums in 2019, a new renegotiated contract with UPS has proven to be very
  successful. Membership accounts for 86% of all shipping by the association, and the new rates
  put in place have had significant savings. Since the start ofthe year, our new rates negotiated by
  Membership staff have saved the association $1.217 million. We are on track to reduce spending
  on shipping by $1.247 million by the end ofthe year.
  V altim has also been able to help us reduce our costs in credentials. We sent out almost 2.1
  million credentials in 2020, about 300,000 more than we did in 2019. Even though we sent out
  more, our total costs were less, at savings of about 33%.

  The impact of the COVID-19 virus has impacted our operations since late 2019 with getting
  premiums in a timely fashion. We have adjusted our order timing to assure members are not
  without a premiwn or materials they ordered. There have been some delays that have negatively
  affected timelines, but we have managed it to a minimum. We currently have all items in stock~
  and are sending items out within the contractual timelines we have set with Valtim.

  Membership Operations also works with MMP to approve marketing mail, emails, and renewal
  notices to our members. Membership Operations and Information Services continue to work
  together in approving and testing all membership related web pages.

  Telemarketing

  In 2019 we generated just over $10 million in net revenue. Approximately $3.3 million in net
  came in through inbound member services. We generated 46K new members in Prospecting.

  lbrough November of2020 we generated $10.5 million in net revenue. In September, we
  continued to see strong support from our Members using our "Save NRA" scripts. We were able
  to morph that support into a "NY Attack" script which has done very well. We also tested
  various new scripts to discuss the elections. Post-election we are seeing some waning in
  enthusiasm, however we do not anticipate that to last. We continue to use the ''Fake News
  Media'' upsell with success.

  The third and fourth quarters of 2020 have gone well considering the many obstacles we faced.


  Membership Communications
  In Member Services we, in a high-quality manner, provide vital initial contact with NRA
  Members/prospective members via phone, web chat, and email. Assist the members with
  membership or NRA-activity questions and perform adjustments to member accounts as
  necessary. We proactively inform the member ofthe benefits ofjoining, renewing, or upgrading
  their membership.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21           Entered 04/03/21 02:48:03        Page 46 of
                                        151




                           AFF1NITY AND LICENSING PROGRAM

  NRA Credit Card Pro~am
  The Credit Card Program transition to Pentagon Federal Credit Union is fully completed.

  Despite the numerous challenges in 2020, which have impacted credit card spending, we
  continue to see good growth with the new program and are pleased with the progress of the
  program in recent months. PenFed has committed to many promotional campaigns for the
  program in '21 . While 2021 will be a growth year, we are fortunate to have a program in place
  with a partner who is eager to work with NRA and where we have an opportunity to grow this
  program back to where it was prior to the termination by FNBO.

  NRA Endorsed Insurance Pro~a,m
   Royalties through November are running slightly behind budget. This is due to the lower than
  projected one-time annual payout for the Life & Health programs. Regular royalties are
  performing ahead of budget. Major progress is under way to implement changes to the Property
  & Casualty programs through Lockton Affinity Outdoor. These changes are designed with every
  effort to keep the programs in compliance with state regulators.

  While we have faced significant legal and regulatory challenges with regard to these programs,
  we continue to have partners in both Lock:ton and AGIA who deal head on, work through the
  challenges, and make required changes to the programs so the insurance products NRA members
  ask for can continue to be offered. In an environment where NRA seems to be held to an uneven
  standard this is a particularly challenging task.

  Other Affinity Prowms
  Our other affinity programs are perfonning slightly behind budget. The,primacy discrepancy
  continues to derive from three areas; Hotel/Travel, Guides & Outfitter (Both negatively impacted
  due to COVID-19) and the continued tapering of royalties paid by the Lifelock program
  (terminated).

  New programs have all continued to refine their messaging to members and demonstrate
  program growth.

  NRA Licensine
  Licensed product royalties are performing slightly behind budget. We anticipate the December
  payment to bring us right in line with budget for the year.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 47 of
                                        151



                             INFORMATION SERVICES DMSION

  NRA Website Summary

  Management responsibilities include website development and maintenance, ecommerce
  administration, and providing website hosting services. Ecommerce and member services
  activities needs continue to rise - underscoring the continued importance of remaining cUITent in
  web technologies.

  Website Traffic: The total number of visitors to NRA websites is projected to be 62 million by
  2020 year-end.

  Ecommerce Activity: Infonnation Services manages the underlying technologies and security
  protocols that comprise the NRA's ecommerce presence on the World Wide Web. Providing
  ecommerce site visitors with a stable, user friendly, and secure web environment continues to be
  a primary focus. Our ecommerce sites allow visitors to join or renew their membership, make a
  contribution, pay outstanding invoices and renewal notifications, and purchase NRA products
  and merchandise.

  NRA Email Summan •

  Information Services maintains the email system software and provides the IT infrastructure and
  support for the NRA' s email application. As email has proven to be both an effective and
  efficient communication medium that drives members to our websites, utilization is continually
  monitored and reassessed. Timely communication of NRA news and infonnation persists as an
  operative goal.

  Through November, a total of7,934 email campaigns were sent out to 7 16,249,554 recipients
  and continues to yield unmatched access - highlighting the ever-increasing use of electronic
  delivery.

  Remote Support Summa.-y

  Each year, lnfo11Dation Services provides support for the NRA's Annual Meeting ofMembers,
  the Great American Outdoor Show, Board of Directors meetings, multiple NRA competitive
  shooting championships, and a variety of additional remote support assignments. Support may
  include creating and maintaining specialized software applications and/or providing onsite
  personnel for systems and operational support during the events.

  Board of Directors Meetings: In support of the January and October BOD Meetings, up to 15
  computers and printers were configured to create a remote office for Board Members and NRA
  staff while at the meetings. The travel phone system was utilized to provide connectivity to the
  NRA UC environment - allowing secured extension dialing and NRA network access.

  The relocation ofthe Fall BOD meetings required last-minute changes for services and
  equipment. In less than a week, planned vendors were cancelled and new vendors were
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 48 of
                                        151



  scheduled to accommodate the new location. Information Services staff were onsite during the
  meetings - to ensure Member lookup functionality and to relocate the NRA Office mid-meeting.

  Production Numbers

  Through November of this year, Infonnation Services completed; 3 1 Change Requests,
  1,025 Incidents, and 3,630 Service Requests.

  Information Services classifies support tickets by type, and assigns them to one of the following
  three categories for review and resolution.

      •   Change Requests • tickets to change the way something is designed or to create new.
      •   Incidents - tickets to repair or replace something that is not working as it was designed
          to.
      •   Service Requests - Change Request tickets that follow an outlined process and have been
          repeated enough to be considered a "standard" change.

  Computer Operations Review

  The Computer Operations department provides and maintains the NRA's IT infrastructure.
  Comprised of several locations, running multiple computing platfoi;ms, and connected via the
  NRA's enterprise network, this infrastructure serves as the foundation for the efficient and secure
  operation of NRA business applications and data processing. Providing end-user support and
  maintaining the operational integrity of the NRA's IT infrastructure are the department's primary
  goals.

  Disaster Recovery Test: In October, Information Services performed a semi-annual disaster
  recovery test. All major components were tested successfully. In-house applications, third party
  applications, and the financial application were also successfully tested.

  Annual Meeting (Arizona): Information Services staff traveled to Tucson, Arizona in support
  of the Annual Meeting of Members in October. Seven desktop computers were set up and
  connected to NRA HQ for secure data and telephony use, five Member Verification desktops and
  a server were set up for 76th Director balloting, and a single Membership-on~the-Go (MOTG)
  station was set up to sell memberships and accept donations.

  While onsite, staff provided support for the Members Meeting and the Board of Directors
  Meetings.

  Whittington Center: After leaving Tucson, IS staff traveled to the Whittington Center in
  Raton, New Mexico to update their computing environment. Twenty new desktop computers
  were configured and installed, six computers were upgraded and reinstalled in new locations, and
  a new server was built and installed. The server upgrade will be a new resource for the financial
  and donor tracking applications.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 49 of
                                        151



  Field Ops Distribution Center: Following the Whittington Center site visit, lnfonnation
  Services traveled to Columbia, Missouri to update equipment at the Field Operations
  Distribution Center. Five desktop computers where configured and installed, a new network
  switch was installed (replacing an old switch that was no longer compliant), and a new WiFi
  router was installed to provide better coverage for the warehouse.

  Database Marketing Operations Review

  The Database Marketing operation is responsible for managing input and output files for direct
  maiJ and telemarketing campaigns related to; membership acquisitions and contributions,
  ILA/PVF fund raising, and product marketing.

  Information Services DB staff maintain the Contact Accumulator Warehouse (CAW), which
  archives a record for each contact (mail or phone) to any member or prospect ever generated
  from the Member Warehouse or Prospect System, for use in mailing analysis. The total number
  of contacts to members recorded is 1,459,178,593, and 96,200,000 million Unique
  Person/Address records are currently stored in the CAW.

  Ten NRA Member Store Catalog files are produced each calendar year. The process used in
  selecting catalog recipients combines data ftom 9 different sources, and uses over 40 different
  selection criteria to build the universe of possible recipients. These processes have been
  simplified and standardized to drastically decrease manual intervention, improve accuracy and
  reduce processing time. These improvements empower NRA Member Store staff to more
  accurately define their target customers and receive faster results.

  Information Security Review

  Payment Card Industry Data Security Standard (PCI DSS): Maintaining PCI compliance
  requires a process that is conducted throughout the year. Soon after receiving a Report of
  Compliance (ROC) last year, the NRA began gathering documentation for recertification of the
  Payment Card Industry (PCI) Level 1 Certification for 2020. In September, our Qualified
  Security Assessor (QSA) conducted a virtual audit, and the NRA received our ROC in October -
  completing this year's PCJ certification process.

  Internet Service Provider (ISP) Load Balancing: Working with an outside vendor, IS staff
  requested internet circuit changes to provide full internet routes and allow the NRA to load
  balance the circuits between our two internet providers. Configuration changes were completed
  in December - giving the NRA full redundancy capabilities with the ability to send and receive
  traffic on both circuits, using the fastest path to any internet destination.

  POS I Self Assessments: All internal credit processing departments are now PCI compliant.
  PCI self-assessments for both the Range and the Museum Store were completed in December.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21              Entered 04/03/21 02:48:03         Page 50 of
                                        151



  Software Development Review

  The Software Development department is responsible for the development and maintenance of
  business software applications for the NRA. These applications include client/server and web-
  based solutions, as well as third-party applications. The department's primary objectives
  include; working with division / department leaders to better understand and improve business
  processes, creating and supporting quality business solutions, and maintaining the flow and
  integrity of information.

  New Web Hosting Provider: 1n January, Information Services started exploring alternative
  hosting providers - to improve service quality and reduce costs. After six months and vetting
  several prospective vendors, a selection was made. General Counsel worked with us, and
  completed agreements were signed in May. Although a time-consuming process, we look
  forward to enhanced services and saving the NRA over $600,000 in the next three years.
  Migration and testing finished, we completed the move and went live in November.

  Website Updates: As part ofthe NRA's multi-tiered marketing approach, websites are
  created to support direct mail, email, social media, text messaging, and TV marketing
  campaigns. This reporting period includes creating websites that encompass 59 Membership
  marketing campaigns, 24 ILA marketing campaigns, 19 PVF marketing campaigns, and 4
  Whittington Center sweepstakes offerings.


                                           PUBLICATIONS

  NRA Publications, contingency planning prior to the Covid-19 pandemic shutdown paid off
  handsomely as 2020 unfolded with all its challenges. Remote production of the magazines and
  digital properties has gone smoothly and effectively, and we will continue in that mode for the
  foreseeable future.

  Communications

  The historic interview ofPresident Donald J. Trump by Frank Miniter, editor-in-chiefof
  America's JS' Freedom, appeared in the November issue of the four Official Journals.

  Our staff continues with the production of a commemorative book to mark NRA' s 150th
  Anniversary in 2021. The book will be distributed to members as premiums, as well as to special
  interest groups. It will be available in the second half of 2021 . 1n addition, each Official Journal
  will include a commemorative section every month throughout 2021, beginning with the January
  issue.

  NRA Publications' print magazines, digital properties, websites and American Rifleman
  Television Show are currently reaching 18.5 million customers per month. We had 36 million
  unique web sessions in 2020, an all-time record (compared to 12 million in 2014).
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 51 of
                                        151



  Distribution includes:

      •   3.75 million print subscribers (monthly average)
      •   3-15,246 digital subscribers (monthly average)
      •   3 million web sessions (monthly average)
      •   5.3 million e-newsletters (monthly average)
      •   Over 992,000 viewers of American Rifleman TV (monthly average)

  Our social media presence includes: Facebook Likes 3.8 million; Twitter Followers 426,662; and
  YouTube views 893,700 {3-month average).

  NRA Hunters' Leadership Forum (www.nrahlf.org): The Forum continues to expose the
  misinformation about hunting, promote acceptance of hunters and hunting, and highlight the
  threats to the future of the sport and wildlife conservation. The Forum colJaborated with
  Responsive Management on groundbreaking new research examining Americans' attitudes
  toward hunting and hunters. Input was also sought from some of the country's leading debate
  strategists and communications specialists. The result is a convenient, accessible and easy-to-
  digest book about how to communicate with the American _public about hunting. "How to Talk
  About Hunting" was developed specifically for hunters and wildlife and conservation
  professionals. It details bow to build support for hunting, how to talk to non-hunters about the
  historical role of hunting and the benefits ofhunting, and why hunting remains essential today.
  Readers will get the tools they need to become more effective advocates for hunting and the
  North American Model of Wildlife Conservation.

  Join the Hunt: This initiative/program continues into 2021. Its mission is to inspire the million
  readers of the American Hunter to recruit and mentor new hunters, retain hunters and reactivate
  hunters who have left the field. Each month American Hunter dedicates a 2-page department
  called "Join the Hunt" to help its readers become mentors. The initiative also has its own page in
  the American Hunter website (www.americanhunter.org).

  Competitive Shooting: Shooting Sports USA (www.ssusa.org) continues to provide in-depth
  coverage and support of competitive shooting. The website's traffic reached 2.2 million viewers
  at the end of 2020, an all-time high.

  NRAWomen.com: Led by Editor-in-Chief Ann Smith, the sjte's mission is to be the most
  trusted online resource for women who seek knowledge, confidence and empowerment in the
  shooting sports. In November, traffic to the site reached an all-time high of 144,000 unique
  visitors, and we are confident that number will continue to rise. Content is marketed daily
  through multiple social media channels and through a weekly digital newsletter. Mt1ch of the
  content caters to today's new gun owner, 45 percent of whom are women in the past six months.

  Staff continues to assist the Women's Leadership Forum (WLF) and its fundraising efforts.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 52 of
                                        151



  Budget

  The challenges imposed by the pandemic did not deter our advertising sales team from doing an
  outstanding job.

  It should be noted that we published 11 issues in 2020 of each Official Journal (combined
  June/July issue). The projected advertising revenue from the 12th issue would have put us very
  close to our 2020 revenue goal.

  We submitted a conservative budget for 2021 . The budget includes 11 issues for each Official
  Journal (combined June/July issue). We are optimistic that we will see more advertising dollars
  in 2021 from manufacturers who cut their marketing efforts due to the pandemic. We have
  already booked 107 ofplan for the February issue. We will continue to work hard to reach- if
  not surpass - our advertising revenue budget in 2021 .

  Inter-Division Support

  Art and Photography Departments: Our designers and photographers continue to support other
  divisions ofNRA. From January through December, the Art Department completed 120 hours of
  collateral projects. Design work in progress includes a challenge coin for NRA-ILA and the
  Hunters' Leadership Forum book. Photography work in progress includes photoshoots for the
  NRAStore and the Office of Advancement. Special acknowledgment goes to Photography
  Director Peter Fountain and Senior Photographer Forrest Maccormack. Working from home is
  not an option for them due to the nature of their work in the studio and on location, so they
  continue to go into the building every day. Even after losing one photographer earlier this year
  due to furlough measures, they have managed to maintain their pre-pandemic production levels -
  including collateral projects for other divisions -- under stressful circumstances.

  NRA Publications has three major objectives for 2021 :

      •   Continue remote publishing for the foreseeable future;

      •   Continue to strengthen advertising sales and implement cost-cutting measures in such
          areas as magazine production to avoid serious impact on the budget; and

      •   Continue to provide NRA members with timely and outstanding editorial content through
          our award-winning Official Journals and our growing multi-media platform.


                               OFFICE OF GENERAL COUNSEL

  The NRA is engaged in a variety of legal matters in furtherance of its mission to protect the right
  to keep and bear arms. In order to accomplish its goals efficiently, most routine corporate legal
  matters are handled by the NRA's in-house legal office, the Office of the General Counsel.
  Services provided by the OGC include research, counseling, representation, and coordination of
  outside counsel.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 53 of
                                        151



  Judicial & Administrative Agency Matters

  The OGC provides counsel and representation to NRA and its affiliates in judicial and
  administrative matters at the Federal, state, and local levels. The OGC provides such services at
  all stages from pre-trial through appeal, either directly or by supervision of outside counsel.

  The OGC provides legal services in business litigation and similar adversarial circumstances.
  Examples of such circumstances include transactional disputes, intellectual property rights
  infringements, creditor/debtor issues, trust and estate matters, and subpoenas arising from
  disputes between other parties.

  Le1dslative Matters

  The OGC provides legal services to NRA on many legislative and lobbying matters.

  Lobbyist Reports: The OGC provides assistance with lobbyist reports and lobbyist employer
  reports, registrations and related documents on behalf of NRA-ILA State & Local and its state
  liaisons. The OGC also provides legal counsel on compliance with lobbying regulations.

  Statutory and Legislative Analysis: The OGC provides advice on statutes and legislation,
  especially in areas outside the firearms policy arena, such as campaign finance and charitable
  regulation. This includes analysis of existing statutes, developing language for draft bills,
  analysis oflanguage mexisting bills, and suggesting amendments to existing laws.

  Contract Matte.rs

  The OGC provides legal services to the NRA on transactional matters such as contract drafting
  and review, with the goal of allowing the NRA to establish and maintain beneficial relationships
  with outside parties while avoiding misunderstandings and other situations that foster
  commercial litigation. The subject matters of these agreements typically include: goods and
  services for NRA activities such as the NRA Annual Meetings & Exhibits, education and
  training programs~ fund.raising events and shooting competitions, intellectual property licensing,
  field operations, security services, publication-related matters such as author services and
  copyright agreements, and rea1 estate matters such as building maintenance services and leases.

  The OGC also provides internal advice and compliance training to ensure that contracting is
  carried out in compliance with relevant Jaws and board policies governing operations of the NRA
  as a non-profit organization.

  NRA Civil Rights Defense Fund

  The NRA Civil Rights Defense Fund reviews hundreds of applications for assistance in civil
  rights cases each year. The OGC provides legal services and administrative support to the Fund.
  Additionally, the OGC provides services to promote the public's awareness and interest in the
  Fund. The following are examples of such services:
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 54 of
                                        151



  Grants: The OGC provides the CRDF legal services in furtherance of providing grants to
  support potentially precedent-setting litigation involving the right to keep and bear anns, self-
  defense, range operations, and other core issues.

  Research: The OGC provides the CRDF legal services in furtherance of the dissemination of
  information regarding civil rights.

  Youth Essay Contest: The OGC provides legal services and administrative support in
  conjunction with Publications, Media Relations, and Youth Programs on promoting the Youth
  Essay Contest through press releases, websites, and social media pages. The Essay Contest
  receives hundreds of entries each year. The students who enter are enrolled in elementary, junior
  high, or high school. Winners are selected by a committee made up of OGC staff members.
  Prizes are awarded in each category.

  NRA Affiliates

  Entities affiliated with the NRA such as the NRA Freedom Action Foundation and The NRA
  Foundation, Inc., benefit from services provided by the OGC. These services relate to matters
  such as corporate registrations, education forums, laws concerning gaming permits, charitable
  solicitations, trusts, and probate. The following are examples of such matters:

  Charitable Gaming: The OGC provides legal services as requested on matters such as
  applications for charitable gaming licenses, registrations, and reports for charitable gaming.

  Charitable Solicitation: The OGC assists outside counsel in filing charitable solicitation
  registrations with state agencies for all NRA entities.

  Friends of NRA: The OGC provides counsel regarding Friends of NRA events and activities.

  Grant Applications: The OGC provides counsel on grant applications which involve legal
  issues and assists in resolving incomplete or inadequate grant applications in order to help
  facilitate qualifying grants. The OGC also provides counsel to The NRA Foundation on grant
  applications and procedures.

  The NRA Foundation's Annual National Firearms Law Seminar: Each year the OGC
  organizes the largest gathering of Second Amendment legal talent in the country. Firearms
  attorneys and those in the firearms industry gather at the Seminar during the Annual Meetings to
  network and to hear an entire day's worth of speakers covering many of the hot legal topics
  across the country.

  Miscellaneous

  The OGC provides assistance with many miscellaneous matters such as: inquiries from
  attorneys, legal review of NRA materials to be published, human resources issues, assistance to
  shooting ranges, firearms instructor management issues, landowner/landlord liability and
  management matters, and field representative matters. The following are a few examples:
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21              Entered 04/03/21 02:48:03         Page 55 of
                                        151




  Corporate Registrations: The OGC prepares and files annual corporate reports on behalf of the
  NRA, The NRA Foundation, and the NRA Freedom Action Foundation.

  Debt Collections and Bankruptcies: The OGC collects debts owed to the NRA and enrolls
  debtors in payment plans, advises as to the suitability of commencing legal action, represents the
  NRA in bankruptcy proceedings of debtors, files paperwork to recover money in bankruptcy
  cases, and works in conjunction with debt collection agencies and local counsel when necessary

  Employment Matters: The OGC provides advice on general employment policies and on
  situations involving particular employees.

  Insurance: Upon request, the OGC provides counsel about various NRA corporate insurance
  matters.

  Intellectual Property: The OGC provides counsel and representation to the NRA on
  intellectual property matters, including those concerning right to publicity; right to privacy; trade
  secrets; and protection, registration, maintenance, use and licensing of NRA trademarks and
  copyrights.

  Internet Presence: The OGC provides counsel on legal issues concerning the NRA's presence
  on the Internet, such as acquisition of domain names, advertising via search engine results,
  disclaimers, linking and other matters involving communications, and transactions done on the
  Internet.

  Meetings, Shows & Exhibits: The OGC provides legal services to facilitate meetings, shows
  and exhibits such as the NRA's Annual Meetings and Exhibits, or the Great American Outdoor
  Show. The legal services include negotiation of contracts for facilities and services, and
  providing counsel on compliance with state and local statutes in the host city.

  Publications Review: The OGC provides editing and legal review of drafts of various
  publications created by other divisions of the NRA.

  Regulatory Compliance: The OGC provides counsel on compliance with statutes and
  regulations on matters such as disability, discrimination, medical leave, telemarketing, ranges,
  wages, safety and zoning.

  Range Conferences: The OGC presents written treatises and speaks at the Field Services
  Division's NRA Range Conferences. The OGC's participation addresses legal matters of interest
  to NRA•affiliated ranges, including tax status, choice of entity, limiting liability, release and
  waivers. insurance, etc.

  Scholar Assistance: The OGC provides research assistance to people who study and publish
  works regarding the right to keep and bear arms.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21           Entered 04/03/21 02:48:03       Page 56 of
                                        151



  Trainer Certification: The OGC assists in the legal aspects of managing the certification of
  instructors, training counselors, and coaches throughout the country.

  Trusts and Estates: The OGC provides legal services to the Treasurer's Office and Office of
  Advancement regarding testamentary gifts, property transfers, and other legal matters concerning
  administration of trusts and estates. Toe OGC also provides assistance in resolving disputes
  concerning trusts and estates.


                                 OFFICE OF ADVANCEMENT

  The NRA Office of Advancement team continues to expand our donor network and secure
  support for the NRA's outreach efforts and programs.

  A total of $25,073,659 in cash and commitments was raised from October 1, 2020 through
  December 15, 2020. A total of$71,709,515 in cash and commitments was raised from January
  1, 2020 to December 15, 2020 through the Office of Advancement, including the Field
  Operations division.

  Since implementation (2005) the NRA Office of Advancement has raised $818,260,465 in new
  cash and commitments. Total Cash raised since 2005 is $349,039,580.

  Since implementation (1993 ), Field Operations has raised more than $960,000,000 in support of
  the shooting sports and qualified programs.

  FUNDRAISING FOR 2020 (October 1, 2020· December 15, 2020)

              Total Cash from Major Gifts                  $       7,830,468

              Total Cash from Friends ofNRA                $     10,900,000
              Pledge Balance                               s        328,900
              Planned Gifts Documented Balance             $      6,014,291
              In-Kind Gifts                                $               0

              Total                                        $    $25,073,659
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                Entered 04/03/21 02:48:03         Page 57 of
                                        151



  ADVANCEMENT NOTES

     •       NRA Heritage Society {Planned Giving)

                        • 2,997 active members, including 847 ambassador members
                        • From October 1, 2020 - December 15, 2020 total cash from planned gifts and
                          estate expectancies: $4,618,157
                        • Total cash income from planned gifts since inception (2006):
                          $135,231,743

         •    NRA Ring of Freedom

                        •   1,354 active members (corporate and individual members)
                        •   63 Golden Ring of Freedom members

         •    Corporate Partners Program

                        • October 1, 2020- December 15, 2020 cash and pledges: $1,417,419 from 16
                          corporate partners
                        • October 1, 2020-December 15, 2020 Round-Up and Add-A-Buck cash:
                          $41,712 from 5 participating partners

         NRA Bunters' Leadership Forum

                       • October 1, 2020 - December 15, 2020 cash and pledges: $29,000 from 3
                         Hunters' Leadership Forum Members
                       • A total of 252 donors have contributed over $11.25 million to support and
                         preserve hunting and conservation.

     •       NRA Women's Leadership Forum (WLF)

                       • October 1, 2020 - December 15, 2020 cash and pledges: $4,039,825 from WLF
                         Members
                       • WLF Members have given $11,029,838 in cash and commitments in 2020,
                         including $3,559,053 from planned gifts.
                       • Among the WLF members' contributions, $5,653,215 supported general
                         operating expenses, $1,250,425 supported NRA-JLA, and $103,250 supported
                         :PVF.
                       • 340 active members, including 24 members who serve on the Women' s
                         Leadership Forum Executive Committee
                       • The Women's Leadership Council recognizes women who have given $25,000 or
                         more cumulatively and has approximately 110 members.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                Entered 04/03/21 02:48:03          Page 58 of
                                        151



       •   Friends ofNRA

                      • October 1, 2020 - December 15, 2020 accrued: $10.9 million gross dollars; $3.9
                        million net dollars
                      • 2020 End ofyear projection: 78,000 attendees at 520 Friends ofNRA events
                      • Y1D Average money raised per event in 2020: $26,400

       •   Freedom Action Foundation (FAF)

                      • October 1, 2020 - December 15, 2020 FAF cash: $63,578
                      • Cash income to benefit FAF totals $12,128,530 from inception (2008) to date

       •   National Rifle Association Foundation (NRAF)
                     • Planned Giving - From October I, 2020 - December 15, 2020, a total of
                          $1,369,995 in planned giving cash was documented and received for the
                         Foundation. Total planned gifts for the Foundation now stand at $249,677,283.
                         Total cash received from estates to benefit The NRA FO'Uildation since 2006 is-
                          $55,201,335.

                      • Strategic Giving - From October l , 2020 - December 15, 2020,
                        Advancement Officers raised $263,425 in cash gifts to benefit The NRA
                        Foundation.

                                      BUDGET AND FINANCE

  The Treasurer and Finance Committee will be issuing a separate report.


                     STAFF RESPONSIBILITY AND PROGRESS REPORT

  Attached hereto is the Staff Responsibility and Progress Report, submitted three times annually to
  the Board of Directors by NRA staff. The purpose of this report is to inform the Board of action
  taken by NRA staff on directives of the Board.

                                                  Sincerely,




                                                  Wayne LaPierre
                                                  Executive Vice President

  Attachment
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21          Entered 04/03/21 02:48:03      Page 59 of
                                        151



                              Staff Responsibility and Progress Report
                                Submitted to the Board of Directors
                                          January 7, 2021
                                           Dallas, Texas

  Board of Directors, January 11, 2020

  ACTIONS:                                                  RESPONSES:

  l.     "MOVED, That the EVP request the                   1.     PENDING - Project under
        Competitive Shooting Division ask                         review
        the NRA Information Services
        Department ifit is currently possible                     [OPEN]
        to incorporate decimal scoring for
        records and classification in standing
        air rifle competitions. If not
        cuttently possible, request that
        programming be developed to
        accomplish this goal."

        COMPETITIVE SHOOTING

  2.    Resolution Establishing Special                     2.    The 1I 244 Waples Row
        Committee to SeU Property                                 l)roperty has been taken off
                                                                  the market and we are
        WHEREAS, The National Rifle                               actively marketing available
        Association ofAmerica believes that                       occupacy to lease.
        it is in its own best interest to sell the
        property at Waples Row, 11244                             (OPEN]
        Waples Mill Road, Fairfax, Virginia
        22030, tax map numbers 0464 01
        0033A and 0464 01 0033B;

        Now, therefore, be it

        RESOLVED,thattheBoardof
        Directors hereby authorizes the sale
        of the property at Waples Row,
        11244 Waples Mill Road, Fairfax,
        Virginia 22030, tax map numbers
        0464 01 0033A and 0464 01 0033B
        for a sales price to be determined;
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21     Entered 04/03/21 02:48:03   Page 60 of
                                        151



   ACTIONS:                                      RESPONSES:

  2. (continued)

         RESOLVED,thmtheBoardof
         Directors hereby establishes a
         Special Committee, consisting ofthe
         President, 1st Vice President, 2nd
         Vice President, Chainnan of the
         Finance Committee and Vice
         Chairman of the Finance Committee
         to determine and negotiate a sales
         price with potential buyers;

         RESOLVED, that the Board of
         Directors hereby authorizes the
         President, 1st Vice President, 2nd
         Vice President, Executive Vice
         President, Treasurer, Chairman of
         the Finance Committee and/or Vice
         Chairman ofthe Finance Committee
         to talce any action as they, with the
         advice of counsel, deem necessary or
         advisable effectuate such sale and to
         CMfY out the purpose or intent of
         these resolutions; and

        RESOLVED, that the Board of
        Directors hereby authorizes the
        President, 1st Vice President, 2nd
        Vice President, Executive Vice
        President, Treasurer, Chairman of
        the Finance Committee and/or Vice
        Chairman of the Finance
        Committee to execute any and all
        desired, required or necessmy
        documents on behalf of the Board
        and/or the Corporation to effectuate
        such sale.

        TREASURER
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21     Entered 04/03/21 02:48:03    Page 61 of
                                        151



  ACTIONS:                                      RESPONSES:


  3.    "WHEREAS, the State of California       3.    NRA-ILA is currently reviewing the
        has threatened shooting ranges with           issue and pursuing appropriate
        regulatory violations for replacing           options
        residual soil back on the range after
        reclamation of spent lead                     [OPEN]
        ammunition, because pursuant to
        federal pre-emption, it cannot and
        will not follow EPA' s Best
        Management Practices guidelines
        regarding the military munitions
        rule, which recommends that ranges
        place residual soils back onto the
        range where they were reclaimed;

         ' MOVED, that the Board of
         Directors directs the EVP to request
        that NRA-ILA research and
        investigate the possibility of
        codifying the military munitions rule
        under the Resource Conservation and
        Recovery Act for non-military
        shooting ranges and report their
        findings back to the Range
        Development Committee in a timely
        fashion. "'

        ILA


  4.    "WHEREAS, numerous States have          4.   NRA~ILA is currently reviewing the
        inappropriately interpreted and              issue and pursuing appropriate
        adopted HUD standards for lead               options
        dust, which were developed for lead
        paint dust in residential dwellings,         [OPEN]
        and applied this threshold level to
        commercial facilities, including
        shooting ranges;

        •MOVED, that the Board of
        Directors directs the EVP to request
        NRA-ILA to research and investigate
        the possibility of having the
        Department of Housing and Urban
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21        Entered 04/03/21 02:48:03      Page 62 of
                                        151



  ACTIONS:                                         RESPONSES:

  4. (continued)

         Development or the appropriate
         agency or departments to clarify that
         its standard for lead paint dust levels
         in residential dwellings does not and
         shall not be applied to commercial
         facilities such as shooting ranges.,,,

         ILA

  Board of Directors, January 51 2019

  ACTIONS:

  5.     "MOVED, That the Executive Vice           s.    Project is under review and pending.
         President be directed to request NRA
         Competitive Shooting Division in                [OPEN]
         concert with NRA Information
         Services release existing match day
         (scoring) software to match
         directors.:

         COMPETITNE SHOOTING

  6.     "MOVED, The following changes to          6.
         the Precision Pistol Rulebook as
         printed in the committee report:

         f. That first, second, and third place    f.    Evaluating costs and repercussions
            awards be sent with State and                associated with this task.
            Regional sponsor packets for
            Distinguished Revolver matches.,,            [OPEN]

         COMPETITIVE SHOOTING
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21      Entered 04/03/21 02:48:03       Page 63 of
                                        151



  ACTIONS:                                       RESPONSES:


  7.    "MOVED, On behalf of the Shotgun         7.    Redirected to Membership
        Committee that the Executive Vice
        President direct staff to conduct a            [OPEN]
        cross reference with NSSA and
        NSCA to see what percentage of
        members are common to NSSA,
        NSCA and NRA."

        MEMBERSHIP

  8.    "MOVED, On behalf of the                 8.
        Silhouette Committee:

        a. That the Executive Vice President          a. This has been reviewed. The
        direct staff to investigate sites and         Competitive Shooting Division will
        partners for a Super Week type                consider this concept for future
        National Championship for                     efforts at a time/s to be determined.
        Silhouette. Such investigation must
        take into account travel time and              [OPEN]
        allow for side matches. Once the
        investigation is complete, the results
        will be shared with the committee by
        either conference caU or face to face
        meeting.

  9.    "MOVED, The following changes to         9.
        Smallbore Rifle as printed in the
        committee report:

        c. To retire the Peters, Remington            c . PENDING· Working with
           W estem and Kemp trophies and              Museum to Transfer Trophies.
           donate them to the NRA                     {OPEN]
           Museum."

  COMPETITIVE SHOOTING
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                 Entered 04/03/21 02:48:03            Page 64 of
                                        151



                          NATIONAL RIFLE ASSOCIATION OF AMERICA
                                    REPORT OF THE SECRETARY
 Dallas, Texas                                                              January 7, 2021

 TO:     NRA BOARD OF DIRECTORS AND EXECUTIVE COUNCIL

 ELECTION OF DIRECTORS

        Preparations for the 2021 election of Directors are proceeding on schedule. Twenty-five
 nominees will be elected from a total of 30 eligible candidates.

         The ballot package will be in the June/July combined issue of the Official Journals. It will
 contain a ballot to elect Directors, along with candidates' biographical sketches.

         The following information may be of assistance in responding to member questions about the
 elections:

     1. Voting members will receive their 2021 ballot packages in the June/July combined American
        Rifleman., American Hunter, America 's P' Freedom and Shooting Blustrated magazines. Ballot
         printing will begin April 5, 2021 and binding will begin May 16, 2021. The ballot issues of the
         magazine should start to arrive in the hands of the voting members by June 7, 2021 and be
         completed by June 11, 2021.

     2. The last day a person can become a voting member for this election cycle is July 16, 2021 . Th.is
        is established by the NRA Bylaws as 50 days before the Annual Meeting of Members.

     3. Voting is by paper ballot only. The deadline for completed ballots to be received by our
        accounting firm is August 15, 2021. Since this is a Sunday, the last mail pickup will be the
        morning of Monday, August J6, 2021.

     4. The following voting members will receive their ballots by first class mail: 1) those who don' t
        normally receive a magazine; 2) those who live in Hawaii; 3) those who have an APO, FPO or
        U.S. possessions address; 4) those who receive their Official Journal electrooically; and 5) those
        who become voting members between the date the first addresses were selected at the end of
        December and the membership deadline, July 16, 2021.

     5. There wil1 be two first class mail drops, with the first occurring the week of June 14, 2021 and the
         second on July 18, 2021.

 MILEAGE REIMBURSEMENT RATE FOR 2021

        An updated Expense Report was put in your packets with the 2021 standard mileage
 reimbursement rate of 56 cents per mile.

 INTELLECTUAL PROPERTY

         In March of 1995 the Executive Vice President appointed an Intellectual Property Committee to
 review and make decisions on the use ofNRA's trademarks and copyrights. The committee consists of
 the NRA Secretary (who serves as Chairman), a representative from the Office of General Counsel, a
 representative from the Membership Division,. a representative from the Publications Division and the
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                  Entered 04/03/21 02:48:03           Page 65 of
                                        151



  Executive Director of General Operations. The Committee met four times in 2020 and considered four
  items of business. Many requests to use NRA intellectual property are routine matters that do not require
  action by the committee and are addressed directly by the Secretary. The Secretary also responds to
  violations of NRA 's intellectual property rights, and ensures proper maintenance of NRA 's registered
  trademarks.

  FEDERAL FIREARMS LICENSE

           The Secretary is the "responsible person" for the NRA's headquarters and Field Operations
  federal firearms licenses. The headquarters FFL is used in the transfer of firearms to the Museum
  inventory, firearms received by the Publications Division for test and evaluation and firearms sent to other
  NRA divisions for training or demonstration purposes. There were 737 transactions on the NRA's
  headquarters FFL in 2020. (NRA federal Firearms Licenses are used for Association business only - not
  for personal transactions.)

  ARCHIVES

          l.n accordance with Article V, Section 2(d) of the NRA Bylaws, the Secretary has charge of the
  archives of the Association. Because of space availability, the NRA did not have an official archives
  center until 1995. When NRA moved into the new headquarters building in Fairfax, Virginia, the
  Secretary established an official archives area. Since then a large number of items have been donated to
  the archives and an offsite storage facility is also being used.

          The archives room at NRA Headquarters is located in the basement of the building. The room is
  climate controlled to help preserve old documents, historical pictures, films and other items. There are
  over 100,000 items that are listed under 84 major categories.

          In 2020 the archives were regularly used in a number of research projects. These projects
  included researching previous board motions, resolutions, and bylaw amendments.

  BYLAW COMPLIANCE

          Article TV, Section 2 of the NRA Bylaws, as amended by vote of the members in 2017, requires
  the NRA Secretary to report business transactions in which NRA Board members, officers, or employees
  received payments in excess of $2,000 for goods and services provided to the NRA.

  No additional business with the Association has been reported since the October 24, 2020 Board Meeting.

  FUTURE MEETINGS OF THE BOARD OF DIRECTORS


         2021 Annual Meeting of Members (Houston, Texas) September 4
                (Spring Board Meeting September 6-7)
         2021 Spring Board Meeting (Location TBD) Dates TBD
                (Board Meeting Date TBD)
         2022 Annual Meeting (Louisville, Kentucky) May 19-24
                (Board Meeting May 23-24)
         2023 Annual Meeting (Indianapolis, Indiana) April 13-18
                (Board Meeting April 17-18)
         2024 Annual Meeting (Dallas, Texas) May 16-2 I
                (Board Meeting May 20-21)
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21               Entered 04/03/21 02:48:03   Page 66 of
                                        151



        2025 Annual Meeting (Atlanta, Georgia) April 24 - April 29
               (Board Meeting April 28-29)




                                               Secretary
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21           Entered 04/03/21 02:48:03       Page 67 of
                                        151
                       NATIONAL RIFLE ASSOCIATION OF AMERICA
                             REPORT OF THE TREASURER

  Dallas, Texas                                                                  January 7, 2021

  TO:      NRA BOARD OF DIRECTORS


         Operating results for the eleven months ended November 30, 2020 are attached. In a year
  of tremendous challenges (including COVID 19), tough decisions made in 2018, 2019 and
  continuing into 2020 enabled the association to significantly improve its financial performance
  and position. Membership has stayed strong and positive cash flows from operations has driven a
  pay down of debt ofmore than $45M (net of cash on hand).

         YTD Net lncome (before Investment gains) was $36.6M, which is favorable to budget by
  $26.5M. Revenues were $255.9M, while unfavorable to budget, reflect a decline vs prior year
  of only 7.5%.

           Expenses were $219.2M, which is favorable to budget by $62.3M. Structural
  adjustments were made across all areas, beginning in late March, which materially reduced
  spending levels in personnel and benefits, key annual events, programs and general operating
  activities.

           Net Investment gains were $4.7M, which is favorable to budget by $2.9M. NRA's long-
  term portfolio finished up 9 .40% through November 30, 2020. During the same period, the
  blended benchmark (60% equities, 20% fixed income, and 20% alternative investments) was up
  9.97%.

         More details on the results of operations and comments on other 2020 activities are
  included in the Finance Committee report, along with the 2021 budget detail.

        The accumulation of the final results for 2020 is in process and wiIJ be available in the
  2020 NRA Annual Report once our outside auditing firm has completed their work.



                                                  Respectfully submitted,



                                                 [;B?,a~
                                                 Treasurer
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                                                                  Entered 04/03/21 02:48:03                                                 Page 68 of
                                        151



 W•tianal ltlfle A&sodarlon of America
 STATI'.MENT Of REVENUE AND EXPENSES
                                                                                                                                                                       ®
 For Ekvon Mouths Ended N0Ya11ber ~O. 2020
 (/n tltt,,uor,4,/

                                                                                                               4~
                                                                                                                               ¾af
                                                                                                                                            ,       B         -I
                                                                                                                                                                    '60/
                                                                                                                                                                                           -c
                                                                                                                                                                                        Fa110111ble/
                                                                                                                                                                                                        11        D
                                                                                                                                                                                                                            I
                                                                            Page            line             YTD             l.rmual              Y1'D             An11•0I            (UnfaVOJ'lblc)          A/Im.Ill!
                                                                         l'lmnb..-        Nllmbcr           Actuill           Bud,,.,/           Bll~ I            Jlwhcj                Vmfancc              Budli'.£!:
         bvCPUe
            Mcmbcnhip                                                      A-2               ?2           $150-,103.7             79,6,S        5l7S,654,6            8P.6"            ($19,SS0.9)           $195,992.0
     2      Affinity-and OtJu,r l'N!gl!UIU                                 A,J               R7                6,949.4           66.0¾             8,121.3            71.2'¼              {l,177..9)           10,m.6
     3      lnslltuie fOr LegWsrive Attlon                                 A-4               94              32,298.1           /07.J'Jf          29,361.4            n,4"                 2,936,7             JO.m.o
     4      General Operations                                          A•S&A-6          IS7&172             26,178.2            70.m             35,009.0            91.m               (8,830.8)             37,261.4
     5      Adl'IIICCDIGDI &- Fidel Opc:rotions                            A-7           193 &: 203          ll,68S.7            88.4"            11,046.0            83.6"                  639.7             13,218,0
     6      J>ubllcations                                                 _A-9              244              18,716.3             79.-fH          21,~03Ji            89.6,£             (2,381.3)             23,561.0
     7      Public Reliltion,                                             A-11              ;!93                 163.8           38.JJf             430.0           JOO.OH                  {266,2)                430.0
     8      NRAI' Onllu & Genenl 'Elldowmonn.                                                                 3,1<n.o            31.9"            10,861.?           J>J./,!             (7,064.6)             11,920.0
     9         Tobll R"'1mut                                                                                2.5~;&92.3 11        79.mj{ 291.593.611                  9(}3'¼11           (35,701 ,l)j     I   323,016.0      I
         hpei,Hll

            M<mbenh:ii>
    10         M=nbc,;bip • 3rd Party/V&IW1lc                             A-l           $6& 70               70,213.8            77.8~           84,984.9            9,t.~               14,761. 1             90,208.2
    II         Mcn,benibfp • lnlc=rnol Opcrtlions                         A-2         U-61,6l,66,69           2.937.&            S3.9%             uou               88,]ji               1.866,8               5,450.1
    12             Subl:atal Mcmbmibip                                                                       13, 161 .5          76.J¾           89,789.S            9.J,m               16,628.0              95.6S8.3
    13     Affinity and O!IWProgrtna                                      A.J               88                  7ll.9            75:2%              904.&            9l~                     192.9                 946.4
           hntitulc tar Legi,,lpive Act(on
   14          TLA-Co!t9 n'limbuned from l\'.RA                           A-4               99                9,492.4            6U'H            13,928.0            f)(),/,t,            4,435.7             H,4Sl.7
   15          !LA• S ~ ProgRIJl, Costs                                   A-4               112              24)CU               n,n             30,678.7            90.JK                6.477.2             3),915.l
    16           Subtoral lnmilul• for t.egislolive Action                                                   33.,693.9           68.3H           44.606,7            90.<1'6             10,912.9             49,)66.8
   17      Gmer•l Operations                                          A-.5&A-6          ISlt& 173            19,176.7            jJ,j~           32,881.3            l)/,n<,             13,704.7             l5,87l. l
   18      A.ovmi:email & Field Ope;ratioai-(•J                           .A·1          194 &204              (i,329.1           ,tj,ffl         12,059.6            87,J¾                S,730,5              13,&06.8
   19      Publications                                                   A-9               245              24,910.8            7J.J;'¼         J0,109.&            89.J'X               .'i,JCJlt.9         33,124.8
   2D      Tffi!$lll'~                                                   A-10               274-             16,390.2            71.6U           20,ll9.5            89~                  3;749.J             ll,58Z,11

   21      Offioeof Pn,:iidcm                                            A-II               275                 187.2            5-0'1,             315.7            9}.~                   128.5                 3416
   22      ~rlve Vice PiesidCII!                                         ,A -ll             276               2,66S.1            37.l'X           6~39,9             ~-JS                 3,674.7               7,U7,4

   23      !10<:11rily                                                   A-11               277               3-.9ll ,3          49.IIH           7.449.7            9<1,8¼               3,SJB.S               7,855.0
   24      H\111\1111 R!050lll00•                                        A•ll               27B                 6145             76.7'5             7\J,8            BU¾                      99,3                101.!J
   2S      OQC_SIIC1<WY                                                  A-II               286              35,588.5           106.3¾           Jl,056.0            91.?U               (4,512.5)            33,487.8
   26      J'tibUc Relations                                             A-II               294               l,&94.0            3$.4%            S.118.S            9!.8H                3,224.5               S,343.0
   27         Total £1'J11Dff:f                                                                            219,23U    11         11.ffl J I    11 1>1.mll
                                                                                                                                                2s1.484.9                                62,2so.2 ) ] 306,976.1 I
   28 Openti.oe Jncomc (Los,) bit lnvaU11t,11b                                                               36,657.6 11       m.1ull ,o.1oa.1 1! 62.s~II                                26,548.91 1          16,099.9 j
   29      Capital ~                                                                                           (6"8C.8)          21. 79'         (2,881.S)           96.0U                2,199.7             (3,000.0)
   30      Principal Ac:(iviiy • TQlll !:.cntn                                                                 (3SO)             91.(M             (354.9)           91.0'¼                     o_o              (3&9.9)
   Sl      Prim:lpal • Lines of ~ I                                                                         (20,803.9)          17]..55'         (4,28S.6)           3J,7',t;           (16,523.2)           (11,995.0)
   32      R;tiremml Ph111 Funding                                                                           (4,327.8)           86.11%          {• ,668,3)          93.,f¼                 340.5              (5,000.0}
   33    OIIIEr Dolanc• Sheet Activjtv(Ol(d. doi>rochtionlbrirl doh1\                                         S,827.6             NIA                   0.0           NIA                 s.im.6                      0.0
   34 .Eitca• (Deficleney) ofRe.vam• ovtr lls,-.es                                                         S16,311.7      11 -4?7.8% 11         {Sl,011.7}    11     '8.6X       11    $18,393.4        I!   ($4,lSS.O) i
         lnVe!lmml Aclivlty
   35      EndowmCllt Activity                                                                                 (St6.7)          -2J.8%            l.791 ,7           89.6%               (2,308.3)              2,000.0
   36      DMdends, rnt8!0!! & Net Gain& (Losse3) from Portfolio                                              4,680.2.         204.8'¼            l ,131.8           75.m                2.946,4                2,285.0
   37         Total lnatmenl Activity                                                                         4,163.S           97.,K             l,525.4            82 ..m                 6]8.1               4,285.0
   38 Opmrlln_g lncom• (Loss)                                                                              szo.•1s.2 11           N/A      ll     1,443.8     fI      NIA        II     19,031.511                    o.o I

 .Quis af Acc.ayntlnw
   Th.,,. Mllt"1ltml ore prosuttedu1ing acorual hus,"• mdhod ofm,ording uomoction, for,....., •• wbcn earned ond ""Jl-""ie> when ln011m:d. A ~•Y od.un111110 af thucoN1l bll>i, Is th11 ii m.udi.., n:v•nues
   with ~loled c::q,m-. oo thM the complota imp,aot o( • bu,in.., traru6clion ;an be...,, willilo a siuglc rc,por\ina pcliod.
 'AdvancemwtOtld Field Openotiam rois• fun& for afiiliolod orgi,.ru..ilan, .. well, Sea pages A·1 andA·8 for <0mplet1 plc!IJre orlh~ op,ration, ofth~ diyji,ions.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21
                                      REPORT Entered 04/03/21 02:48:03                               Page 69 of
                                        151
                                                ofthe
                                         EXECUTIVE DIRECTOR
                                         GENERAL OPERATIONS
                                                      to the
                                         BOARD OF DIRECTORS
                                   NATIONAL RIFLE ASSOCIATION

  Madam President, Members of the Board and Executive Council:

  As 2020 ends, the NRA. and its members, continue to endure a pandemic, along with continued
  unprecedented attacks like never before. General Operations, during these difficult times, continues to offer
  modified programing to serve our members, where possible, depending on state regulations and executive
  orders. Through all ofthis, our programs remain strong thanks to the continued support of our membership
  and dedicated employees.

  The Shows & Exhibits Division worked closely with the NRA Secretary's office to make the Members'
  Meeting on October 24th, in Tucson, Arizona, a huge success. The -S&E division worked diligently on-site
  selection, ticketing, soliciting bids for audio/visual, production etc. as well COVID compliance
  requirements, with emphasis placed on maintaining costs. Through contract negotiations, minimizing staff
  levels, with staff taking on multiple assignments outside of their normal scope of duties, costs were
  maintained at a minimum. The S&E also worked with the NRA Secretary' s office to make 1he difficult
  decision to reschedule the 15oai NRA Annual Meetings in Houston, Texas. The change was necessary to
  ensure an unrestricted, full in-person event, with as many members being able to attend as possible. Given
  the current challenges for the event industry, the S&E division was able to negotiate more favorable terms
  to continue to minimize cost, but still maximize the experience for NRA Members. The meeting will now
  be held September 2-5, 2021.

 The Education & Training Division continues to reach thousands of individuals to teach and promote safe
 and responsible firearm use. The E&T division launched an updated Training Counselor Development
 workshop. The new format received positive reviews from all. In response to the COVID-19 closures and
 social distancing mandates, the Training Department created a distance learning option for instructors to
 meet the demand for training while abiding by their local COVID restrictions. Training conducted by the
 Instructor Cadre along with materials sales has increased approximately 70% over the last year, with a spike
 of 300% over the summer months. This trend is expected to oontinue as we move into 2021.

 The Community Engagement Division remains on the forefront of assisting affiliated clubs, associations,
 and Business Alliance partners. Total affiliated organization they assist are 12,861 with 4,893 being
 Business Alliance partners. Affinity partnerships for these programs, despite the COVID-19 pandemic,
 have generated revenue totaling nearly $3.4 million for 2020.

 The NRA Online Hunter Education program has had 51,418 individuals complete the course. The most
 recent release has been in the state of Tennessee. Development is being finali7.ed for North Carolina and
 Massachusetts. The division continues to work diligently with every state agency to ensure the course is
 available in all 50 states.

 The Law Enforcement division continues to process NRA Law Enforcement .Jnstructor Renewals. The
 division has currently waived the need for Continuing Education Hours to renew your Law Enforcement
 Firearm_ Instructor Certification through the end of 2021, as it is very difficult for our certified instructors
 to obtain the needed training for renewal due to schedules, and COVID•l9 restrictions.

 The LE division continues to administer Law Enforcement Officer Safety Act {LEOSA) required
 qualifications to 510 retired officers who reside in Virginia. Trus is a free service provided as a ''thank you"
 for their service. This is an outstanding program to show we stand behind our men and women in blue,
 even in retirement.

 The following reflects activities and highlights for various divisions within General Operations from
 October to December 2020.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                  Entered 04/03/21 02:48:03            Page 70 of
                                        151
  Shows & Exhibits Division

     •    2021 AM has been postponed to September 2-5 to avoid COVID restrictions that would
          negatively impact the 150m Anniversary celebration.

     •   Contracts have been renegotiated where possible and addendums added to the convention center,
         HQ hotels and over 30 other hotels in om block.

     •   77% of2021 GAOS exhibitors have committed to the 2022 show by rolling their booth space
         payments forward.


  Education & Training Division

     •   New Training Counselor Workshop Format: Spearheaded by the Training Counselor C-Oordinator,
         the new 5-day workshop includes the Policy and Procedure but puts a strong emphasis on teaching
         TC Candidates methods to coach their pupils. The Workshop is well received by both candidates
         and current TCs as auditors.

     •   Online Training: The online Basics of Pistol Shooting has seen a 100% increase in students,
         resulting in more than 14,000 users to date. The Online Shotgun Coach Course is completed and is
         standing by for launch once all ofE&T's IS processes are aligned.

     •   ID Cards: Training Department has been working to provide new ID cards that are available for a
         small fee for those fustructors that desire a nicer ID card instead of the printed paper ID cards.

     •   Distance Leaming: Training Department has created a modality of training that allows Instructors
         to conduct Training during Covid-19 social gathering restrictions. A survey of Instructors shows a
         favorable response to these new offerings.

     •   Recert Process for long expired Instructors: Due to the number ofInstructors wishing to come back
         to the NRA after letting their certifications lapse for more than two years, a recertification program
         was created. These Instructors receive all MOU's, Eblasts and the appropriate Training Materials
         to study from Instructors scoring above 90% on the recertification exam will have their ratings
         reinstated.

     •   Coach Program: The Coach Education Program (CEP) is in the process ofalignment with Instructor
         Program to take advantage of the automation of administration so that efforts will be on
         Training/Curriculum development in leu of manual registration and material ordering.

  Community Engagement Division

     •   1n 2020, RTBAV (Refuse to Be A Victim.) instructors ordered materials for 4,247 students for
         249 basic seminars being held across the country.

     •   RTBAV Regional Counselors held 55 Instructor Development Workshops. The online instructor
         course continues to have success certifying 376 new instructors in 2020. The online course is held
         twice a month with a designated Regional Counselor as the online professor. This brings the total
         number ofRTBAV Instructors to 6,196.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                  Entered 04/03/21 02:48:03            Page 71 of
                                        151
  Community Engagement Division - conti11ued

     •   We have also had law enforcement support in teaching the new Refuse to Be A Victim Collegiate
         Edition with multiple agencies using the course with local high school students and graduating
         seniors. Several new campuses had officers become certified instructors with the online course.
         We have had 34 active duty law enforcement officers and 14 campus personnel register to take
         the online instructor course.

     •   The "NRA Places to Shoot'' has 4,037 ranges entered in the database with permission from the
         range operators to use on the NRA website. This is a valuable resource for all NRA members
         looking for ranges in their area.

     •   Additionally, with funds made available thru the NRA Range Grant Endowment, NRA was able to
         provide 16 ranges with $71,069 for eligible range improvement projects. The NRA Range Grant
         program is available exclusively for 100% NRA Clubs, with priority given to Gold Medal Clubs,
         for projects related to range safety improvements. These funds are essential to assist our clubs with
         necessary safety improvements to ensure successful operation into the future.


  Law Enforcement Division

     •   We are processing NRA Law Enforcement Firearm Instructor Renewals. This generates revenue
         for the Law Enforcement Division in renewal fees, but also, for the Membership Division, as
         membership must be maintained during the certification period and also for Clubs &
         Associations, as licensed to be armed private security must be affiliated with the NRA as a
         requirement ofthe certification.

     •   We have waived the need for Continuing Education Hours to renew your Law Enforcement
         Firearm fustnictor Certification through the end of2021, as it is very difficult for our certified
         instructors to obtain the needed training for renewal.

     •   We have administered the Law Enforcement Officer Safety Act (LEOSA) required qualification
         to 510 retired officers who reside in Virginia. Th.is is a free service we provide as a ''Thank you"
         for your service. Most of the retired officers who attend are already members ofthe NRA, but
         those who are not, generally join. Current members tend to make donations. This is an
         outstanding program to show we stand behind our men and women in blue, even in retirement.

  Competitive Shooting Division

     •   Difficulties to hold events surrounding the restrictions due to COVID-19, state executive orders,
         etc. bas limited the ability for the division to successfully hold matches.

     •   The Division continues to sanction matches, posting the scores ofthe matches as well as
         responding to customer service inquires.

     •   The 2021 National Match Calendar for Camp Atterberry has been posted on the website. The
         continuation to ensure proper development ofthe NRA National Marksmanship Competition
         Center remains in progress.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21               Entered 04/03/21 02:48:03           Page 72 of
                                        151
  Administrative Services Division

     •   The UPS contract, negotiated earlier in 2020, continues to be successful with an anticipated
         savings of approximately $1.2mm over the course of 2020.

     •   Leases were obtained with tow (2) new tenants at the 11244 Waples Mill Road property
         increasing revenue by approximately $50,000.

     •   The NRA Range continues to be successful despite the ongoing COVID-19 state restrictions, and
         the national shortage of ammunition. The Range has reduced its hours of operation temporarily
         due to some temporary staffing issues..

     •   Management and Range Officers have been successful in operating the Range within the state
         restrictions. The Range has received many compliments from patrons of how well the operation is
         running, and all of the extra measures being taken, in addition to normal safety oversight, during
         the pandemic to keep our patrons safe while enjoying the Range.


  NRA Museum Division

     •   The NRA Fireanns Museum remains closed due to state restrictions as well as limited staffing to
         meet the cleaning needs ofthe COVID-19 state requirements. However, the NRA National
         Sporting Arms Museum at Bass Pro Shops in Springfield. MO averages approximately 2,750
         visitors a week.

     •   Thurston Exhibit Construction - The construction of new cases and facility improvements in the
         Civil War and Old West areas of the museum are complete and ready for the installation of new
         displays.

     •   During this reporting period, the Museum division presented traveling displays at one gun show
         locally.

     •   The NRA Museum continues to excel with social media. The museums YouTube Channel saw
         142,635 new visitors in the 4t.b quarter of2020 with a cumulative total of 11,625,312 views. The
         number ofFacebook likes continues to stand at 461 ,834.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21              Entered 04/03/21 02:48:03         Page 73 of
                                        151



                                      Shows & Exhibits Division
                                          4 th Quarter 2020

                                             Submitted by:
                                   Jeffrey Poole, Managing Director

  Great American Outdoor Show
         COVID-related governmental restrictions in Pennsylvania forced the cancellation of the
  2021 Great American Outdoor Show originally scheduled for February 6-14, 2021. Given the
  size and unique composition of the event, relocation or rescheduling was not a viable option as it
  would not have made fiscal sense. The next Great American Outdoor Show is scheduled for
  February 5-13, 2022.
           Retaining exhibitors after cancelling an annual event is always a concern, particularly
  large scale events like GAOS with over 1,100 exhibitors. However, our policy provided the
  option for a full refund or the ability to transfer booth space fees to the 2022 show in the event of
  a cancellation. Communications regarding this policy were clear and frequent, and exhibitors
  clearly appreciated the flexibility and transparency as 77% of all exhibitors opted to roll their
  monies paid to date to the 2022 event. This ratio greatly exceeded expectations and allowed for
  the retention of over $1.1 million in booth space revenue. In comparison, some other cancelled
  1 st quarter events, such as SHOT Show, adopted a forced 50/50 policy that mandated a 50%
  refund and 50% of exhibitor booth space payments to be applied toward 2022 SHOT Show.
         Additionally, advertising and sponsorship opportunities will be made available
  throughout 2021 to those exhibitors who elected to stay in the 2022 show via a series of digital
  communications to past show attendees. This will also serve to help keep past attendees engaged
  throughout the year to help build anticipation for the 2022 Great American Outdoor Show.
  Annual Meetings & Exhibits
         The 150th NRA Annual Meetings & Exhibits in Houston, TX scheduled for May 13-16,
  2021was recently rescheduled for September 2-5, 2021 and will remain in Houston at the George
  R. Brown Convention Center. Rescheduling was a difficult decision given that historically the
  event has taken place in the April/May timeframe every year. However, the change was
  necessary to ensure an unrestricted, full in-person event, with as many members attending as
  possible for NRA's 150th Anniversary.
         Addendwns have been added to the existing agreements with the convention center, two
  HQ hotels and over thirty additional hotels with rooms blocked for the event Given the current
  challenges for the event industry, more favorable terms were negotiated where possible.
         Last held in Houston in 2013, the George R. Brown Convention Center and surrounding
 space has undergone significant improvements both inside and out that bode well for the
 increased size and scope of the Annual Meeting. In addition to the existing 1,200 room Hilton
 Americas, a 1,000 room Marriot Marquis has been added to the "campus" since we were there
 last. Both of these hotels are connected by skywalk: to the Convention Center. Also added was
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 74 of
                                        151



  the A venida Plaza, an outdoor pedestrian-friendly event and leisure space featuring restaurants,
  and retail space.
          To help celebrate NRA 's 150th Anniversary, plans this year include additional
  entertainment options to create a festive atmosphere in Discovery Green Park, which is part of
  the convention center campus. Located directly in front of the convention center and between the
  Hilton and Marriott Marquis, Discovery Green is a 12 acre park that will feature live
  entertainment and interactive events throughout the weekend.
          Planning is welJ underway as we closely monitor changes and anticipated improvements
  regarding COVID related restrictions to take advantage of all opportunities to produce the event
  in a traditional format worthy of celebrating NRA's 150th Anniversary.
  Members Meeting
         With the cancellation of the Members' Meetings in April as part of the Annual Meetings,
 the Shows & Exhibits staff assisted the Secretary's Office in the production of the rescheduled
 Members' Meeting on October 24 in Tucson, Arizona. This included assistance with site
 selection, ticketing, soliciting bids from audio/visual companies, room layouts, directional
 sigriage, graphics, on-site operations, and meeting COVID requirements.
        By all accounts the event was conducted safely and successfully, while emphasis was
 placed on helping to maintain costs through contract negotiations with trusted vendors and
 minimizing staff levels with the on-site stafftaking on several assignments outside of their
 normal scope of duties typically performed in a traditional Members' Meeting format.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                     Entered 04/03/21 02:48:03                   Page 75 of
                                        151




  NRAstore
  Year-to-date, shipped sales trail those of 2019 by only 1.7%. Interestingly, demand is up 7.4%.
  Backorders currently top $200K. The high level of backorders is a result of limitations placed on
  purchasing/replenishment, as well as unavoidable seasonal shipping delays due to COVID
  absences and untimely weather events.


                                               NR.Astore Sctles Jan1i,1n; 1 - December 15

                                                                                                % bange
                                                                     2020           2019
                                                                                               (from 2019)

                    Received Order15 - Phone [demand]               14,511         12,734        +14.0%

                     Received Orders - Mall [demand)                 3,669         4,275         -1 4.0%

                     Received Orders - Web [demand]                 -52,642        49,035        +7.4%

                     Total Received Orders (demand]                 70,822         66,044        +7.2%

                    Total Received Revenue [demand]               $6,021,320     $5,608,125      -+7.4%

                Avera_ge Sala (calculated on received orders
                                                                    $85.02         $84.91        -+.13%
                                 [demand})

               Total Catalog Revenue (actual shipped sale.s)      $5,487,616    $5,581.992       -1.7%

                  Contributions (Roundup, Add-A-Buck)              $50,215        $45,170       +11 .2%

                         NRAstore at the Museum                    $37,955       $134,106        -71 .7%

             Other Revenue (cover sponsorship, order Inserts,
                                                                   $74,107        $90,957        -18.5%
                            catalog blow-ins)

                           Events Sates (GAOS)                     $45,423       $463,074        -90.2%

                          NRAstore YTD TOT AL                     11,&58 365     12,05:J.597




  Ongoing Programs

     •   NRAstore actively solicits and recruits new NRA members through e-mail promotions and
         applications inserted in outgoing packages. From January I through December 15, 2020,
         NRAstore efforts have generated 3,866 memberships/renewals for a total of$228,898.
     •   Year-to-date, NRAstore has generated $50,215 in donations through its "Add-A-Buck" and
         "Round-Up" programs (an 11.2% increase over the same period in 2019). These programs
         allow customers to donate in increments of $1.00, $2.00, $3.00, $5.00 or $10.00 at
         checkout (Add-A-Buck), or they may choose to "Round-Up" their orders to the next whole
         dollar. NRAstore.com also offers customers the ability to create custom donations of their
         own choosing.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21              Entered 04/03/21 02:48:03         Page 76 of
                                        151




                             EDUCATION AND TRAJNING DMSION
                                      4 th Quarter 2020

                                             Prepared by:
                                      John Howard, Deputy Director

  Education & Training Overview

  The Education & Training Division works diligently to "Develop and Maintain the National
  Standard for Safe and Effective Firearms Education and Training as well as Serve and Support
  our Instructors who deliver it. "

  The division continues to reach thousands of individuals throughout the year with the safe and
  responsible use of firearms. We continue to strive to serve our members, trainers, and the public
  with the highest level of quality support.

  At this time, there are roughly 110,000 NRA Certified Trainers and RSO's with over 118,000
  Trainers and Coaches registered on our website, www.nrainstructors.org. There are approximately
  2,200 Training Counselors (fC).

  Education & Training launched an updated TC Development workshop. The new format received
  positive reviews, both from TC caodidates and current TC's invited to audit the course.
  Modernization of all lesson plans is ongoing. Currently four disciplines are available online at
  www.nrainstructors.org. 1n response to the COVID-19 closures and social distancing mandates,
  the Training Department created a distance learning option for instructors to meet the demand for
  training, while abiding by their local social distancing mandates. In addition, the NRA Program
  Materials Center converted to a new platform during the summer. Education & Training staff has
  provided an enormous amount oftime and energy assisting with the myriad of issues related to the
  release of the new platform. Training conducted by the Instructor Cadre along with material sales
  increased approximately 70% over last year, with a spike of 300% over the summer months. This
  trend is expected to continue as we move into 2021.

  In 2021 our Trainers will have the option to purchase hard-copy instructor cards with all their
  ratings shown on the card. We made the full-switch to electronic certificates in mid-January. This
  allows us to get better metrics on courses taught and students reached. We increased our
  credentialing fees January 2020. The increased fees will help as we continue to develop and
  administer the NRA's Training programs and serve/support those who teach them. It is important
  to note that not all growth detailed in 2020 is organic, as the Education & Training js capitalizing
  on current conditions by providing exceptiona1 trainer support and materials. This will set the stage
  for continued growth in the coming years.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 77 of
                                        151



  Training Department

  Basic Firearm Education Program and Fulfillment
  NRA Training Department responds to thousands of NRA members and non-members who
  request information on NRA student courses and instructor training by email and phone. Due to
  the onset of the COVID-19 Pandemic all available staff are primarily responding to customer
  service requests, while working on program improvement secondarily as time permits. The all
  bands on deck approach to customer service during this surge in training nationally is a necessity,
  but comes at the cost of program development. The Training Department is observing that many
  Instructors that have not been involved in NRA Programs for years have a renewed desire to
  reactivate their credentials to start teaching again. In response to this demand, the Training
  Department has created a recertification process to bring these instructors back into the NRA fold.
  Currently, the administration of this process is performed manually. Automation of this process
  on www.nrainstructors.org will occur in 2021 .

  NRA-Certified Instructor Statistics
  NRA Certified Instructors teach basic firearms safety and shooting courses to the public. There are
  currently *113,318 NRA Certified Instructors and Range Safety Officers. In 2020, 66% (45,000)
  more NRA courses were administered compared to 2019 (27,000). Additionally, there were 73%
  (219,926) more students taught in 2020 when compared to 2019 (127,010) *Note- This number
  can swing quickly month to month due to delayed renewals. The rating of "coach " is not
  incorporated in this number.

 NRAinstmctors.or2
 There are currently 118,996 Trainers registered on the site, to include coaches. This represents a
 1% increase since the last report and has not changed more than +/- 5% in the last 4 reports. This
 suggests that a market equilibrium exists. Given the difficulties that many Trainers have had to
 endure to conduct instruction this year, stability in the Instructor Cadre is more than acceptable.
 Monthly analytics show that between 75,000 and 100,000 new users visit www.nrainstructors.org
 each month.

 NRA Trainer Discount Program
 The firearms industry recognizes the impact NRA Instructors have on the shooting
 public. Companies that wish to provide their support to NRA Training Programs are administered
 by the Office of Advancement, Corporate Partnerships.

 NRA Training Materials Sales
 The materials sold for conducting NRA training (although not in the Training Department budget)
 is an important metric for tracking and reporting purposes. In 2020, Training Department materials
 gross sales, excluding in-house orders, surpassed 2019 by over 69%. 2020 (2.7M) 2019 (1.6M).
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 78 of
                                        151



  Trainer Support

  NRA Training Counselors
  Training Counselors train NRA Certified Instructors on how to teach basic shooting skills.
  Individuals who wish to become Training Counselors attended a Four-day intensive workshop that
  includes shooting qualifications and classroom exercises before certification is awarded. In 2020
  NRA Training added an additional day to the workshop which quadrupled the amount of shooting
  and increased classroom exercises. The goal of this change is to make the NRA TCDW a premier
  Instructor Development Workshop. There are currently 2,183 Training Counselors.

  In 2020, the Training Department conducted TC Workshops in Florida, at HQ in Fairfax and the
  Izaak Walton League in Stafford, VA. The 5-day format has been very successful to date. It was
  necessary to put TCDWs on temporary hold in response to COVID-19 Pandemic safety
  precautions. The workshops started back up in October at a facility with an outdoor range.
  Registration is open for three Workshops in the first quarter of 2021 , which are being offered to a
  waitlist of l 30 Individuals. Due to the 12· 16 person class size, participation in NRA TCDWs in
  2021 is projected to be very good.

  Part one of our discipline specific instructor courses, Basic Instructor Training (BIT),
  administrated by Training Counselors, is in modernization. A new NRA Trainer's Guide is in
  writing and the accompanying PowerPoint presentation is developing on a parallel track. The
  Training Department had previously projected releasing the new BIT on or about the first week of
  January 2021. After surveying the Training Counselor Cadre via Survey Monkey, BIT will include
  even more instruction, with a new projected launch ofJuly 1, 2021.

 NRA Instructor/Basic Firearm Training Program

 Distance Leaming
 In response the COVID-19 Pandemic safety precautions and the enormous surge in new firearm
 ownership, the Training Department created Distance Learning Courses in March. This enabled
 instructors to continue to offer training in an effort to reach new gun owners. Restrictions
 nationally have prevented traditional classroom teaching. The Distance Leaming offerings differ
 from their parent courses in two ways. First, the classroom portion is lead over a two--way
 electronic delivery system such as Zoom, Facebook live, WebEx, etc. This is essential so that the
 student participation in the classroom portion of the course is present. Pre-recorded teaching is
 strictly forbidden. Secondly, all firearm handling is performed at a range with the student, and in
 accordance with their State's COVID-19 guidelines. Also, included in the Distance Leaming
 Offerings is The New Shooter Seminar. This is a non- shooting, 45-minute safety seminar. In July,
 2020 the Training Department Surveyed all NRA Instructors on the utility of Distance Learning.
 The most significant finding was that 77% of respondents wanted the Gun Safety Seminar to
 remain in the Distance Leaming format indefinitely.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 79 of
                                        151


  E-Leaming and Blended Training
  14,182 students have enrolled in the online Basics ofPistol Shooting course since January I, 2020.
  This is increase of approximately 10,000 users over the same period in 2019.

  Nearly 8,000 individuals have registered and participated in our e-learning NRA Range Safety
  Officer course since its release in August 2013. This year to date, 776 individuals have enrolled in
  the course.

  Lesson Plans
  In 2020, E&T has modernized the Lesson Plans of the Top three (3) courses, Basics of Pistol
  Shooting, Basics of Shotgun Shooting and Basics ofRifle shooting. All Lesson Plans are based on
  the NRA CCW model. Direct feedback from the field has been stellar as the instructors began
  looking at the new design and using it in their courses in the days that followed the release.
  Instructors noted that ifall the future curriculum follows the same design, they would look foiward
  to teaching more courses. A survey of the Training Cadre confirmed the individual feedback
  showing that the clear majority of Trainers preferred the new Lesson plans. Personal Protection in
  the Home and Range Safety Officer Lesson Plans are currently in production.

  Publication Development
  The Training Department worked with NRA Publications in the development of a rcplacancnt
  handbook- NRA Guide: Basics ofPistol Shooting Handbook. The focus is to set a baseline which
  will align all of the Training Courses that utilize the Student Handbooks. New book BOPS
  Handbook sales increased from 150 to almost 500 units per day. The Basics of Rifle Shooting
  Handbook is to be next in production.

  Regional Network
  The Training Department held quarterly online web conferences with the Regional Training
  Counselors. These quarterly calls are meant to augment the daily communication that occurs with
  the Regional Training Cowiselors. As noted in the last report, NRA Training Department has
  developed a communication and training network throughout the United States that mirrors the
  Friends ofthe NRA Network. The country is divided into eight regions with one Regional Training
  Counselor per region. Each state has a number of State Training Counselors that receive
  information from the Regional Training Counselor. Training is provided (remotely) to the
  Regional Training Counselors, who disseminate the information to the State Representatives. This
  program is completely volunteer based. The flow of information to and from Trainers in the field
  wil1improve communication between instructors and NRA Headquarters which will result in more
  consistent administration of NRA courses.

 NRA Trainer's Forum
  The Office ofGeneral Counsel (OGC) has conducted a review ofthe Training Department's Policy
  and Procedure for the NRA Trainers Forum. Modifications based OGC' s recommendations are
  incorporated in the ongoing development of the Trainer's Forum. The forum is currently preparing
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 80 of
                                        151



  to move from staging to a roll-out to the State and Regional Training Counselor program for Beta
  testing. Once familiar with the use and we are comfortable with our ability to moderate it, the
  Training Department intends to launch it to all NRA Trainers nationwide. The primary goal of the
  forum is to improve communication amongst NRA Trainers and between those NRA Trainers and
  the NRA E&T Division. The Trainers only forum will not only improve our ability to
  communicate, it will diminish the effectiveness of the various 'un-official' NRA training forums.
  It is timely and necessary. Our goal is to have completed Beta Testing and announce the Forum at
  NRA Annual Meeting 2021.

  NRA Coach Education Program (CEP}

  The CEP is committed to developing and educating shooting sports coaches who will be effective
  teachers and role models for athletes in pursuit of sustained competitive excellence in the rifle,
  pistol, and shotgun disciplines. The nation' s major competitive shooting organizations recognize
  the Coach Education Program as the competitive shooting coach training and credentialing body.

  Coach Schools
  A temporary hold on Coach Schools was put in place in June, 2020 while a restructuring of the
  CBP occurred. Restructuring of the CEP to align it with the Instructor Program was already
  planned in 2019 but became a necessity in 2020 due to the automation already in place for the
  Instructor Program. Coach materials were moved into the Program Materials Center and a
  temporary onJine registration process was created to allow time for a complete buildout ofthe new
  IT structure. Coach Schools resumed in October. Currently, Training Department is working with
  the lnfonnation Services Division to test the new permanent structure. Planned rollout of the new
  CEP is scheduled for Q 1, 2021.

  National Coach Development Staff (NCDS): NRA Education and Training also trains and
  manages the National Coach Development Staff (NCDS) which is a select, specially trained
  volwiteer staffof 136 rifle, pistol, and shotgun coaches from all over the United States who provide
  training at coach schools, clinics, and camps. The Training Department will be holding webinars
  with NCDS in Ql, 2021 displaying the revamped Coach Education Program. NCDS has been
  receiving regular updates on the new process throughout 2020.

  Online Coach School
  The Training Department and AllenComm have successfully developed an Online Shotgun Coach
  Program.. The course is interactive with videos, animation, and graphics as well as detailed
  descriptions on how to coach an athlete.

 The launch of the Online Shotgun Coach School is currently on hold. The Training Department
 was in the process of making final edits prior to launching the course when COVID-19 disrupted
 operations. Once the new CEP process is completely operational, work on this project will resume.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03         Page 81 of
                                        151


  Youth Training

  The Youth Training section of the NRA Training Department oversees five (5) major programs
  designed to introduce young people to shooting and provides opportunities for them to stay
  involved in the shooting sports. The five programs are: (1) National Youth Shooting Sports
  Cooperative Program, (2) NRA's Home Air Gun Program, (3) NRA Outstanding Achievement
  Youth Award Program, (4) NRA Marksmanship Qualification Program, (5) NRA National Youth
  Shooting Sports Ambassador Program.

  The Training Department has been able to continue support for activities that were in place in 2019
  but as of this writing, most of the programs are suspended due to the COVID-19 pandemic. The
  Marksmanship Qualification Program is still very active and Education & Training will retain most
  of the 2020 Ambassadors through 2021 since they wete not able to perform their duties in 2020.
  Additionally, Education and Training will continue to support the National Youth Shooting Sports
  Co-op as funding allows.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 82 of
                                        151



                            COMMUNITY ENGAGEMENT DIVISION
                                      4th Quarter - 2020
                                          Prepared by:
                               Elizabeth Bush, Managing Director

  The NRA Community Engagement Division provides NRA members, youth, and others of all
  ages, with educational programming and resources. Programs such as Clubs and Associations,
  Eddie Eagle GunSafe®, Refuse To Be A Victim®, Adaptive Shooting, Women's Wilderness
  Escape, Youth Hunter Education Challenge, Hunters for the Hungry, Online Hunter Education
  and the Range Technical Team, showcase the invaluable outreach efforts that NRA General
  Operations provides to communities across the country. These programs offer and support a wide
  array of interests in the shooting sports and other educational opportunities with a local, state,
  and national reach.

  ADAPTIVE SHOOTING DEPARTMENT:

  The Adaptive Shooting Program continues to offer training, guidance and resources for NRA
  members, instructors and the general community. No new projects have been launched since the
  last report but e-mails and phone calls continue to come in from Certified Instructors and
  Training Counselors seeking assistance with training students with disabilities.
  Three Temporary Waivers for participation in NRA Competitions were completed for review at
  the NRA Protest Committee meeting in January 2022.


  CLUBS & ASSOCIATIONS DEPARTMENT:

  Through our affiliated clubs, associations, and Business Alliance enrollees, this grassroots network
  keeps the NRA in the forefront ofcommunity action to benefit the American public. Total affiliated
  organizations are 12,861 with 4,893 being Business Alliance. Affinity partnerships for these
  programs have generated revenue for NRA totaling nearly $3.4 million for 2020.

  The Clubs & Associations department processes affiliation applications, advises NRA members
  of clubs located in their areas, and provides support to these organizations as requested. Benefits
  of NRA Club Affiliation include: discounts on Range Technical Team services and conferences;
  advertising clubs and ranges through Find NRA Near You; access to club insurance offered by
  Lockton Outdoor Affinity, and many other discounts on products and services. Additional benefits
  are available to Law Enforcement Clubs. Affiliated clubs are also eligible for NRA Ch1b Awards
  and Range Grants, opportunities to earn additional income through the NRA Recruiter program,
  and receive a digital copy of NRA Club Connection Magazine on a quarterly basis to stay up-to-
  date with the latest NRA programs and services available to our affiliates.

  Business Alliance:

  The NRA Business Alliance is an affiliate network of businesses that support the NRA. Enrollees
  in the Business Alliance program receive benefits and promotions of their services and products
  through the Business Alliance Online Directory. Other benefits of NRA Business Alliance
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21              Entered 04/03/21 02:48:03         Page 83 of
                                        151



  Affiliation include: monthly NRA magazine of their choice; access to business insurance offered
  by Lock.ton Outdoor Affinity, credit card processing discounts provided by Clearen.t; and access
  to FFLBizHub, a trusted platform offered by Orchid Advisors that facilitates entry, licensing and
  ebound book services. Additional benefits include an affinity partnership for fireanns software
  from the Gearfire including Gearfire website services and AXIS~ providing firearm industry
  retailers with access to the industry's best in class in-store Point of Sale (POS) and online
  eCommerce platform, Gearfire Marketing and RetailBI for customer sales analytics.

  State Associations:

  State Associations serve a critical role as the state-level delivery system for NRA programs and
  legislative information. The NRA depends on State Associations to promote firearms and the
  Second Amendment within their states and motivate NRA-affiliated clubs and grassroots
  volunteers to activate their programs in their local communities. Benefits to these organizations
  for taking on this essential role include access to communication via email/mail to NRA members
  to promote events and membership within their organizations, special grant programs, and access
  to all other NRA Club benefits. At the time ofthls report, 49 of the 51 State Associations sent in
  their required report that includes essential details on their organization participation in NRA
  programs and legislative matters at the state level.

  Coordination with the NRA Clubs & Associations is the primary method of attaining successful
  results by NRA State Associations. NRA is able to help these organizations with modernization
  of their websites, social media, member outreach, and coordination with NRA-ILA.

  Brownells/NRA Day Program:

  Brownells/NRA Day events provide adults, you~ families, hunters, sportsmen, competitors -
  literally everyone - the opportunity to come together under a formal program to learn,
  experience, share, and grow in appreciation of the shooting sports. The event themes provide
  exposure to the many different activities available in shooting sports and offer participants the
  opportunity to learn in a safe, controlled environment. Even with the COVID-19 pandemic in
  2020, there were 47 events conducted throughout the year.

 COMMUNITY OUTREACH DEPARTMENT:

  Eddie Eagle GunSafe® Program Overview (*Statistics accurate as of1211020):
        Materials                                Number of Children Reached
        Level I: Pre-K -Kindergarten                           11,l 09
        Level 2: 1st - 2nd grades                              9,837
                  rd    th
        Level 3: 3 - 4 grades                                  10~727
        All Age Activity Books                                 1,062
        Total Number of Children Reached in 2020               32,735
        Total Since Inception                                  32,371,095

         Eddie Eagle.com Online Treehouse website users in 2020         8,142
         Eddie Eagle Explore Website visitors in 2020                   31,252
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 84 of
                                        151


  Community Engagement staff have sought grant funding from The NRA Foundation (Friends of
  NRA) in every state. These grants make it possible for law enforcement agencies and educators
  to purchase the materials they need to spread Eddie Eagle's important safety message. Also
  during this reporting period, Friends ofNRA through the NRA Foundation have awarded
  approved agencies the funds to purchase fourteen Eddie Eagle costumes. These costumes were
  shipped to Kentucky {X2), Tennessee (X4), Indiana, New Jersey (X2), California, New York,
  North Carolina, Florida and Ohio with each representing a $2,800 investment to increase the
  safety of children in these communities.

  Refuse To Be A Victim:

  At year end for 2020, RTBAV (Refuse To Be A Victim) instructors ordered materials for 4,247
  students with 249 basic seminars being held across the country. The program has now reached at
  least 168,000 people since the program started.

  RTBAV Regional Counselors held 55 Instructor Development Workshops. The online instructor
  course continues to have success certifying 376 new instructors in 2020. The online course is
  held twice a month with a designated Regional Counselor as the online professor. This brings the
  total number of RTBAV Instructors to 6,196.

  We have also had law enforcement support in teaching the new Refuse To Be A Victim
  Collegiate Edition with multiple agencies using the course with local high school students and
  graduating seniors. Several new campuses had officers become certified instructors with the
  online course. We have had 34 active duty law enforcement officers and 14 campus personnel
  register to take the online instructor course. Collegiate seminars have also been held this year
  now reaching over 5,000 students since the program began.


  HUNTER SERVICES DEPARTMENT:

  Hunter Education Program:

  NRA Online Hunter Education has fundamentally changed the way hunter education is
  conducted. Titis program is available online at www.NRAHE.org. Since inception, a total of
  51,418 have completed the course. Connecticut, Florida, New Mexico, Ok1ahoma, Oregon, Texas,
  Kentucky and West Virginia have adopted the course, with our most recent release in the state of
  Tennessee. Additional development is being worked on for North Carolina, and Massachusetts.
  Hunter Services staffis attempting to work with every state agency to ensure the course is available
  in all 50 states.

  Women's Wilderness Escape:

 NRA continues to offer the Women's Wilderness Escape (WWE) program that provides women
 18 and older with a getaway opportunity to obtain firearm education with exposure to a wide
 variety of shooting sports activities and an array of outdoor related activities. Due to the COVID-
 19 pandemic, the offerings for WWE in Seven Springs, PA and at the NRA Whittington Center
 were cancelled. We were however able to offer the WWE Sig Sauer Academy, NH Event, August
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 85 of
                                        151


  15-16, 2020, which was a success for ladies who were able to attend. We plan to resume this
  program at the NRA Whittington Center the week of July 18-24, 2021.

  Youth Hunter Education Challenge:

  NRA' s Youth Hunter Education Challenge (YHEC) is a program focused on outdoor skills and
  safety training for young hunters. Tiris program is conducted under simulated hunting conditions
  to provide the best practical environment for reinforcing and testing a young hunter's skills.
  YHEC is stronger than ever, having adapted throughout the years, reaching over 8,000 youth
  hunters on an average year. The events are designed to simulate real life hunting situations
  encountered in the field The participants will engage in some or all of these activities at the
  various events; .22 rifle marksmanship, clay shooting with a shotgun, muzzleloader shooting, 3D
  archery shooting, Wildlife ID, a hunter safety trail exercise, orienteering and an online bunter
  responsibility exam.

  Despite the COVID-19 pandemic, there were 3 State, 5 Local and 1 Regional event that took
  place in 2020. The Central Regional Youth Hunter Education Challenge was held at the Benton
  County Quail Facility in Bentonville, Arkansas on July 22-25, 2020 with over 250 Competitors,
  Coaches, Volunteers and Family members attended this premier hunter-education/competition
  that allows youth to test their shooting ability and their knowledge of the outdoors. Planning for
  2021 events are already underway with 1 local, 4 state, and 1 Regional event already on the
  books.

  Young hunters are able to network at YHEC events with other youth with similar interests. NRA
  serves an integral role thru this program in educating and supporting the hunting, shooting and
  outdoor leaders of tomorrow. This popular and growing program has seen over 1.3 million of
  America' s youth complete a course since inception.

  Hunten for the Hungrv:

  The Hunters for the Hungry initiative has been supported by the NRA for over 25 years. NRA
  Hunter Services works closely with state organizers to put interested individuals in touch with
  the programs in their area. The NRA maintains the only national database ofprocessors for
  hunters to easily find a donation center to drop off their game. Since the program's inception,
  Hunters for the Hungry has brought hundreds of thousands ofpounds ofvenison to homeless
  shelters, soup kitchens and food banks across the United States.

  Currently, the NRA Hunters for the Hungry Clearinghouse (HFH) has 51 member affiliates.
  NRA' s efforts have fostered public awareness of Hunters for the Hungry through education,
  fundraising and publicity including coverage in NRA media, press releases, posts to the NRA
  Community Engagement Facebook page, as well as most recently a webinar offered to all State
  Fish & Wildlife Agency Directors and NRA Hunt Clubs to provide useful information on how to
  start a Hunters for the HllDgry Program in their area.

  RANGE SERVICES DEPARTMENT:

  The Range Technical Team is a nationwide network of volunteers trained in the field of shooting
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 86 of
                                        151


  range development, design, and operations. Services provided by Range Technical Team Advisors
  (RITA) include range-planning assistance, range use, procedural evaluations, and range safety
  and design evaluations. Due to the COVID-19 pandemic, the program is was put on hold and will
  resume in 2021 with limited availability due to state/local travel restrictions and staffing
  limitations. 58 new range cases were requested in 2020, 38 were closed with Range Source Book
  and Online Conference recommendations, 8 have been provided contracts for consideration and
  an additional 12 are on hold for processing due to lack of RITAs in their state or availability due
  to COVID-19 concerns.

  NRA Range Services also had to cancel the two scheduled Range Development and Operations
  Conferences in 2020, which we plan to resume in Fall 2021. The Online Range Development and
  Operations Conference registered 112 participants in 2020.

  The "NRA Place_s to Shoot" has 4,037 ranges entered in the database with permission from the
  range operators to use on the NRA website. This is a valuable resource for all NRA members
  looking for ranges in their area.

  Additionally, with funds made available thru the NRA Range Grant Endowment, NRA was able
  to provide 16 ranges with $71,069 for eligible range improvement projects. The NRA Range Grant
  program is available exclusively for 100% NRA Clubs, with priority given to Gold Medal Clubs,
  for projects related to range safety improvements. These funds are essential to assist our clubs
  with necessary safety improvements to ensure successful operation into the future.


  Additional Outreach Effom:

  NRA Community Engagement launched a closed Facebook Group in December 2019 that gives
  a voice to the average NRA Member, with a primary target audience of NRA Clubs &
  Associations members. This page is providing an opportunity for both members and NRA to
  have an open discussion about programs, grants, awards and NRA related news in an easy to use
  fonnat with up-to-date information. Over this past year, the NRA Community Engagement
  Facebook Group has grown to include 11,479 members with 1,315 posts, 27,567 comments and
  161,487 reactions.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03         Page 87 of
                                        151


                             NRA LAW ENFORCEMENT DIVISION
                                     4th Quarter 2020

                                            Prepared by:
                                        Glen Hoyer- Director



  LAW ENFORCEMENT DMSION OVERVIEW

   The Law Enforcement Division provides Law Enforcement Fireann Instructor Training to
  members of public law enforcement, licensed to be armed private security and members of the
  U.S. Military. The Division also provides competition programs~ as competitions is a direct
  extension of training, and serves to increase an officers marksmanship abilities, fireann handling
  techniques and safety. Additionally, the division will provide other services, support and benefits
  to the law enforcement and military communities, as is needed.


  LAW ENFORCEMENT TRAINING DEPARTMENT

  The Law Enforcement Training Department schedules and conducts NRA Law Enforcement
  Firearm Instructor Development Schools in the disciplines of Handgun/Shotgun, Handgun Only,
  Tactical Shotgun¾Tactical Shooting, Select Fire, Patrol Rifle, and Precision Rifle for law
  enforcement agencies, security agencies and our military. It coordinates the tuition-free armorer
  schools and other training seminars offered by various firearm manufacturing companies and other
  appropriate training organizations at NRA Headquarters, VA. The department also certifies NRA
  Law Enforcement Fireanns Instructors, reviews, approves and registers the firearm training and
  qualification courses submitted by affiliated law enforcement and security agencies. We authorize
  firearm instructor award and certificate requests, coordinate, attend and exhibit at various law
  enforcement related training conferences and exhibit halls and direct the Law Enforcement
  Division product inventory at SureShip. The following is a statistical report on the LED Training
  Department for first quarter of2020:

  1. NRA Law Enforcement Handgun/Shotgun Instructor Development Schools -No schools
  have been conducted since the last reporting period. No schools are scheduled for 2021.

  2. NRA Law Enforcement Patrol Rifle Instructor Development Schools - No schools have
  been conducted since the last reporting period. No schools are scheduled for 2021.


  3. NRA Law Enforcement Handgun Instructor Development Schools - No schools have been
  conducted since the last reporting period. No schools are scheduled for 2021.


  4. Law Enforcement Precision Rifle Instructor Development Schools - No schools have been
  conducted since the last reporting period. No schools are scheduled for 2021.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                 Entered 04/03/21 02:48:03         Page 88 of
                                        151




     S. Law Enfo.rcement Select Fire Rifle Instructor Development Schools - No schools have been
     conducted since the last reporting period. No schools are scheduled for 2021.

     6. NRA Law Enforcement Tactical Shotgun Instructor Development Schools - No schools
     have been conducted since the last reporting period. No schools are scheduled for 2021.

     7. NRA Law Enforcement Tactical Shooting Instructor Development Schools - No schools
     have been conducted since the last reporting period. No schools are scheduled for 2021.

     8. Co-sponsored Tuition-Free Training- The NRA's Law Enforcement Division, in conjunction
     with numerous firearm manufacturers and training facilities, offers tuition-free training for the law
     enforcement community. No schools have been conducted since the last reporting period. No
     schools are scheduled for 2021.

     9. NRA Certified Law Enforcement Firearms Instructors - There are 10,821 active NRA
     Certified Law Enforcement Firearm Instructors with many renewals in progress. This is a decline
     of 484 from the last reporting period.

     l 0. Affiliated Law Enforcement Agencies - TI1ere are 124 law enforcement agencies affiliated
     with the NRA at this time. A decline of two.

     11. Affiliated Security Agencies - There are 306 security agencies affiliated at the NRA. A
  decline of 48.




  LAW ENFORCEMENT COMPETITIONS DEPARTMENT


  The Law Enforcement Competitions Department sanctions all Registered and Approved
  tournaments for Police Pistol Combat Program, conducts the annual National Police Shooting
  Championships, maintains a National Classification System, provides awards for the National
  Records, Governor's 20 Program, National State Team Postal Match, Police Revolver
  Distinguished, Semi-Automatic Pistol Distinguished, and 1480 and 1490 Honorary Clubs. The
  department also receives and posts all scores from NRA sanctioned tournaments.
  The Law Enforcement Competitors Department also is responsible for the Tactical Police
  Competition Program. This competition is scenario based and mirrors modem training methods
  and equipment

 • NRA Police Pistol Combat Tournaments (PPC}: There currently are no Approved
   Tournaments or Registered Tournaments approved since the last reporting period.
 •     148-0 Honorary Club: No updates.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 89 of
                                        151



 •   1490 Honorary Club: No updates.
 • NRA Police Distinguished Revolver Program: No updates.
 • NRA Police.Distinguished Semi-Automatic Pistol Program: No updates.
 • NRA Police Distinguished Production Pistol Program - No updates.
 • NRA Tactical Police Competition (TPC): No updates as all events have been cancelled.
   None are scheduled for 2021.


  LAW ENFORCEMENT DIVISION ADMINISTRATION

  Do to the COVID-19 shutdown all scheduled events and presentations have been cancelled.

  We have been able to restart the Law Enforcement Officer Safety Act (LEOSA) qualifications
  conducted at NRA headquarters, when the range reopened in June. The qualifications have been
  bandied by the Director, Glen Hoyer.

  The Law Enforcement Divisions' administrative staff monitors law enforcement incidents
  throughout the country, and when appropriate, sends "Get Well" or ''Condolence" cards to officers
  and agencies who have had officers injured or killed in the line of duty.

  The Law Enforcement Division monitors the news for public law enforcement officers who are
  killed in the line of duty and we check our membership data-base to see if they are members. If
  they were members, we contact the agency the officer worked for to verify the infonnation and
  begin the process of the $35,000 Line of Duty Death Benefit insurance, provided by the NRA. In
  2020, there were six "Line of Duty Death Benefits" claims paid totaling $210,000. Since the year
  2000 the NRA bas paid out, through its insurance company, over 3.4 million dolJars in the "Line
  ofDuty Death Benefit''to the families ofpublic law enforcement officers killed in the line ofduty.



  SUMMARY: All events, including our Law Enforcement Firearm Instructor Schools, Tuition-
  Free training, and Competitions were cancelled, through the end ofthe year, this also included the
  National Police Shooting Championships.

 Realizing early on that the requirement for 24 hours of Continuing Education training, to renew
 your Law Enforcement Firearm Instructor Certification, would be impossible for law enforcement
 officers to obtain during the COVID-19 shutdown and restrictions, Director Hoyer issued a waiver
 on April 1st, temporarily removing the need for Continuing Education Hours for the remainder of
 the year. This has been extended through 2021.

 Director Hoyer has taken over handling the renewal ofour l 0,000 plus Law Enforcement Firearm
 Instructors that are up for renewal this year. This computer data-base has a steep learning curve,
 as well as, being very time consuming, however, we are processing as many as is possible.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 90 of
                                        151


  These renewals are not only critical to our certified instructors, but they also provide revenue to
  the division for the renewal fee, but also to our Membership Division, as membership is required
  to be certified. Additionally, revenue is generated to the Clubs and Associations Department as
  licensed to be anned private security must have an agency affiliation, in addition to an individual
  membership for the instructor.

  Director Hoyer was able to continue to qualify retired officers, who live in Virginia, for LEOSA,
  at the NRA's Range in Fairfax, once the range was opened again. Approximately, 510 retired
  officers who live in Virginia participated in these qualifications. These qualification are conducted
  free of charge as a way of saying "Tbank you" for your service, however, it is noticed that retired
  officers who are not already members tend to join and those who are make donations to the
  organization.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                Entered 04/03/21 02:48:03          Page 91 of
                                        151


                            NRA COMPETITIVE SHOOTING DMSION
                                     4th Quarter 2020

                                              Submitted by:
                                         Cole McCulloch, Director

  As of the last Executive Vice President Report delivered in the third quarter of 2020, the Competitive
  Shooting Division has been significantly slowed and disrupted by the COVID-19 global pandemic.

  Beginning in mid-march 2020 the division's staff began to move toward a remote work environment and
  by April significant furloughs or individual employee retirements were in effect. Since late April the
  division has been reduced to myself and one employee. In recent weeks and days leading up to this report,
  the CSD has seen the resignation of every staff member with any experience in every .significant shooting
  program. Moreover, we are now down to only four total employees remaining, two of which are furloughed
  and have only niche levels of experience.

  Given the uncertainty of COVID-19, the Competitive Shooting Division was compelled to cancel all NRA
  sanctioned tournaments until mid-summer 2020. Additionally, the NRA was also compelled to cancel the
  opening of the NRA National Marksmanship Competition Center and all of its National Championship
  matches to include Smallbore, High Power, Precision Pistol, and the NRA World Shooting Championship.
  By mid-summer the Competitive Shooting Division did reopen the sanctioning ofNRA tournaments.

  At this time, staffing issues, continued uncertainty and restrictions surrounding the COVID-19 global
  pandemic caused the Competitive Shooting Division has placed a ' 'hold" on all NRA Competitive Shooting
  Programs operations beyond sanctioning of matches, posting scores and responding to customer service
  inquiries.

  Additionally, we were able to create and post the 2021 National Match Calendar which will be conducted
  at Camp Atterbury. Further, the Competitive Shooting Division is relying on volunteers to assist with
  providing subject matter expertise related to each program in order to ensure that our national mat.ch
  programs are produced correctly in preparation for the 2021 shooting season.

  Finally, as reported in the fall 2020 EVP Report, it remains a critical need for the NRA Competitive
  Shooting Division to add new qualified employees to the Division with our new center at Camp Atterbur,,
  going live in June of 2021. These new team members for Competitive Shooting Division must soon be re-
  hired if we are going to meet our commitments at Camp Att.e rbury and continue to offer Competitive
  Shooting Programs.

  Below is an additional list of our key objectives and efforts which are now underway.

  Key Proiects Underway
          Sanction NRA Competitions
          Continue to ensure the proper development ofthe NRA National Marksmanship Competition
          Center
          Post and award the 2020 NRA Sectionals
          Collect match fees and produce revenue
          Post and report competition scores across all disciplines
          Respond to customer service inquiries
          Plan for the 2021 competitive shooting season
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21                   Entered 04/03/21 02:48:03             Page 92 of
                                        151


      -   Continued a project to centralize, classify, automate and efficiently manage NRA competitive
          sbooting volunteers


                                        Divisional Overview Summary

  1. Collegiate Proeram - The Collegiate and Schools Program has no program manager and no staff. The
  Collegiate Pistol network of coaches has elected to leave the NRA and follow other groups sanctioning
  efforts. Collegiate Rifle participants and coaches at various universities are also likely to leave the NRA' s
  sanctioning efforts.

  2. SmaUbore Rifle - The Smallbore Rifle Program also has no program manager and no staff. While the
  NRA continues to sanction smallbore matches, the NRA CSD has paused all program operations until
  staff returns.

  3. Air Gun - The Smallbore Rifle Program also has no program manager and no staff. While the NRA
  continues to sanction Air Gun matches, the NRA CSD has paused all program operations until staff
  returns.


  4. Action Pistol- The Action Pistol Program also has no program manager and no staff. While the NRA
  continues to sanction Action Pistol matches, the NRA CSD has paused all program operations until staff
  returns.

  S. Precision & International Pistol - The Precision Pistol Program also has no program manager and no
  staff. While the NRA continues to sanction Precision Pistol matches, the NRA CSD has paused all
  program operations until staff returns.


  6. High Power & F-Class - The High Power and F-Class Rifle Program/s also has no program manager
  and no staff. While the NRA continues to sanction High Power and F-Class matches, the NRA CSD has
  paused all program operations until staff returns.


  7. Silhouette & Black Powder - The Silhouette and Black Powder Rifle Program/s also has no program
  manager and no staff. While the NRA continues to sanction these matches, the NRA CSD has paused all
  program operations until staff returns.


  8. Tournament Resources: All of the Tournament Resources Dept. has been furloughed or have
  retired with the exception of Shelly Kramer. Shelly has continued to do an excellent job of
  processing paperwork to ensure matches continue to be sanctioned and scores are reported
  properly. Additional staff will be needed to re•start the tournament resources group as we
  emerge from COVI0-19 and as we prepare for the 2021 opening of the NRA National
  Marksmanship Competition Center in Indiana.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 93 of
                                        151



  9. Sectiooal/Postal's The postal events/program also has no program manager and no staff. While the
  NRA continues to sanction some postal type matches, the NRA CSD has paused all program operations
  until staff returns.


  10. Women On Target: Women On Target® Instructional Shooting Clinics have continued in small
  numbers during the COVID-19 Pandemic. However, the WOT manager has been furloughed and
  additional staff will be needed to re-start this program as we emerge from COVI0-19.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 94 of
                                        151



                             ADMINISTRATIVE SERVICES DMSION

                                            4th Quarter 2020
                                              Submitted by:
                                      John West, Facility Manager



  Administrative Services Overview

           The first quarter of the year was proceeding as expected, with building operations and our
  various projects running smoothly and on time. The entire NRA contact with UPS was re-negotiated
  and we anticipate a savings in excess of $1.2mm over the course of2020. Then just as the beginning
  of the :ZOO quarter was starting the pandemic hit and everything changed.

         The NRA Cafe closed its doors on April 6. With the building closure for 2 weeks in mid-
  March and the reduced number of staff able to work in-person due to social distancing requirements
  and concerns over spreading the virus, management decided to close the Cafe.

         Quite a few Administrative Services Division staff were furloughed and only a small number
  were left to handle the remaining day to day operations of the building itself such maintenance and
  upkeep, paying utilities and other operational invoices and to coordinate the various administrative
  tasks and tenant responsibilities. Some of our staff have taken on additional responsibilities from
  other departments within our division to keep us running as seamlessly as possible.

          Bill Byrne, Director ofAdministrative Services, as well as Whit Fentem, Controller, Inventory
  Management, both retired on September I. Their departures leave us with big shoes to fill and they
  will be sorely missed. We wish them both a happy and long retirement.

          The Administrative Services Division now consists of 5 major departments; Administration,
  Facilities, Mail Room. the NRA Range and Inventory Management. Each continuing to contribute
  to the safe, and efficient operation of our headquarters building as well as our tenant property.


  Facilities: John West, Manager

         The Facilities Department continues to provide NRA employees and tenants with a high
 quality, efficient and safe workplace. The following are some of the activities that Facilities staff
 was involved with during l st and 2nd Quarter 2020:


     •   Provided support services for various functions.

     •   Replaced vestibules track matting with a concrete surface.

     •   Storm drain management servicing and county inspection and repair
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03     Page 95 of
                                        151



     •   Maintain and repair all generators

     •   Elevator relay replacement

     •   Negotiated a new landscaping service agreement.

     •   Supervised fence move for 66 project.

     •   Replaced underground wires for the parking lot lights.

     •   Coordinated with Security and Fire Marshal to upgrade evacuation routes in cafe and
         museum, to include drawings, permitting and panic bars.

     •   Continue to coordinate repairs on the roof as needed.

     •   Continue painting projects in various common areas of the building.

     •   Reviewed and signed contracts for museum buildout project. Project was put on hold in
         April due to the pandemic but as of Sept 28 construction resumed and should be completed
         by late December.

     •   Negotiated two leases with new tenants at 11244 increasing revenue by $50,000.

     •   Negotiated existing tenant lease to month to month

     •   Reinforce all garage ceilings and structural integrity of midlevel

     •   Continued working with Fairfax County to close any open pennits at 11250.

     •   Supervised dry pipe replacement in museum and south promenade.

     •   Coordinated a whole building cleaning and sanitizing in late March due to concerns over
         Covid19 to help keep our building as safe and healthy as possible.

     •   We reduced the number of sinks and restroom facilities available in each bathroom on every
         floor to allow for as much social distancing as possible. We also reduced the maximum
         seating in all or our conference rooms to again allow for proper social distancing.

     •   Coordinated with the Executive Director's Office, Security and Purchasing to obtain PPE for
         HQ and the range. We added hand sanitizing stations on every floor, both the north and
         south sides near the elevators and several on the range and have masks and gloves available
         for those staff working in close contact with the public.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03       Page 96 of
                                        151



  Mail Room: Sandra Sookia, Manager

         The Mail Room continues to provide effective and efficient mail delivery and shipping
     services to all NRA staffmembers. The Mail Room recently acquired a secure acrylic box for
     staff to use to safely open US mail. This box reduces the chance for staff to come in direct
     contact with mail that could be contaminated with hannfu1 substances.
         The Mail Room 1s currently operating with 2 full time staff, down from 6 and as such is only
     in operation from 9am - 4pm daily. Due to the current pandemic mailroom staff are not
     delivering or picking up mail. A representative from each department comes to the mailroom to
     retrieve any mail or packages. Measures are in place to allow for proper distancing between
     staff when they come to the mail room to pick up or drop off packages and mail Jose
     Fernandez retired in July from the Mail Room after 30+ years of service. We wish him a long
     and healthy retirement.

     •   The new USPS rates started Sunday, January 26, 2020.

     •   The rate for First Class Letters, Meter Mail, and First-Class Mail Flats/Large Envelopes did
         not increase in 2020.

     •   First Class Package Service increased by 2.2%. The increase is based on the zone. Priority
         Mail Express also increased by 2.2%

     •   Priority Mail Commercial Base Pricing increased. The increase varies depending on the type
         of envelope, ranging from $0.07 to $0.15 per envelope.

     •   Priority Mail Flat Rate increased. The increase varies depending on the type of box, ranging
         from $0.20 to $0.70.

     •   Priority Mail Regional Rate Boxes increased $0.90 cents.

     •   Parcel Select Ground had an increase of2.5%.

     •   Media Mail increased by 1.9% in 2020.



 NRA Inventory Management: Cynthia Whitley, Administrative Assistant

 The General Operations Inventory Management Department concludes another year of successfully
 managing NRA Program Materials inventory and effectively directing our Program Materials
 fulfillment center in Landover, Maryland to achieve a very high level ofaccuracy in the fulfillment
 of orders resulting-in a high level of customer satisfaction. To date we have accomplished the
 following:
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03         Page 97 of
                                        151



     •   Discuss with Sureship' s management specific problems that arise and ideas that will lead to
         a more efficient operation on a daily basis.

     •   The fully automated in-house ordering system enhances staff efficiency in providing
         materials throughout the country in support of NRA programs.

     •   Continue to oversee the addition and deletion of items from the NRA Program Materials
         Center Online Store.

     •   Process refunds to customers for materials returned to Sureship.

     •   Established an account with UPS which, after volume shipping discounts, is saving the NRA
         thousands of dollars annually. We are also utilizing a shipping program that compares UPS
         rates with USPS and applies the cheaper rate to our shipments which is saving NRA over
         $2,500 per month in shipping costs.

     •   All packet construction has halted and packet materials are now placed in boxes and shipped
         loosely to the customer.




  NRA Ranae: Debbie Crews, Assistant Manager


     •   The NRA Range's revenue projections were on pace for this to be our best year since 2015
         with $ l .3-1.5M year-end revenue. We were consistently totaling more than $300K per
         quarter in 2020. That revenue level has halted due to the items outlined below resulting in
         the final quarter being our lowest at only $200K.

     •   Management and Range Officers have been successful in operating the Range despite the
         numerous difficulties we have been facing. We continually receive compliments on how
         well the operation is running with all of the extra measures taken in addition to the normal
         safety oversight.

     •   To operate effective!y we need 31 Part Time Range Officers, 2 Full Time Range Officers, 2
         Managers, and 1 Maintenance Supervisor. We currently have 12 Part Time, 2 Full Time
         Range Officers, l Manager, and 1 Maintenance Supervisor. As such, we were forced to
         reduce public hours by half starting in December. All rentals, classes and matches and other
         profitable events have been canceled since May due to a lack of staff to work those events.
         The dozen Range Officers and 1 Manager have been working diligently to cover all aspects
         of the operation without failure and to not have the shortage felt by our clientele.

     •   The Range Covid procedures management devised before reopening have been successful,
         complete and thorough. The Range Staff have been directed to ask all customers if they live
         together or are blood relatives and if not, they are not allowed to share a lane together in
         order to be compliant with the Governors Executive Orders. All firearms instruction has
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21              Entered 04/03/21 02:48:03          Page 98 of
                                        151


         discontinued at the NRA Range with this protocol in place. Masks must be worn and we are
         directed to ask anyone without one to leave. This is in addition to hourly sanitizations of all
         Range equipment, desks, counters, chairs, door handles, etc. With the increased gun sales
         this year, we are in a high demand to begin hosting training events and matches so we look
         forward to improving our staffing levels and have the Governors restrictions lifted to be the
         training source in our community once again.

     •   The national ammunition shortage has affected sales numbers. Without ammo to sell for
         customers to use on the Range, we are losing range patrons and ammo sales. Usual monthly
         ammo sales are $30K and December we are working toward only $9k. Management has
         contacted all approved vendors from California to Florida, contacted Remington and
         Winchester directly and exhausted all other outlets with no product to be had. Sales are
         restricted to one box per person and to only Range Users. We will remove these restrictions
         once we are able to receive ample quantities.

     •   Traffic through the use of social media has maintained CWTent levels, exceeding 13,000
         "Likes" with 1,700 people reaching us on Facebook in December and Google producing
         117K views in December.

     •   HR 218 LEOSA qualifications are the only group training on the Range, aiding the NRA LE
         Division in qualifying retired law enforcement to carry nationwide. We hope to resume
         other events including VIP visits, IPSC, Cowboy Action, USPSA, Acorns, HS Shooting
         Teams, and IDPA events once we have staffing numbers in place. Rental
         agreements/services exceeding$ l 4K+ in incremental revenue/profit have ended. No other
         groups have been authorized to use the Range in its place at this time.

     •   All COVID cleaning, sanitization and capacity requirements are being followed with extra
         steps being taken every hour to keep the staff and our customers safe. An acrylic partition
         was built around the top ofthe Range desk and during Phase 1 we conduct all wait lists and
         testing in their vehicles to limit the capacity on the Range. We are still only utilizing half of
         the lanes on the Range with the distancing requirements in place.

     •   The Range continues to be uniquely positioned and highly focused on taking excellent care
         of "first time" visitors, while accommodating a loyal member and non-member base of
         shooters, aggressively promoting NRA's mission to support firearm related activities and
         membership.

     •   RIFLE & PISTOL courses for George Mason University as a paid elective for
         upperclassmen have been postponed and have not been hosted at the Range since before
         Covid.

     •   All Range equipment is being maintained well despite the toll continued bleaching is talcing.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21          Entered 04/03/21 02:48:03      Page 99 of
                                        151



  Hi,:hlights of our Division accomplishments


     •   The entire NRA contact with UPS was re-negotiated and we anticipate a savings in excess of
         $1.2mm over the course of2020.

     •   Negotiated two leases with new tenants at 11244 increasing revenue by $50,000.

     •   HR 218 LEOSA qualifications arecontinuing on the Range, aiding the NRA LE Division in
         qualifying retired law enforcement to carry nationwide.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21               Entered 04/03/21 02:48:03        Page 100 of
                                        151


                                          NRA MUSEUMS DMSION
                                              4 th Quarter 2020
                                                 Prepared by:
                                        Philip Schreier, Senior Curator


   REPORTING PERIOD OVERVIEW
  This marks the 86th year of the NRA National Firearms Museum (NFM) and its 23nd year at NRA
  HQ in Fairfax, VA. The NRA National Sporting Arms Museum (NSAM) at Bass Pro Shops in
  Springfield, MO has welcomed over 1.5 million visitors since opening six years ago and remains
  the most visited fireanns venue in the country.


  NRA Museums statistics for the period of October 1, 2020 - December 31, 2020
           •   NRA National Firearms Museum, Fairfax VA remains closed since March 13th•
           •   NRA National Sporting Arms Museum at Bass Pro Shops in Springfield, MO averages
               2,750 visitors a week.
           •   YouTube video views - our YouTube Channel saw 142,635 new visitors in the 4th
               quarter of 2020 with a cumulative total of 11,625,312 views.
          •    FacebookLikes as of December 23, 202 stand at - 461, 834


  MUSEUM OPERATIONS PROGRAM
          This report's statistics cover October 1, 2020 - December 31, 2020 unless otherwise noted.
  •       Thurston exhibit construction - Construction of new cases and facility improvements in
          the Civil War and Old West areas of NFM are complete and ready for the installation ofthe
          new displays.
  COLLECTION CURATION PROGRAM
  •       NRA Collection - The Museum conserves 10,860 firearms and numerous other artifacts. Of
          the fireanns, approximately 93% are owned by the NRA Foundation or other NRA related
          entities, and 7% are on loan. Total value of the firearms collection is estimated at
          approximately $63.5 million, with $26.3 million of that value coming from loaned artifacts.
      •    Donations - During this reporting period 10 firearms were acquired as donations. These
           new items include a Russian Nagant revolver souvenired by Colonel Roy F. Lynd on the
           American Expeditionary Force in Siberia, 1919.
   •       FFL Records. The Museum keeps the NRA Headquarters' Federal Firearms License (FFL)
           records for the Secretary's Office. From the period covering October 1, 2020 - December
           23, 2020 the NRA FFL received 63 firearms and logged out 70 were shipped out on our
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21              Entered 04/03/21 02:48:03        Page 101 of
                                        151


          FFL. Of these, 1 fireann was for the Museum.


  MUSEUM OUTREACH PROGRAM
      •     Loans of Firearms to Other Museums - NRA Museums continue to pmvi.de Iong-tenn
            loans of firearms for the Reagan Ranch in California, the Cabela's store in Gainesville,
            VA, and Johnny Morris' Wonders ofWildlife National Museum & Aquarium in
            Springfield, MO, and The FBI Experience in Washington, DC. The Museum has loaned
            seven firearms to the Bureau of Engraving and Printing in Washington, DC.
     •      Traveling exhibits - During this reporting period, the Museum Division presented
            traveling displays at one gun show in Manassas, VA,


  MUSEUMS MEDIA PROGRAMS
     •      NRAmuseums.com_- When the website was redesigned in 2011, it rapidly became the
            dominant firearms museum site on the internet. Usage peaked in 2014 with triple that of
            the old website
     •      Facebook..:- The NRA Museums Facebook page was started in October 2011 and has
            grown to over 461,834 Likes. Each day, our Facebook page features a popular "Gun of
            the Day" post that promotes the diverse variety of historic pieces represented in the
            museum's holdings. Staff also prepares timely special posts about items being shown at
            traveling displays hosted at collector shows and unique non-firearm items from the
            collection. Usage has remained steady over several years.
     •      YouTube - The National Firearms Museum YouTube channel is home to 461 videos
            created by or about the Museum, featuring Museum firearms and staff presenting
            firearms history and gun collecting information. In almost ten years of operation, the
            channel has in excess of 11,625,6312 views ofthese videos and over 21 thousand
            subscribers.
     •     Articles by Museum Staff -Staff continues to provide Mowbray Publications with the
           content for ''The NRA Page" in their Man at Arms magazine.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21              Entered 04/03/21 02:48:03         Page 102 of
                                        151



                               Report of the Executive Director of the
                     National Rifle Association - Institute for Legislative Action
                                     To the Board of Directors

                                  Report Prepared December 21, 2020

   January 7, 2021

   Madam President, Members of the Board and Executive Council,

   The following report is an overview of the activities of the Institute for Legislative Action since
   January 2020.


   FEDERAL AFFAIRS - Brian Calabrue, Managing Director

   Introduction

   NRA-JLA Federal Affairs continues to (1) oppose gun control legislation; (2) monitor legislative
   hearings and markups; (3) support pro-gun legislation; (4) defend and seek to advance our
   legislative position on various appropriations bills; (5) and engage in the 2020 election cycle.

  2020 Elections:

  With abridged congressional calendars and limited legislative activity due to COVID-19
  throughout much of 2020, significant time and resources were devoted to primary and general
  campaigns for the 2020 election cycle. NRA-ILA activated NRA membership to vote for pro-
  Second Amendment candidates, resulting in significant wins in elections throughout the country.

  In the U.S. Senate, 76% of NRA endorsed candidates won their election. Currently, a pro-gun
  majority bas been maintained in the Senate- 50-48. NRA-JLA continues to engage NRA
  membership to vote in the two Georgia runoff elections held on January 5, 2021.

  In the U.S. House, 88% of NRA endorsed candidates won their election - this includes a dozen
  seats flipping into the pro-gun category. Currently, Democrats have their smallest majority in
  decades - 222-212 - with one race remaining to be called.

  FY202 l Congressional Appropriations

  NRA-ILA remains engaged in the appropriations process. Since the Democrats took control of
  the House of Representatives in the 2018 elections, niuch of their focus has been on eliminating
  pro-gun riders such as the Tiahrt amendment on releasing trace data and the Dickey amendment
  prohibiting the Centers for Disease Control (CDC) from advocating for gun control. NRA-JLA
  bas worked extensively with Members of the Appropriations Committee during hearings, bill
  markups and votes in committee and on the floor of the House to keep both the Tiahrt and
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21              Entered 04/03/21 02:48:03          Page 103 of
                                        151



   Dickey amendments in the text of the House passed legislation. This has been lauded as a huge
   win in protecting the Second Amendment in a Democrat-controlled House.

   Continuing Resolution:

  Both the House and Senate agreed on a short-tenn Continuing Resolution that President Trump
  signed that funds the government through December 18, 2020. This deal will allow more time
  for House and Senate Appropriators to negotiate spending levels and provisions in the individual
  bills. As negotiations progress, NRA-ILA will keep you apprised of any developments.

  Provisions removed in Bouse Appropriations Bills:

  Although the more significant Second Amendment riders were protected in the House such as
  the Tiahrt and Dickey amendments, some Democrat Subcommittee Chainnen aimed to drop any
  firearm related provisions, even though many of the riders have been included for years and are
  noncontroversial. These longstanding riders that were removed in the House are listed below and
  are fully expected to be restored ifthe FY2021 bills are agreed to before the end ofthis year.

  • Firearms Parts Export to Canada. Prolu'bits ATF from requiring an export license for small
  firearms parts valued at less than $500 for export to Canada. This provision removed an
  unnecessary and burdensome requirement on U.S. gun manufacturers that was imposed under the
  Clinton Administration.

  • Importation of Curios and Relics. Prevents ATF from arbitrarily denying the importation of
  qualified curio and relic firearms. This provision ensures th.at collectible firearms that meet all
  legal requirements for importation into the United States are not prevented from import by
  Executive Branch fiat.

  • Shotgun Importation Protections. Prohibits the DOJ from requiring imported shotguns to
  meet a "sporting purposes" test th.at the ATF bas used to prohibit the importation of shotguns
  with one or more features disliked by the agency, such as adjustable stocks, extended magazine
  tubes, etc.

  • Protecting Lead Ammo and Fishing Tackle from TSCA regulation. Prevents lead
  ammunition and fishing tackle from being regulated under the Toxic Substance Control
  Act This provision was added in 2014 as a safety policy against any attempt the EPA might
  make to regulate lead ammunition even though TSCA directly states that it is not in the EPA's
  jurisdiction.

  Major Provisions that remained included in the Bouse Appropriations Bills:

  • Protecting Historic Firearms and Spent Brass Casings from Destruction. Preserves the
  opportunity for American gun owners to purchase surplus firearms th.at are no longer of use to
  the U.S. military. This includes M-1 Carbines, M-1 Garand rifles, M-14 rifles, .22 caliber rifles,
  .30 caliber rifles and M-1911 pistols. Starting in 1979, different versions of this language have
  prevented these firearms from being needlessly destroyed. In 2009, Congress amended this
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21              Entered 04/03/21 02:48:03          Page 104 of
                                        151



   language at the urging ofNRA-ILA to prevent the destruction of spent brass casings, a boon for
   gun owners and reloaders concerned about the rising price of ammwrition.

   • Stopping Your Tax Dollars from Funding Gun Control Reports. Prevents the National
   Institutes of Health (NIH) and the Centers for Disease Control (CDC) from using taxpayer
   dollars to promulgate junk science designed to paint legal gun ownership as a public health
  hazard. Contrary to recent claims by gun control advocates that this rider prevents NIB and CDC
  from studying "gun violence," the following quote was included in non-binding report language:
  "[w]hile appropriations language prohibits the CDC and other agencies from using appropriated
  funding to advocate or promote gun control, the Secretary of Health and Human Services has
  stated the CDC has the authority to conduct research on the causes of gun violence."

  • No Tax Dollars to Lobby and Promote Gun Control. Prevents federal funds from being used
  for lobbying efforts designed to support or defeat the passage of legislation being considered by
  Congress or any state or local legislative body. Too often, community action groups are utilizing
  federal money to lobby for increased regulation of fireanns including trigger locks, bans on
  semi-automatic rifles, regulating magazine capacity, etc. This funding subverts the Second
  Amendment and allows anti-gun Administrations to fund grassroots gun control efforts using
  taxpayer dollars.

  Congressional and Executive Actions of the 116th Congress

  Judicial Nominations

  Since President Trump entered office, 233 Article ID judges have been nominated and
  confirmed. This includes 3 Supreme Court confirmations, with the most recent addition of Amy
  Coney Barrett on October 26, 2020. The number also includes 54 Appeals Court and 173 District
  Court confirmations. NRA-ILA has worked closely with the Trump Administration, Senate
  Majority Leader Mitch McConnell {R-KY), Senate Judiciary Chairman Lindsey Graham (R-SC),
  and members on the Senate Judiciary Committee to see pro-Second Amendment judges
  confirmed.

  Pistols with Stabilizing Braces

  Rogue elements within ATF intend to issue guidance documents, through the public notice and
  comment process, to provide so-called ''objective design features" that determine when pistols
  with stabilizing braces fall into the category of short-barreled rifle, and therefore subject to the
  National Firearms Act ("NFA").

  Problematically, these "objective design features" are not an exhaustive list. They are also
  nonbinding on future classifications and no single factor is individually determinative as to what
  causes a fireann to fall under NFA regulation. In reality, this amounts to ATF taking a subjective
  "I'll know it when 1 see it'' approach to classifying firearms.

  For many in the firearms industry and community, pistol stabilizing braces have become a
  popular accessory to many commonly-owned semi-automatic pistols. ATF' s subjective guidance
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 105 of
                                        151



   creates an untenable situation, as law-abiding gun owners and the fireann industry are unable to
   predict ATF's conduct, and thus how to comport their behavior to the law.

   NRA-ILA strongly opposes this arbitrary, inequitable, and incorrect guidance by ATF that puts
   millions of firearms owners in danger of federal prosecution. NRA-ILA will file comment on the
   guidance, as well as engage our contacts in the Administration and U.S. Congress to rein in this
   ATF action.

   National Defense Authorization Act (NDAA)

   The NDAA is an annual legislative vehicle which authorizes funding for the U.S Armed
   Services. Typically garnering overwhelming bi-partisan support, this bill has been signed into
   law every year for decades. As an annual "must-pass'' piece of legislation, it attracts many
   legislative proposals which are not germane to funding our armed forces and the priorities of the
   Department of Defense.

   In July, during the late hours ofthe U.S. House Armed Services Committee markup ofNDAA,
   Rep. Jackie Speier (D-CA-14) offered an amendment that was adopted to establish a system for
   the issuance of military protective orders. The orders would, among other things, allow the
   military judicial system to issue ex parte protective orders that prohibit firearm possession for
   service members during the duration of the order. This would be a clear deprivation of due
   process protections for military personnel.

   Following the passage of the House NDAA bill, NRA-ILA immediately began working with our
   contacts in the U.S. Senate, including Senate Armed Services Chairman James Inhofe (R-OK), to
   ensure the Speier provision was not included in the final NDAA bicameral conference report.
   These efforts proved successful, as the ex parte provisions were struck from the final NOAA
   legislation.

   On December 8, 2020, the NOAA legislation passed the House 335-78, and the Senate approved
   it on December 11, 2020, 83-14. The legislation now awaits President Trump's signature;
   however, he has threatened to veto the legislation for issues unrelated to the Second Amendment.
   Should he veto, Congress likely has the required two-thirds vote in each chamber for a veto
   override. NRA-ILA wilJ keep you apprised of any developments.

  Army Corps of Engineers (ACE) Rule

  On April 13, the Trump Administration published a proposed rule to end a ban on the possession
  of firearms in water resource development projects administered by ACE- this would
  effectively eliminate one of the largest gun free zones in the country. This commonsense
  provision would abolish an existing gun-free zone on 12 million acres of public lands and waters
  nationwide, including 55,390 miles of shoreline, 7,856 miles of trails, 92,588 campsites, and
  3,754 boat ramps.

  Currently, regulations pertaining to these areas authorize the use and possession of firearms only
  for specified purposes, including hunting or at designated shooting ranges, or with written
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 106 of
                                        151



   permission from the District Commander who has jurisdiction over the area in question. The
   otherwise lawful possession of firearms>including for self-defense, is effectively banned.

   NRA-ILA filed comments in support of this rule, and its implementation is imminent.

   "Critical Infrastructure"

  On March 28, at the urging of NRA-ILA, DHS's Cybersecurity and Infrastructure Security
  Agency ("CJSA") updated its guidance on the critical infrastructure that the agency determined
  should remain open during state shutdown orders due to COVID-19. The new guidance
  identified the following firearms and ammunition industry workers as critical infrastructure:
  "Workers supporting the operation of firearm or ammunition product manufacturers, retailers,
  importers, distributors, and shooting ranges."

  This directive from the Trump Administration was necessary, as several states relied on CISA's
  failure to include firearms retailers in prior guidance as a reason to order those businesses to shut
  down.

   Munitions List Modernization

  On March 9, the Trump Administration's rules by the Departments of State and Commerce to
  amend Categories I, II and m of the U.S. Munitions List in the International Traffic in Anns
  Regulations went into effect. These finalized regulations transferred oversight for export of some
  types of firearms, ammunition, and related items included in these categories from the
  Department of State to the Department of Commerce. This modernization to the U.S. export
  regime for firearms and ammunition will ease burdens and reduce red tape on domestic fireann-
  related businesses, especially gunsmiths and manufacturers. NRA-ILA filed comments in
  support for this regulatory modernization.


  STATE AND LOCAL AFFAIRS -               Chris Kopacki, Managing Director

  Alabama
  Pro-Gun Bills:
  HB39 / S847: BilJs to create a standardized statewide process to issue concealed carry permits
  for terms of 1 year, 5 years, or a permit holder's lifetime. SB 47 passed Senate Judiciary but
  failed to receive a vote in the House Public Safety Committee due to a COVID related
  suspension of session.
          These lifetime permit bills will be a majorfocus ofNRA-ILA 's agenda in the 2021
         session. The measure is supported by leadership in both chambers.

  Alaska
  Anti-Gun Bills:
  HB 62: A bilJ to establish Gun Violence Protective Orders (GYRO). This would allow law
  enforcement officers to seek a protective order to prevent an individual from owning, accessing
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03         Page 107 of
                                        151



   or purchasing fueanns without sufficient due process. HB 62 was introduced and referred to the
   Judiciary Committee but did not receive a committee vote.
          HB 62 was carried over from the 2019 session. In anticipation ofsupport during the 2020
          session, NRA worked throughout the interim to garner opposition to GVROs. Our efforts
          stalled the bill in committee> which is expected to rett,rn next session.

  Arizona:
  Pro-Gun Bills/Actum:
  Executive Order 2020-12: An executive order issued by Governor Ducey designating firearm
  and a.nnnunition retailers as essential businesses.
         This executive order reaffirmed existing law outlined in AR.S 26-303()), limiting the
         government's ability to impose additional restrictions on.firearms and ammunition. NRA-
         backed legislation established the statute supporting the Governor's order.
  SB 1664 - A bill creating civil liability penalties for injuries caused by criminal conduct in a
  gun-free zone. SB 1664 passed the Senate Judiciary 4-3 and failed on the Senate floor 13-16-1
         SB 1664 was sponsored by Arizona Citizens Defense League. NRA supported the
         measure w ith written testimony in committee.

  Anti-Gun Bills:
  HB 2321/SB 1626 - A bill implementing red flag/ERPOs.
  HB 2322/HB 2546/SB 1624 - Bills to restrict the private transfer of firearms by requiring
  "universal background checks."
  SB 1625: A bill banning certain semi-automatic rifles and limiting magazine capacity.
        NRA alerted members and utilized an online petition lo oppose redflags, universal
        background checks, and hardware bans. Our member 's response resulted in none of
        these anti-gun measures receiving a hearing during session.

  Arkansas
  Fiscal year - no policy bills.

  California:
  Pro-Gun Bills:
  AB 503 - A bill that would exempt religious institutions on school grounds from the prohibition
  on carrying fireanns. AB 503 failed to pass the Assembly Public Safety Committee 1-5-1.
         AB 503 is a response lo the removal ofauthority for CCW holders to carry on school
         grounds. This was an incremental approach to allow religious institutions that are either
         attached to a private school or meet on school grounds to allow CCW holders, With
         written permission from the school, authority to carry. NRA worked closely with the bill
         sponsor on this legislation.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21              Entered 04/03/21 02:48:03         Page 108 of
                                        151



  Anti-Gun Bills:
  AB 88/SB 118 - This bill expands the definition of "assault weapon" and expedites the effective
  date for eligibility checks on precursor fireanns parts. AB 88 passed the Senate Budget and
  Fiscal Review Committee 12-6, and the Senate floor 28-12. The Assembly opted not to vote on
  the amended bill and instead sent it back to the Senate for further work. The language from AB
  88 was amended into SB 118 after the summer recess and quickly passed through both chambers
  and signed by the Governor. The bill had gone through the Senate and Assembly policy
  committee as a placeholder type bill. The amendments on the Assembly side were done with a
  rule suspension, allowing the bill to be voted on the Assembly floor (53-16) and the amendments
  were concurred in by the Senate (26-12) on the same day. The Governor signed SB 118 and the
  bill went into effect on September 1.
          AB 88/SB 118 was an effort by the California Department ofJustice to fast track
          language expanding the definition of "assault weapon" in response to a newly released
         firearm by Franklin Armory. Franklin Armory's new firearm looks like an "assault
          weapon" under California's definition, however it does not fit into the defined categories.
          DOJprevented the sale ofthese firearms and was sued. The bill was introduced to
          mitigate damages from prohibiting sales on a firearm that wasn 't covered by the
          statute. Because ofour efforts and other controversial portions ofthe complex budget
          trailer bill, the Assembly rejected the bill for further work by the Senate.

  AB 2362 -A bill to allow the California Department of Justice to levy fines ofup to $1,000
  dollars on firearm dealers for any violations. AB 2362 passed the Assembly Public Safety
  Committee 6-2, Assembly Appropriations 13-5, the Assembly Floor 55-20-4, the Senate Public
  Safety Committee 5-2, Senate Appropriations 5-2, Senate Floor 26-11 -3 and concurred by the
  Assembly 53-18-8. AB 2362 was signed by Governor Newsom.
          AB 2362 was drafted at the request ofBrady United Against Gun Violence. Brady has
          hiredpersonnel in the state ofCalifornia to look at fireami dealers. This is parf< oftheir
          effort to continue to make it more difficult to operate a fireann retail shop in the state of
          California.

  AB 2847 - A bill to modify the existing handgun roster requirements by requiring
  microstamping be located in one place on a firearm cartridge as opposed to the current dual
  requirement AB 2847 passed the Assembly Public Safety Committee 6-1-1, Assembly
  Appropriations Committee 13-4-1, the Assembly Floor 52-20-7, the Senate Public Safety
  Committee 5-2, Senate Appropriations 5-2, the Senate Floor 25-12-3, and concurred by the
  Assembly 52-19-8. AB 2847 was signed by Governor Newsom.
         This bill serves as a way to continue to shrink the handgun roster by requiring the
         removal ofthree existing rostered handguns that do not contain microstampingfor each
         new model added. NRA led efforts to oppose this bill by engaging members and
         communicating with legislators.

  AB 3030 - A bill to further the goal of conserving 30% of California's land, waterways and
  oceans. AB 3030 passed the Assembly Natural Resources 8-3, Assembly Appropriations 13-
  5, the Assembly Floor 45-19-15, Senate Natural Resources Committee 6-2-1, and was held on
  suspense in the Senate Appropriations Committee.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03         Page 109 of
                                        151



          AB 3030 is part ofan international effort to preserve open space, waterways and oceans.
          With amendments and lack ofclear language the bill is highly problematic as
          recreational use - including hunting and fishing - are not expressly protected. NRA has
          worked with a broad coalition from the hunting andfishing communities to address the
          defects ofthe bill and raise opposition.

  AB 3071 - A bill to ban the use and sale of lead ammunition at shooting ranges in California.
  This bill has not received a hearing and the effort has been abandoned by the author for the
  current session.
         AB 3071 was introduced by the Speaker Pro Tempore at the request ofa coalition known
          as the Environmental Working Group. This effort is part ofthe overall attack on firearm
          use and aggressive environmental policies.

  SB 914 - A bill that limits when a hunting license can be used by an individual under 21 to
  purchase a long gun, narrows the exemptions for loaning firearms to minors, and raises the fees
  on eligibility checks for ammunition purchases and fireann parts. SB 914 passed the Senate
  Public Safety Committee 5-1-1, Senate Appropriations Committee 5-2, the Senate Floor 29-11,
  the Assembly Public Safety Committee 6-2, Assembly Appropriations Committee 13-5, the
  Assembly Floor 53-19-7 and concurred by the Senate 29-10-1. SB 914 was vetoed by Governor
  Newsom.
          SB 914 is a continuing effort by the sponsor to make purchasing.firearms harder for
         young adults. The language for fee increases is the result oflegislative gerrymandering
          to avoid a tax implication on a DROS increase last session (AB 1669 - 2019). NRA
          contacted the California Department ofJustice (DOJ), showing that they were charging
          beyond their statutory authority for certain ammunition eligibility checks. ln response,
          the DOJ is attempting to raise the fees for specific checks by amending the statute to read
         as it did prior to the passage ofAB 1669.

  SB 1175 - A biIJ to ban the importation of any lawfully harvested species deemed "African
  Iconic." SB 1175 passed Senate Natural Resources 5-1-3, Senate Appropriations 5-1-1, the
  Senate Floor 29-8-3, the Assembly Water Parks and Wildlife Committee 8-3-3, Assembly
  Appropriations Committee 13-5, Assembly Floor 49-16-14 and failed with the close of session
  when the Senate did not take the bill up on concurrence.
         SB 1175 is a second attempt at passing this same legislation (SB 1487-2018) that was
         vetoed by Governor Brown. NRA has been working with other hunting groups at stopping
         this legislation that violates federal law. We are currently working with partners to
         prepare a lawsuit ifthe legislation is ultimately passed.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 110 of
                                        151



   Colorado
   Pro-Gun Bills:
   HB 1040 - This bill would have removed the state ban on carrying with a concealed carry permit
   in public schools.
           While this bill died in committee due to the COVID suspension ofsession, it will be a
          focus ofNRA-ILA 's legislative agenda for the 2021 session.

   HB 1099 - This measure sought to repeal the misguided 2013 law that limited the amount of
   ammunition a fireann magazine can hold.
         While this bill died in committee due to the COVID suspension ofsession, it will be a
          focus ofNRA-ILA 's legislative agendafor the 2021 session.

   HB 1271 -This bill sought to repeal Colorado's extreme "red flag" gun confiscation law and
   intensify the standard for an involuntary seventy-two-hour mental health hold.
           While this bill died in committee due to the COVID suspension ofsession, it will be a
          focus ofNRA-ILA 's legislative agenda for the 2021 session.

   Anti-Gun Bills:
   HB 1355-This bill requires the secure storage of fireann with criminal and civil penalties for
   violations.
           While this bill died in committee due to the COVID suspension ofsession, it is expected
          to retumfor the 2021 session.
   HB 1356-This bill required the reporting oflost or stolen fireanns with criminal penalties for
   failure to comply.
            While this bill died in committee due to the COVJD suspension ofsession, it is expected
           to return for the 2021 session.

   Other issues: Emergency Powers - On March 25th, Governor Polis issued Order D2020-017
  designating "firearms stores" as "Critical Retail," exempting them from being shut down during
  the state of emergency.

   Connecticut
  Anti-Gun Bills:
  HB 5040 - A bill that adds a thirty-five percent excise tax on the purchase of any ammunition in
  the state of Connecticut. The bill was referred to the Joint Committee on Finance, Revenue and
  Bonding for a public hearing on February 27, 2020. Despite a favorable report out of committee,
  leadership declined to take any further action on the bill and it ultimately died.
          This was an effort backed by Moms Demand Action who worked with the sponsor to run
          op-eds in several local papers. NRA rallied our members to defeat this proposal, and
          were successful by deploying email alerts, holding a member lobby-day on the day ofthe
          public hearing, andfacilitating testimony by local citizens against the measure.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03         Page 111 of
                                        151



   Delaware
           Although several anti-gun measures were contemplated and introduced, the session was
           suspended due to COVID concerns before any legislation gained significant traction.
           Many of these measures are expected to retum in the 2021 session.

   Florida
          Over 100 anti-gun bills were prevented from reaching a floor vote. These included:
          Ass(lult Weapons Bans, Preemption repeal, Castle Doctrine/SYG repeal, Mental Health
          Evaluation requirement f or CCW License holders, Ban on any transfer offirearms, added
          CCW restrictions, Trigger Lock requirements for storage, Background Checks on
          Ammunition sales, Large Capacity Magazine Bans, Mandated Storage Requirements for
          dealers & gun shops, Mandates that ALL firearms transfers go through dealers, and
          Hunting Bans.

   Ballot Initiative:
   An assault weapons ban ballot initiative sponsored by BAWN (Ban Assault Weapons NOW • a
   billionaire funded group) challenged by NRA and the Attorney General of Florida, was kept off
   the November 2020 ballot. After briefs and oral arguments by attorneys representing NRA, the
   Florida Supreme Court ruled the ballot language was misleading and ineligible for the Florida
   ballot. All petition signatures collected were voided.

   Georgia
  Pro-Gun Bills:
  HB 787 - A bill to provide for universal recognition of out-of-state concealed carry permits. The
  bill failed to be heard before crossover.
            This is the second year this bill has been introduced. It was introduced in the House and
           passed an initial committee vote, but did not get a floor vote. This bill will be a major
           focus during the 2021 session.

  Anti-Gun Bills:
  SB 281 - An omnibus gun control package, including "red flag," universal" background checks,
  «safe storage" of firearms.
          This is an effort by Moms Demand Action supported legislators to appease the group by
          offering the 'kitchen sink' ofanti-gun bills. Neither chamber had any interest and the
          Governor promised a veto should it make it to his desk.

  Hawaii
  Anti-Gun Bills:
  SB 2002/HB 1615 - Bills that criminalize possession of a firearm after consumption of any
  alcohol, even on your own property, while lacking a self-defense exception. SB 2002 was
  deferred by the House Committee on Public Safety. RB 1615 was deferred by the joint
  committee on Public Safety and Judiciary.
         SB 2002 and HB 1615 are bills that have been introduced over several sessions but
         routinely fail to include self-defense exceptions or address constructive possession issues.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21           Entered 04/03/21 02:48:03        Page 112 of
                                        151



          NRA provided both written and oral testimony on the bills and generated member
          opposition through alerts.

   SB 2519/HB 1902 - Bills that prohibit the possession of magazines capable of holding more than
   10 rounds. SB 2519 was passed by the Senate Public Safety Committee 3-1-1, Senate Judiciary
   4-1 and the Senate floor 23-2. SB 2519 died in the house without a hearing. HB 1902 passed the
   House Public Safety Committee 4-2-1, House Judiciary Committee 9-0-3, the House Floor 34-
   16-1 , Senate Public Safety 2-1-2, Senate Judiciary 5-1, Senate floor 20-5, the House disagreed
   with the amendments and the bill died prior to a conference committee when the legislature
   adjourned.
          SB 2519/HB 1902 both sought to extend the restriction on handgun magazines to all
          magazines. Both bills were amended to include a grandfather clause that included the
          ability to pass magazines through inheritance. NRA worked with legislators and the
          Governor's office to stop the bill, including jn person testimony, written testimony and
          member contacts. The Governor's office was receptive to our comments and sensitive to
          current <J'h circuit precedent from Duncan v. Becerra.

  SB 2635/HB 2736 - Bills requiring the licensing of ammunition sellers, identification and
  pennitting ofpurchasers and possessors of ammunition and regulates ammunition in the same
  fashion as firearms. SB 2635 passed the Senate Public Safety Committee 5-1-1, Senate Judiciary
  Committee 5-1, Senate floor 23-2, House Judiciary 13-1-1, House Public Safety 5-2, and died in
  the Finance committee where it was never scheduled for a hearing. HB 2736 passed the House
  Judiciary Committee 10-0-3, House Public Safety Committee 6-1-1 t House floor 37-13-1, Senate
  Public Safety Committee deferred the bill.
         SB 2635 and HB 2736 were companion bills placing additional restrictions on
         ammunition purchasers, sellers, and possessors. NRA lead efforts to oppose these
         measures providing written and in-person testimony. SB 2635 was ultimately killed late
         in the session through friendly legislators who were able to get a finance referral.

  SB 2943/HB 1733 - Bills prohibiting the purchase and possession of certain firearm parts in an
  effort to ban "ghost guns." SB 2943 was deferred by the Senate Public Safety Committee. HB
  1733 was deferred by the joint House Committee on Public Safety and Judiciary and amended
  into HB 2744.
         NRA worked with legislators, provided written and in-person testimony during public
         hearings, and activated our members to oppose these measures. NRA also held the first
         Hawaii grassroots meeting in years, which helped spark participation by our members.
         Unfortunately, language dealing with "ghost guns'' was inserted/amended into HB 2744.

  SB 3053 - A bill to ban "fifty caliber guns." SB 3054 was deferred by the Senate Committee on
  Public Safety.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03         Page 113 of
                                        151



          NRA provided in-person and written testimony as well as member contacts to help defeat
          this legislation during thefirs/ committee hearing.

   SB 3054 - A bill requiring notice to the county of registration when a firearm is permanently
   removed from the state. SB 3054 passed the Senate Public Safety Committee 3-1-1, Senate
   Judiciary 4-1, Senate floor 23-2, House Co1llll1ittee on Public Safety 5-2, House Judiciary 11-2-
   1, House floor 38-13, the Senate concurred in the House amendments. The bill was signed into
   law by Governor Ige.
           NRA 's opposition was focused on the criminal penalties that were originally includedfor
          failure to report the removal. Over the course ofnumerous amendments, a monetary fine
           that was as high as $250 perfirearm but eventually passed as a $100 per firearm
          penalty.

  HB 2744-A bill establishing the gun violence and violent crime commissions and criminalizing
  the purchase, manufacture or obtaining firearm parts for the purpose of building a gun "ghost
  gun." The ''ghost gun" language was attached during the first policy committee hearing. HB
  2744 passed the House Judiciary Committee 10--0-3, House Public Safety 5-1-1, House floor 44-
  6-1, Senate Public Safety 4-0-2, Senate Judiciary 5• l , and Senate floor 23-1. Governor Ige did
  not sign the bill, but it became law after 15 days ofinaction.
          HB 2744 was amended to include language from the "ghost gun,, bill earlier deferred by
         committee. NRA provided written, in-person testimony, and activated member contacts.

  HB 2631 - A bill requiring the Chief of Police to attest to a review of all mental health records
  prior the issuance of a firearms permit. RB 2631 was deferred by the joint House Committee of
  Public Safety and Judiciary.
          NRA provided in-person and written testimony in our successful effort to defeat this bill.

  HB 1600 - A bill repealing the ability to temporarily loan a firearm. HB 1600 was deferred by
  the joint House Committee on Public Safety and Judiciary.
          NRA provided in-person and written testimony, focusing on the many practical problems
          With prohibiting loans.

  HB 2232 - A bill expanding prohibitions for firearm ownership to include certain emotional and
  behavior problems unless, the applicant can provide medical documentation they are no longer
  adversely affected. HB 2232 was deferred by the joint House Committee on Judiciary and Public
  Safety. Portions of the bill were amended into HB 1902, but were eventually stripped out on the
  Senate side.
          NRA provided in-person and written testimony, focusing on the vagueness ofthe bill, the
          vast nature ofthe prohibiting disorders a,id the potential to discourage treatment.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 114 of
                                        151



   HB 2710-A bill that permits law enforcement to perform warrantless searches of people
   suspected of violating restraining orders. HB 2710 was deferred by the joint House Committee
   on Public Safety and Judiciary.
          NRA provided in-person and written testimony focusing on the constitutional issues this
          bill presented Additional testimony was provided by the public defender's office that
          assisted in the bill being deferred.

   SB 2518 - A bill making changes to Hawaii's concealed carry statutes, authorizing the Attorney
   General to issue statewide permits, changing the point of payment on application as opposed to
   when the application is granted and increasing the cost tenfold. SB 2518 passed the Senate
   Public Safety Committee 3-0-2. The bill failed to meet deadlines as no other bearings were
   scheduled.
          NRA provided written and in-person testimony. Our opposition focused on Hawaii not
           issuing a single CCWpermit in years and this bill was significantly increasing the cost
          for the permit.

  Idaho
  Pro-Gun Bills:
  SB 1384-A bill to allow the possession and cany of firearms by school employees on K-12
  school premises with an enhanced Concealed Weapons License. SB 1384 was heard in the
  Senate State Affairs Committee and defeated by a 4-5 vote.
         Despite several meetings with the Se.n ate State Affairs Committee Chair and committee
         members, the bill was defeated but is likely to be reintroduced next year.
  HB 516-A bill to expand permitless carry to allow non-residents to carry within city limits
  without a permit. HB 516 passed the House with a 56-14 vote and the Senate with a27-5 vote,
  and was signed into law by Governor Little.
        HB 516 enacted the final piece ofpennitless carry in Idaho. HB 516 expands upon
        NRA 's original permitless bill by removing the requirement ofresidency in order to
        conceal carry within city limits without a pennit.

  Anti-Gun Bills:
  HB 383 - A bill to impose fueann restrictions on respondents of a Sexual Assault Protection
  Order. Referred to the House Judiciary Committee but did not receive a committee vote. In
  response to the inaction, the sponsor attempted a parliamentary move to pull the bill straight to
  the floor, but the vote failed 51-17.
          HB 383 was supported and promoted by Moms Demand Action. Proponents generated
          pressure on legislators from various angles, including phone calls and media stories.
          NRA worked in opposition to the bill at the Capitol through several meetings with
          proponents and committee members. The bill stalled in committee this year, however is
          likely to be reintroduced next session.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03         Page 115 of
                                        151



   Illinois
   Anti-Gun Bills:
   SB 1966 - Called the "FOID Fix," this bill sought to mandate the collection of finger prints for a
   FOID card, increase the processing time, decrease the duration from ten to five years, double the
   application fee, prohibit those with a revoked FOID from transfening firearms to another FOID
   card holder in the same household, take away the right to self-defense from individuals due to
   the alleged actions of someone else in their household, and require the owner of the seized
   firearms to petition the court to have them transferred to a third party.
          SB 1966 was first introduced by an extremely anti-gun member ofHouse Leadership
          during the 2019 session. NRA and our state affiliate, fl/inois State Rifle Association,
          lobbied aggressive(v against the bill citing that policefandingfor FOID processing was
          routinely used for other priorities; and the impact on lower income and minority families
          due to increased cost and travel to obtain fingerprints. After five hours ofintense debate
          it narrowly passed the House but was not taken up by the Senate. We were able to secure
          a large enough coalition of "No" votes to prevent the bill from being heard in the Senate
          in the 2020 Legislative Session.

   Indiana
   Pro-Gun Bills/Actions:
  Emergency Orders~ On March 23rd, Governor Eric Holcomb issued Executive Order 20-08. This
  order specifically designated "firearm and ammunition suppliers and retailers for purposes of
  safety and security" under "Essential Businesses and Operations," exempting them from being
  shut down during this state of emergency. This was followed on April 2nd with Opinion 2020-4
  by Attorney General Curtis Hill which asserted that state and local governments cannot infringe
  on Second Amendment rights during a state of emergency.
          To affirm the Governor's order, NRA worked with legislators to request the AG 's
          Opinion on whether local governments could restrict the sale offirearms during a
          declared state ofemergency.

  Iowa
  Pro-Gun Bills:
  HF 2502 - This measure was a clean-up of Iowa' s firearm preemption law. The bill expanded
  protections to firearm attachments and "other weapons" in addition to adding penalties in the
  form of damages, attorney's fees, and court costs to the prevailing party for any violation of the
  preemption statute. The bill passed the House on a party-line vote, 52-44 and in the Senate 32-
  17, also a party-line vote. Signed by Governor Kim Reynolds, effective July 1, 2020.
         NRA-ILA worked closely with our state affiliate, the kJwa Firearms Coalition, on the
         drafting and lobbying ofHF 2502, The bill's success was due to our mutual efforts to
         generate member contacts oflegislators throughout the process.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 116 of
                                        151



   HF 716 - Current law requires straight-walled cartridges for rifles to take deer. Growing
   popularity of modem pistols necessitated this change in law to allow for "bottlenecked" pistol
   cartridges with a minimum muzzle energy of 500 ft/lbs or more. The DNR still has full authority
   to regulate seasons, tags, and other methods of take. This bill also eliminated the minimum age
   for deer hunting with a pistol. The bill passed the House 57-40 and the Senate 37-13. Signed by
   Governor Kim Reynolds, effective July 1, 2020.

   SF 459 - This bill allows concealed carry pennit holders to store firearms and ammunition in
   their private vehicle while on employer property provided the fireanns and ammunition are out
   of sight and inside a locked motor vehicle.
           Failed to pass a Senate committee before the first legislative deadline but will return in
           2021.

  SF 2224 - This bill allows the carrying of :firearms on school property ( driveways, parking lots,
  other conveyances) by concealed carry permit holders while transporting persons or items to or
  from the school. Formerly SF 116, SB 1017. Passed Senate Judiciary Committee 10-3, with
  two Republican Senators absent Failed to be heard on Senate Floor.
         This bill has been a priority ofNRA since the 2018 session. The hurdle of"guns in
         schools" messaging from anti-gun advocates has been dflficult to overcome. especially
         with a slim 53-47 Republican edge in the House.

  Kansas
  Pro-Gun Bills/Actions:
  HCR 5025 and HB 2054 - COVID cut short the Kansas session significantly but a fight over the
  Governor' s emergency powers led to a major battle between Governor Ke11y and the legislature.
  HCR 5025 would have hardened protection of2A-related commerce in the emergency powers
  statute so tbat it could not be overturned by executive order. Unfortunately, HCR 5025 was
  vetoed by the Governor.
          After the veto, a compromise between the Legislature and the Governor was agreed upon
          with the Legislature adjourningfrom Special Session after passing Emergency Powers
          Legislation, House Bill 2054. House Bill 2054 includes language to prevent the
          Governor from using emergency powers to seize ammunition or limit the sale offirearms
          during a declared state ofemergency.

  HB 2326 - This bill recognizes all out-of-state concealed carry permits for lawful carry in
  Kansas. HB 2326 was also amended by Rep. Stephen Owens to allow individuals who are 18
  years of age and up to apply for a Kansas concealed carry permit.
         HB 2326 overwhelmingly passed the House in 2019 by a vote of83-41 lJUt due to the
         suspension ofthe 2020 session, it died in Senate committee. It will be a top priority in
         2021.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03         Page 117 of
                                        151



   Kentucky

   Anti-Gun Bills:
   HB 76-Redefine the definition of "domestic abuse." The bill failed to be heard in committee.

   HB 130 - Semi-auto and "large capacity" magazine ban. This was the second year for AW and
   high-cap mag ban proposals, along with a buyback program. The sponsors were well aware that
   they were going nowhere, and filed the bill to appease the greater Louisville area. The bill was
   not heard in committee.

   HB 192 - Semi-auto and "large capacity" magazine ban, along with a registration scheme. This
   was another attempt for AW and High-cap mag ban proposals, except to include registration and
   "safe stoiage," along with the buyback. The bill was not heard in committee.

   SB 32 - A bill to create a "safe storage" requirement. The bill failed to be heard in committee.

  Louisiana
  Pro-Gun Bills:
  HB 746 - A bill to allow concealed carry during a mandatory evacuation order issued pursuant to
  a declared state of emergency or disaster. Passed and signed by Governor Edwards.

  HB 781 - A bill that guarantees Second Amendment-related businesses are "essential" under a
  declared emergency or disaster. Passed and signed by Governor Edwards.

  HB 140- A bill to strengthen statewide preemption by prohibiting localities from imposing
  restrictions on the possession of fireanns from law-abiding residents or visitors. Passed and
  signed by Governor Edwards.

  HB 334 -A bill to authorize the concealed carry of a firearm in a place of worship where the
  governing body authorizes it. Passed and signed by Governor Edwards.

          With the legislative session not starting until early to mid-March, they were only in
          session a few short weeks before deciding to recess until early May. Our package ofbills
          sailed through committee in the House with little opposition and received supermajori'ty
          support on the House floor. Each measure also passed Senate committees with little to
          no opposition. As with the House, we also faired very well on the Senate floor. With
          pressure from several Democratic House members, and law-abiding gun owners across
          the state, Governor Edwards signed allfour measures.

  Anti-Gun Billsllssues:
  Upon adjournment ofthe regular session on June 1, it was brought to our attention that the
  Louisiana Department of Wildlife and Fisheries had instituted a lead ban on state game area
  shooting ranges. With the help ofpartners like the Congressional Sportsman Foundation and
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 118 of
                                        151



   NSSF, we were able to have a joint committee hearing called ofthe Natural Resources
   committees in the House and Senate. At the hearing, the ban was overwhelmingly struck down.

   Maine
  Anti-Gun Bills/Action:
  Executive Order No. 19: An executive order requiring all non-essential businesses to close their
  physical location that alJow ''in-person" contact, including gun shops. The order was issued on
  March 26, 2020 and was reversed on April 1, 2020.
         This was an effort that was ultimately celebrated by Moms Demand Action. Local police
         entered Kittery Trading Post andforced them to shut their doors because the Governor
         deemed the gun shop to be a sporting goods store, and therefore, non-essential. NRA
         worked in conjunction with NSSF, the Sportsman 's Alliance ofMaine, and Kittery
         Trading Post to pressure the Governor to reverse her decision. We sent email alerts and
         worked with the House and Senate Republicans to send a public letter to the
         administration calling for a reversal. In addition, NRA provided talking points and
         prepped lawmakers for media interviews on the issue.

  Maryland
  Pro-Gun Bills:
  HB0047 - Exempt applicants who are law enforcement in Delaware, Pennsylvania, Virginia,
  West Virginia and Washington, D.C. from firearms safety training course requirements. Failed in
  House Judiciary 7-12.

  Anti-Gun Bills:
  HB004 - Requires backgroWld checks on private sales and gifts of long guns and rifles. HB004
  passed the House Judiciary 15-6. On the House floor, Republicans attempted a number of
  weakening amendments on the legislation, all of which failed. HB004 passed the House 87-47.
  In the Senate, HB004 passed Judicial Proceedings Committee 6-5. HB004 passed the Senate 31-
  14. A week.later, the House agreed to the Senate changes 87-43. On May 7, Governor Hogan
  vetoed the legislation.
         HB004 was a multi-year effort from Mom 's Demand Action and related groups. In 2019,
         the legislation passed but failed in conference. In 2020, the legislation passed again, and
         the House accepted the Senate amendments, exempting temporary loans. Because the
         legislature never reconvened after the March adjournment, they have yet to consider the
         Governor's vetoes. Following Maryland's legislative rules, the legislature takes up vetoes
         at the next convened legislation session, in this case, the 2021 session.. It is likely the
         legislature will overturn the Governor's veto when they return in January.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 119 of
                                        151



   Massachusetts
   Anti-Gun Bills:
   H. 2092 - A bill implementing universal background checks on all private transfers of firearms,
   with a penalty of a $10,000 fine and up to 20 years in prison. The bill was introduced on January
   15, 2019 and referred to the committee on Public Safety and Homeland Security. A hearing was
   scheduled for August 22, 2019. The bill passed favorably out of committee on February 24,
   2020. The House Ways and Means Committee declined to move the bill to the floor for a vote.

   H. 3843 - A bill banning the common practice of building firearms for personal defense by
   deeming it a felony, punishable by & minimum sentence of 2 years imprisonment, a fine of not
   less than $5,000, and fireann forfeiture.

          Both ofthese bills were a multi-year effort spearheaded by Everytown, Moms Demand
          Action, and the Giffords Law Center. 'I'he bills received wide media attention and gun
          control groups had several demonstrations throughout the year to support the effort.
          NRA rallied our members with alerts, and held a lobby day in conjunction with the Gun
          Owners Action League during the day ofthe public hearing: NRA attended the day-long
          hearing, and hundreds ofmembers turned out to testify against the proposal. NRA
          continued to maintain pressure to prevent the billfrom heading to the full floor for a.
          vote.

  Michigan
  Pro-Gun Bills:
  HB 4434 - This bill reduces the penalty for carrying on an expired CPL to a $300 civil penalty
  instead of the current felony charge. Passed House on 5/29/2019 with a vote of 90-19. Referred
  to Senate Government Operations Committee.
          Governor Whitmer will likely not sign any pro-gun legislation. Bi-partisan support in the
         House will help move this bill forward. It will continue to be a priority.

  HB 4770 - A bill to establish pennitless carry. Passed House Military, Veterans and Homeland
  Security Committee and referred to House Judiciary Committee.
         This bill has been introduced multiple sessions in a row, and most recently passed the
         House in 2017. There is not sufficient support from House Leadership to take a floor vote
         as it is understood Governor Whitmer will veto the legislation.

  HB 5479 -The bill would prohibit a local unit of government (a city, village, township, or
  county) from using any public resource to implement, administer, or operate a program to
  purchase privately owned fireanns, firearm parts, or ammunition from private individuals or
  organizations (commonly referred to as a "gun buyback program"). A local unit of government
  could purchase firearms, firearm parts, or ammunition from a licensed firearms dealer for law
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 120 of
                                        151



   enforcement purposes. The bill passed the House on 3/4/20 by a vote of 58-49 with one
   Democrat joining the Republicans. Currently awaits a hearing in the Senate Government
   Operations Committee.
          This bill was drafted in response to a number ofcounties passing Second Amendment
          Sanctuary Resolutions across the state.

   Anti-Gun Bills:
   SB 156 - Th.is bill creates a "fireanns restraining order" which prohibits the custody, purchasing,
   possessing, or receiving of firearms by a person believed to pose a danger of causing injury to
   himself, herself, or another by use of a weapon>Bill referred to Senate Government Operations
   Committee.
          With Republican controlled majorities in the House and Senate, this bill was presumed
          DOA. In late 2019, however, Senate Majority Leader Mike Shirkey announced during a
          radio interview that he would hold a committee hearing to further explore the needfor
          this type oflegislation. NRA has met with the Majority Leader and other members ofthe
          upper chamber to discuss the implications ofthis type ofbill.

  Anti-Gun Regulations:
  Prohibiting Firearms in the Capitol - Jn response to anti-lockdown protests at the Michigan State
  Capitol, the Michigan Capitol Commission met to create a five-member committee to study
  whether it can prohibit fireanns in the capitol building and the capitol square. They are
  discussing the issue with legislative leaders and Governor Gretchen Whitmer's office. Senate
  leadership expressed initial interest in pursuing the prohibition, however pusbback from
  members of the Senate has ceased all activity on the subject.

  Minnesota
  Pro-Gun Bills:
  SF 3865 - This bill sought to restore the carry permit's ability to bypass the NICS check for
  purposes of firearm transactions. In October 2019, A TF determined the Minnesota carry permit
  would no longer suffice to bypass the NICS background check since it lacked appropriate
  questions on alien status. ILA worked with Senate staff to compose a bill that would accomplish
  the purpose ofrestoring the benefit ofthe carry permit to speed up firearm transactions. The bill
  was not taken up.

  HF 4605 Amendment A6 - This amendment would have allowed electronic filing of carry
  permit applications during declarations of emergency. It was sponsored by the Minority Leader
  (former Speaker of the House). It failed 63-71 in the Democrat controlled House.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03         Page 121 of
                                        151



   Anti-Gun Bills:
   HF 8 - This bill would have implemented universal background checks in Minnesota on all
   firearms, In addition, it incorporated some ''red flag" type scrutiny by giving law enforcement
   additional reasons to deny transferee and carry permits. It also removed "shall issue" concealed
   carry permitting.
          Afterfavorable votes in committee, the bill was placed on the House calendar in late
          February where it passed 69-62. On the Senate side, it was referred to Judiciary and
          Public Safety Finance and Policy where it never received a hearing and died in
          committee.

  HF 9 - This bill would have implemented "Red Flag" measures allowing emergency seizure of
  firearms from individuals based upon hearsay and uncorroborated evidence without due process.
  The bill was referred to House Ways and Means where the Chair referred it to Public Safety and
  Criminal Justice Reform Finance and Policy Division where it was adopted as amended and
  returned to the Ways and Means Committee. It was then referred to Judiciary Finance and Civil
  Law Division where it was adopted as amended and returned to Ways and Means and adopted as
  amended.
          Afterfavorable votes in committee, it was placed on the House calendar in late February
          where it passed 68-62. On the Senate side, it was referred to Judiciary and Public Safety
          Finance and Policy where it never received a hearing and died in committee.

  Mississippi
  Pro-Gun Bills:
  HB 1215 - This legislation would have added state agencies to the existing firearms preemption
  statute and would have also provided citizens a means for challenging unlawful gun restrictions
  imposed by these entities.
           COVID-19's disruption ufthe 2020 legislative sessiuri, which erided in early July, stalled
           efforts to pass the measure. The House passed the bill overwhelmingly and the
           legislation failed to advance in the Senate. NRA-ILA has met with the Lieutenant
           Governor and discussed the issue with the appropriate Senate Committee chair to Jay the
           groundwork for passage in the 2021 session. The Legislature did manage to pass a
           bill in 2020 creating a specialized NRA boat and utility license tag, with a portion of
           proceeds from the sale going to the NRA Foundation, and legislation clarifying that
           disabled veterans can use their VA-issued veterans' health services identification cards
           indicating a service-connected disability as proofthat they qualify for exemptions from
           original and renewal carry permitfees.
  Emergency Orders: NRA-ILA worked with the governor's office to ensure that firearms
  manufacturers and retailers remained designated "essential servicesn under his
  statewide executive order to shelter-in-place, issued during the early stages of COVID-19. A
  little over a month into the pandemic, the Mayor of Jackson issued an executive order ostensibly
  under civil emergency powers authority which suspended open carry within city limits. NRA-
  ILA was in contact with the state attorney general, who issued a stem rebuke to the mayor's
  action by calling it a violation of both the state constitution and the state fireanns preemption
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21              Entered 04/03/21 02:48:03         Page 122 of
                                        151



   law. The order expired after a week and was not subsequently renewed or extended by the
   mayor.

   Missourj
   Pro•Gun Bills:
   HB 1901 /1 722 and SB 700 - A bill to allow concealed carry on public transportation. Current
   law prohibits the carrying of firearms on buses and trains. This bill would remove that
   prohibition. Passed out of House General Laws Committee, not heard on House floor.
          Since the passage ofpermitless carry in 2017, this has been NRA 's priority. After the veto
          override ofpennitless carry there has been little appetite for gun legislation in the
          Senate. We expect this to change in the 2021 session.

  HB 163 7 - This bill would create the "Second Amendment Preservation Act'' which would
  prohibit state law enforcement from enforcing federal gun control as well as:
  "Declares that all federal acts, Jaws, executive orders, administrative orders, court orders, rules,
  and regulations, whether past, present, or future, that infringe on the people's right to keep and
  bear arms as guaranteed by the Second Amendment to the United States Constitution and Article
  I, Section 23 of the Missouri Constitution must be invalid in this state, including those that
  impose a tax, levy, fee, or stamp on these items as specified in the bill; require the registration or
  tracking of these items or their owners; prohibit the possession, ownership, use, or transfer of a
  firearm; or order the confiscation of these items." HB 1637 was passed out of the House General
  Laws committee but did not see floor action.
          NRA did not actively lobby for HB 163 7, rather advised sponsors on the possible dangers
          and roadblocks in the bill as drafted. Outside gun groups such as Missouri Firearms
          Coalition pushed this bill hard and used it as ammunition to attackRepublican
          lawmakers who did not sign on as co-sponsors.

  HB 1638 - This bill makes changes to the list of locations an individual can carry a concealed
  fireann within the state. This bill also prohibits the state, political subdivisions, and public
  institutions of higher learning from imposing any policies or contractual requirements that would
  have the effect ofprohibiting employees or students from the carrying of concealed firearms into
  locations where concealed carry is not otherwise prohibited by law.
           For the second session in a row, there was substantial push backfrom House members
           and leadership as the bill essentially repealed all gun free zones in the state. Leadership
          did not want to take this vote during a Presidential Election cycle.

  HB 2186 - Titis bill allows the concealed carrying of firearms in churches and other places of
  worship with a concealed carry permit. Current law requires express pennission from the
  presiding official of the religious institution. This bill would expressly permit concealed carry
  and give the church the option to prohibit.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 123 of
                                        151



          This bill came about after the Texas church shooting. It was introduced late in the session-
          a11d did not get a hearing.

  Anti-Gun Bills:
  SB 543: This act creates a 11fireanns restraining order" which prohibits the custody, purchasing,
  possessing, or receiving of firearms by a person believed to pose a danger of causing injury to
  himself, herself, or another by use of a weapon.
         Referred to Senate Transportation-, Infrastructure and Public Safety Committee and did
  not receive a hearing. This bill was pushed hard by Moms Demand and other anti-gun groups.
  Worked with Committee Chair to keep the bill from being heard.

  Montana
  No Session in 2020.

  Nebraska
  Anti~Gun Bills:
  LB 816-LB 816 requires that law-abiding gun owners pay a fee and obtain a certificate to
  purchase commonly-owned rifles and shotguns. The measure requires a waiting period of at
  least 48 hours and up to five days, regardless of the outcome of a background check.
          LB 816 had a hearing in late February. Hundreds ofNRA Members and Second
          Amendment supporters packed the Judiciary Committee hearing. The regular room plus
          two overflow rooms were filled to capacity and it took all day to get through everyone
          signed up to speak. Thanks to steady opposition, neither ofthese proposed gun control
          bills (see LB 58 below) were prioritized before the deadline and did not advance this
          session.

  LB 58-A bill to create Extreme Risk Protection Orders (ERPOs) that suspend an individual's
  Second Amendment rights following an ex parte hearing where the respondent is not present to
  defend th_emselves. Upon the issuance of an ERPO, law-enforcement will be allowed to search
  for and seize any firearms possessed by the respondent. An ERPO issuance is based on third-
  party allegations, even when there is no evidence of a crime having been committed. Due to an
  onslaught of opposition, the bill was not prioritized before the deadline.

  Nevada:
  No Session in 2020.

  New Hampshire
  Anti-Gun Bills:
  HB 687 - A bill establishing an ex parte red flag order, stripping Second Amendment rights
  without due process. The bill was introduced on January 1, 2019 and referred to the House
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03         Page 124 of
                                        151



   Criminal Justice and Public Safety Committee. The bill received a public hearing on March 5,
   2019 and carried over to the second year of the legislative session. The bill passed the House on
   January 9, 2020 and was referred to the Senate Committee on the Judiciary. A public hearing
   was held on June 24, 2020 and passed the Senate on June 29, 2020. The bill was be sent to Gov.
   Sununu and was vetoed. The veto was sustained on September 16, 2020.
          HB 687 was the culmination ofan extensive campaign by Moms Demand Action to pass
          an ex-parte redflag order. The proposal received wide media coverage over the course
          ofthe 2019-2020 legi.slation session. NRA rallied our members through multiple alerts
          and lobby days to ensure strong turnout for the public hearing. In addition, we attended
          every committee work session throughout the course ofthe two-year session. NRA.
          worked closely with House and Senate Republicans. as well as the Governor's Office to
          secure broad opposition and to ensure the Govemor could sustain a veto.

  HB 1608 - A bill banning the possession of magazines over 10 rounds for long guns, and 15
  rounds for handguns. The bill was introduced on January 8, 2020 and referred to the House
  Criminal Justice and Public Safety Committee. A public hearing was held on February 12, 2020.
  The bill passed in the House on March 11, 2020. The bill was tabled in the Senate on June 16,
  2020 and never received a committee assignment.
          HB 1608 was pushed by Moms Demand Action and several related groups. NRA rallied
          our members for the public hearing that was held in February, provided talking points to
          lawmakers, and held a lobby day. NRA was successful in getting the biLl tabled in the
          Senate, killing the effort for the legislative session.

  New Jersey
  Emergency Orders:
  On March 21, Gov. Phil Murphy issued Executive Order 107. The stay-at-home order
  effectively shut down everything including the Legislature, gun shops and shouting ranges.
  The NRA state association, ANJRPC, and NRA filed suit.
          Gov. Murphy quickly reversed himselfand re~opened NICS (New Jersey is a point-of
          contact state). Gun ranges remained closed, however, so the NRA state association filed
          suit again in two separate instances to reopen ranges, first outdoor ranges and then
          indoor ranges. In both cases, the Governor reversed course and reopened the ranges.

  A11ti.Gun Bills
  S.120 - This bill increases penalties for those allowing minors access to firearms resulting in
  death. NRA-ILA and our state allies pushed a successful amendment to provide an exemption if
  the minor gained access for legitimate self-defense. NJ already prosecutes these mandatory
  storage cases, usually under the child endangerment statute. The bi11 currently sits in committee
  and has not advanced.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 125 of
                                        151



   New Mexico
   Anti-Gun Bills/Actions:
   SB 5 - The Legislature passed red flag gun confiscation legislation during the 30-day
   fiscal session which ended in late February. Typically, the short sessions in even-numbered
   years are reserved for debate and consideration of legislation with a direct nexus to the budget.

          In her quest to reward Bloomberg-backed gun control groups and remain in the
          discussion as a potential running mate or Cabinet Secretaryfor Biden (neither ofwhich
          materialized), the governor endorsed and included redflag bills in the agenda for the
          2020 fiscal session. As passed, the legislation requires individuals to su"ender fireanns
          to law enforcement based on uncorroborated evidence that they are dangerous. Further,
          the measure allows for ex parte petitions, providing no initial hearing for these
          individuals before a judge and no access to mental health services or treatment before
          they lose their constitutional right to possess a firearm. Individuals subject to these
          orders will be immediately included in the NICS database as prohibited persons until the
          order expires. The sponsor ofthe legislation -- a personal injury attorney - added a
          provision that law enforcement officers can be held liable for not complying with the
          statute. This was a shot across the bow ofthe New Mexico Sheriffs Association (NMSA),
          which opposed the measure, and individual sheriffs who stated that they would not
          enforce the measure. It is also the basis for a potential lawsuit against the Act by NMSA,
          which is working with Mountain States Legal Foundation.

   Emergency Order - In response to the COVID-19 pandemic, the governor ordered the closure of
   all non-essential businesses, failing to designate gun stores as "essential." She doubled-down on
  enforcement ofher executive action by dispatching the New Mexico State Police to visit
  several firearm retailers in Albuquerque who remained open for business in defiance of her
  initial order. With a uruversal background check law on the books, this essentially prohibited
  any lawful firearm transfers in
  the state.
           In April, NRA-ILA, q/ong with several other pro-Second Amendment organizations, filed
          litigation in federal court challenging her order and this legal pressure ultimately forced
          her hand, resulting in gun stores and shooting ranges being allowed to operate on a by-
          appointment basis far sooner than most other retailers were permitted to even partially
          open.

  New York
  Anti-Gun Bills:
  S.7762 and S.7763 - These are "ghost gun" bills, placed on the Senate Codes agenda which
  passed the Senate, but the Assembly did not pass them.
         In January and February, legal counsel to Gov. Cuomo reached out to discuss regulation
         of80-percent lowers, or what they refer to as "ghost guns. " The original intention was
         for this issue to be addressed in the budget. New York often addresses policy issues in
         the budget, which is done during the month ofMarch. However, because ofCovid-19,
         virtually all controversial items were removedfrom the budget to ensure quick passage to
         have a budget in place for the next fiscal year. As a result, the un-serialized firearms
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03      Page 126 of
                                        151



           language was removedfrom the bill. S. 7762 is on the Senate calendar. S. 7763 passed the
           Senate and awaits action in the Assembly.

   S.6738 - Tiris measure bans fireanns raffles for charities. Tiris bill was introduced on the
   Assembly side last year, but did not have a Senate companion. NRA invested significant time
   meeting with lawmakers discussing the implications for our Association. We also partnered with
   many outdoor groups like Ducks Unlimited, Rocky Mountain Elk Foundation, Pheasants Forever
   and Quail Forever, among others.
          This bill had a lot ofopposition in 2019. however, the Senate version this year removed
          law enforcement, veterans, andfirefighters to reduce opposition. S. 6738 remains in
          committee.

   A. 703 - A bill to ban lead ammunition on public hunting lands. The bill passed out of
   committee and was placed on the Assembly calendar. Working with Assembly leadership,
   NRA-ILA was able to get the bill held on the calendar where it currently sits.

  A.1251 -Tiris measure requires semi-automatic handguns to be equipped with rnicrostamping
  technology while banning the sale of new handguns not equipped with such technology. This
  bill had been an annual issue in Albany, and had been blocked in previous years in the
  Republican-controlled Senate.

  A.2437 - A bill to ban .50 caliber firearms. Like microstamping, this bill was a top agenda item
  as Senate Democrats would make a discharge motion annually while in the Minority to get this
  bill to the floor. Again, our concern was that this bill would move with an anti-gun Majority
  now controlling the upper chamber. As of now, it remains in committee.

  North Carolina
  Pro-Gun Bills:
  HB652 - Guns in churches with education facilities attached. HB652 had a substitute dropped
  and was quickly pushed through the Senate two weeks before adjournment, passing the chamber
  28-15. The House rejected the Senate version, and expanded the language to include small
  fireann code changes. The amended HB652 passed the House 77-38, then the Senate 33-14. On
  July 2, Governor Roy Cooper vetoed the legislation. The House of Representatives took up an
  attempt at veto override on July 8, which failed 66-48.

  Anti-Gun Bills:
  HB86 - Gun control omnibus legislation, including extending permit to purchase requirements to
  long guns, magazine ban, universal background checks, bump stocks, require safe storage, repeal
  national reciprocity, require reporting of lost and stolen firearms, require anyone who owns a
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 127 of
                                        151



   firearm to purchase liability insurance, repeal preemption laws, restrict handgun ownership. This
   legislation did not receive a hearing during the two-year legislative session.

   North Dakota
   Pro-Gu11 Bills:
   HB 1042 - This bill fixed/clarified being able to carry concealed in a vehicle without a permit. It
   passed House Energy and Narural Resources committee 14-0 and went on to pass the House
   floor 91-0. It was next heard in Senate Energy and Natural Resources committee and was passed
   out favorably 6-0 and went on to pass the floor 42-3. It was signed into law by the Governor on
   April 9, 2020.

  HB 1163 - This bill reduced the penalty for carrying in prohibited places from a misdemeanor to
  an infraction. It was first heard in House Judiciary committee and passed out 12-2 and went on to
  pass the floor 78-14. On the Senate side it was referred to the Energy and Natural Resources
  committee and passed 4-2. It then went on to pass the floor 35-10. It was signed by the
  Governor on April 9, 2020.

  HB 1308 - This bill made it clear binary triggers were legal and not part of the definition of a
  machinegun. It passed both chambers by wide majorities and was signed into law on April 9,
  2020.

  HB 1381 - This bill prohibited taxpayer fimded gun buy-back programs and was brought in
  response to the largest North Dakota city, Fargo, having discussions of engaging in such a
  program. It passed both chambers by wide majorities and was signed by the Governor on April
  9, 2020.

  Anti-Gun Bills:
  HB 153 7 - This was a "Red Flag" proposal brought by Democrat Representative Karla Rose
  Hanson from Fargo. It received an unfavorable recommendation from the committee and was
  defeated on the House floor 17-76.

  Ohio
  Pro-Gun Bills:
  SB 317 -Allows those school employees who are authorized to lawfully carry a concealed
  firearm for self-defense on school property to do so without being required to undergo an
  extensive police training program.
          SB 317 was introduced in response to an E-verytown lawsuit challenging teacher carry
          qualification standards. The bill seeks to clarify the intent ofthe law and allow local
          school districts to continue to determine what is in the best interest oftheir faculty and
          students. NRA worked with members ofthe committee and Buckeye Fireanru Association
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21               Entered 04/03/21 02:48:03          Page 128 of
                                        151



          to craft language and advance the bill. The bill was passed out ofcommittee on 9-2-2020,
          and is still active during the lame duck session.

   HB 425 -Eliminates Ohio's ambiguously worded requirement that a Concealed Handgun
   License holder, when interacting with a police officer, "promptly" disclose they are carrying a
   firearm.. The law has been unevenly enforced and has become a trap for law-abiding gun owners
   in Ohio.
          NRA-provided language on elimination ofthe civil penalty. HB 425 properly transfers
          the responsibility to the police officer to ask ifa person is carrying. While the law would
          still require a person to truthfully respond ifasked, it would eliminate the harsh first-
          degree misdemeanor penalty for failure to disclose the information promptly, prior to
          being asked. 'I1zis bill has passed the House and had a hearing in the Senate but no
          Senate votes have been taken yet. This bill remains active during the lame duck session.

  HB 796/SB 383 - Strengthens Ohio's self-defense laws by stating that individuals have no duty
  to retreat from a place that they are lawfully present before using force in defense ofthemselves
  or others. Previously the law only applied to residences and vehicles, however SB 383 expands
  that to allow for law-abiding gun owners to be able to defend themselves without being required
  to retreat from any place they are allowed to be.
          This legislation has been fast tracked during the post-electum session. NRA has testified
          infavor ofthe bill in both the House and Senate committees, as well as sending alerts. It
          is still active during the lame duck session and awaits floor action in both the Senate and
          House.

  Anti-Gun Bills:
  SB 221 -As proposed by Governor DeWine and dubbed "Strong Ohio," is a comprehensive bill
  that sought to provide for the issuance, in specified circumstances, of a Safety Protection Order
  to apply regarding a person who is under a drug dependency, chronic alcoholic, or mental health-
  related :firearms disability. The bill also creates a "seller's protection certificate" and a new state-
  run background check system; it also expands the law regarding the provision of drug and
  alcohol test results to law enforcement personnel, and provides a new exception to the
  testimonial privilege for specified medical and dental personnel regarding certain probate oourt
  proceedings.
          A letter was sent to the Senate President in December of2019 stating NRA 's opposition
         and outlining numerous concerns with the bill. 11,e executive branch requested another
         review ofthe bill and that NRA work with them to find a "solution. " Recommendations
         were provided on improving record reporting ofprohibiting offenses and removal of
         inaccurate information in a timely manner. All other aspects ofthe bill were rejected by
         NRA as unacceptable. As ofthis report, no hearing is scheduled.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 129 of
                                        151



   Oklahoma
   Anti-Gun Bills:
   SQ 809 - A bill to repeal pennitless carry.
          NRA members and Second Amendment supporters ensured that their voices were heard
          on pemutless carry, with committee members soundly defeating this legislation by a 12-1
          vote. Instead ofquietly killing the bill on the calendar, leadership worked with NRA to
          bring this bill to a vote to send a clear message on permitless legislation going forward.

  Oregon
  Anti-Gun Bills:
  HB 4005 - A bill to require all firearms to be locked with a trigger-locking device or kept in a
  locked container, unless carried, with each firearm not secured constituting a separate violation.
  Anyone who has their fireanns lost or stolen would be strictly liable for any injury to persons or
  property if the firearms were not stored in compliance with the law. HB 4005 would also require
  reporting ofloss/stolen firearms or the owner would be held strictly 1iable. HB 4005 passed out
  of House Judiciary with a 7-4 vote, and out of the Rules Committee with a 4-3 vote. The bill did
  not receive a floor vote.
         HB 4005 has been a two-year battle in the legislature and through ballot initiatives.
         Similar legislation was introduced in 2019, however Senate Republicans held two "walk-
         outs" and prevented votes on the legislation. The bill was reintroduced this session. NRA
         worked closely with Senate and House leadership on session strategy, held several
         grassroots workshops in key districts, and utilized targeted email alerts, postcards and
         text messages to engage members in the effort. The Governor and Attorney General were
         strong proponents of the bill and testified at the committee hearing, with Moms Demand
         Action in strong attendance. NRA was responsible for organizing the opposition
         testimony panels for the hearing, and worked with committee members on several
         amendments, including a "Minority Report" that would be offered on the floor as an
         alternative. With grassroots support behind them, both Senate and House Republicans
         held a walk-out that resulted in the defeat ofHB 4005. This bill will be reintroduced next
         year, and has also been unsuccessfully introduced as ballot initiatives for the last two
         elections.

  Pennsylvania
  Pro-Gun Bills:
  SB 147 -A bill to expand Sunday hunting opportunities in the Keystone State. Gov. Tom Wolf
  signed the bill Nov. 2019. The bill took effect Feb. 25, 2020.
         Passage ofSB 147 was the culmination ofa many-year battle to get Sunday hunting
         passed in Pennsylvania. NRA-ILA worked with many organizations to get this bill across
         the finish line.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03       Page 130 of
                                        151



   HB 1747 - A bill to address emergency powers. The bill prevents the Governor from
   suspending or limiting the sale, dispensing or transportation of firearms during a declared
   emergency. It would have also remove the carry prohibitions that exist, with exemptions. The
   bill passed both the House and Senate, but was vetoed by Governor Wolf.
          HB 1747 was introduced and pushed during COVID closures and will remain a priority
          in coming sessions.

   HB 2440 - A bill to designate shooting ranges, sportsman clubs, hunting facilities and businesses
   relating to the sale or production of firearms and ammunition as life-sustaining. The bill passed
   both the House and Senate, but was vetoed by Governor Wolf.
          HB 2440 was also introduced andpushed during COVID closures and will remain a
          priority in coming sessions.

  Rhode Island
  Pro-Gun Bills:
  S.2418 - This bill creates a review and appeal process for those denied carry permits. It also
  includes attorney fees and the ability to take it to Supreme Court. The bill remains in committee
  for further study. It did not advance.
          NRA-ILA has worked on similar legislation in consecutive sessions.

  Anti-Gun Bills;
  S.2004A/H.7102A-Bills to ban '"ghost guns." The only significant gun bill heard on the floor
  of either chamber was this legislation. NRA worked with the Speaker's legal counsel to secure
  amendments that protected gun owners on these measures. A couple ofour primary concerns
  were protecting the pre-68 guns and making sure hobbyists could keep their property. Despite
  some opposition from the Senate, we were able to secure those amendments and blunt the bil1.
  NRA and its state association, the Second Amendment Coalition partnered with the various local
  gun groups (Rhode Island Firearms Owners League, Rhode Island Rifle and Revolver and the
  Vermont Federated Sportsmen's Clubs to tum out thousands of members to the Capito] in an
  impressive display of grassroots opposition on "gun night." COVID closures impacted the
  legislative schedule. The Senate dealt only with the ghost gun issue.
          The version signed by Gov. Raimondo was the House version with the aforementioned
         amendments included. Despite massive pressure andfonding.from Bloomberg.funded
         groups such as the Rhode Island Coalition Against Gun Violence, this was the only bill to
         pass. Their agenda included semi-auto and magazine bans and restrictions on school
          carry. They made a significant push for these items prior to session with Gov. Raimondo
         j oining their chorus. Ultimately, none ofthe bills listed below moved.

  S.2130 - A ban on magazines holding more than 10 rounds.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 131 of
                                        151



   S.2131 -A ban on popular, commonly owned semi-automatic rifles.

   S.2412 -A bill to limit issuance of carry permits to the Attorney General ("may issue").
           Currently, both local law enforcement and the AG are issuing authorities. The local law
           enforcement permits are "shall issue. " This is an attempt to move 100 percent to "may
           issue."

   H.7327-A measure to increase the age from 18 to 21 to buy all firearms and ammunition. This
   bill is still in committee.

   H. 7715-This bill prohibits the possession of firearms on school grounds by anyone other than
   law enforcement.

  Emergency Closures:
  As we were in town preparing for Gun night hearings on the House side, the Governor, at the
  suggestion of the state health department shut off public access to the state Capitol that
  afternoon, and it has been closed to the public ever since. As a result, leadership opted to scuttle
  the hearings only hours before they were to begin. Since the initial closures the Legislature has
  resumed in-person voting. NRA also worked with the Second Amendment Coalition at the onset
  to keep gun shops open. Gov. Raimondo ended up issuing Executive Order 20-07 on March 20
  which would extend the state's waiting period from 7 days to "up to" 30 days. We also worked
  to make sure ranges remained open. Neither gun shops nor ranges were ever closed.

  South Carolina
  Pro-Gun. Bills:
  S 0293 - Guns in churches with educational facilities attached. This measure passed the Senate
  unanimously in 2019, but stalled thereafter.
           With COVID, the legislature suspended session early in March; their operating
           resolution for resumption in the fall only allows legislation that has passed one chamber
           to be considered. S 0293 was taken up by the House during the reconvene session in
           September. Despite broad, bipartisan support, one rogue member ofthe House (Rep.
           Jonathon Hill - R), attempted to put a constitutional carry amendment on the legislation.
           Because ofthe timing ofreconvene and the Senate being adjourned Sine Die, any
           amendment would have killed the legislation. Leadership was forced to
           end debate, ending the bill's chances for the 2019-2020 session.

  South Dakota
  Pro-Gun Bills:
  SB 98 - 'This bill expanded Capitol Catty from 30 days to a calendar year. It passed both
  chambers with wide margins and was signed by the Governor on March 30, 2020.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21           Entered 04/03/21 02:48:03        Page 132 of
                                        151



   SB 120 - This bill made changes in state statute to comport with federal law allowing a minor to
   carry a pistol without being in the presence of their parent/guardian. The measure passed both
   chambers with wide margins and was signed by the Governor on March 30, 2020.

   HB 1094 - This measure was considered to be a constitutional carry enhancement bilJ by
   repealing the permit requirement while carrying a concealed fireann on a motorcycle,
   snowmobile & off-road vehicle. The bill passed both chambers with wide margins and was
   signed by the Governor on March 30, 2020.

  HB 1296 - This bill prohibits any fonn of government from shutting down gun sales, gun ranges,
  and ammunition sales in addition to prohibiting gun confiscation and other Second Amendment
  protections during declarations of emergency. The bill was not assigned to a standing committee
  and was instead presented to the whole House as a Committee of the Whole. The amendment
  passed 55-11 and the bill went on to pass 62-4. The Senate also met as a Committee of the
  Whole and they passed the measure on a 26-9 vote. It was signed into law on March 31, 2020.

  Anti-Gun Bills:
  SB 82 - This bill was a watered-down version of the ''Red Flag" proposal we have seen across
  the country. The Lieutenant Governor testified against the bill followed by NRA testimony and
  we defeated the bill in Senate Judiciary 5-2.

  Tennessee
  Pro-Gun Bills:
  HB 2817 - A bill to establish permitless carry. In early February, Governor Bill Lee reached out
  to have us assist in passing constitutional carry. Support for the measure was overwhelming in
  both legislative chambers and their respective leaders.
          Unfortunately, the bill was given a fairly significant.fiscal note (around $25M), which
         ultimately derailed our efforts once the CO VID crisis hit. The legislature recessed mid-
          March, only taking care ofa few "essential bills" and returned in late-May to complete
         more essential business before adjourning sine die mid-June.

  Texas
  No 2020 Session.

  Related Business: The Senate and House Select Committees on Mass Violence Prevention and
  Community Safety, formed in the a:ftennath of El Paso and Midland-Odessa shootings, had
  scheduled public hearings for mid-March and May, respectively, on gun-related interim
  charges. The Senate committee was to examine ways to keep firearms out of the hands of
  individuals who would not pass a federal background check, while protecting the Second
  Amendment and Texans' right to bear arms and whether Hstranger-to-stranger" gun sales in
  Texas should be subject to background checks. The House committee was to examine options
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 133 of
                                        151



  for strengthening enforcement measures for current Jaws that prevent the transfer of firearms to
  felons and other persons prohibited by current law from possessing fireanns. Both meetings
  were postponed due to COVID-19 and no further public hearings were held. In August, NRA-
  ILA was selected as a designated party to submit written testimony on the House Select
  Committee interim charges and to respond to specific questions from committee members about
  existing and proposed changes to firearms laws. Thus far, neither Select Committee has issued
  any recommendations or reports.

  Emergency Orders: As COVID-19 began spreading across the country, local officials from
  nearly all of the largest counties and some municipalities in Tex.as adopted orders closing all
  "non-essential" businesses, with no exemption for gun stores. ?\TR.A-ILA worked with a pro-
  Second Amendment lawmaker from one of those cities to request an opinion from the state
  attomey general on whether city and county officials could prohibit the sale of firearms through
  an emergency order or declaration by excluding firearm manufacturers and retailers as "essential
  businesses." The Attorney General, within days, issued an opinion stating that the state fireanns
  preemption law prohibits cities and counties from adopting regulations related to the transfer of
  and commerce in firearms, and that these emergency orders or declarations may not regulate or
  restrict the sale of firearms. Legislation which NRA-ILA initiated and supported passage of
  during the 2019 sess-ion ofthe Texas Legislature provided key language that General Paxton
  relied on for his opinion. Shortly after, the governor issued an executive order overriding these
  local orders which allowed exceptions for essential activities and services based on the
  Department of Homeland Security's guidelines on the Essential Critical Infrastructure
  Workforce, which includes workers supporting the operation of firearm or ammunition product
  manufacturers, retailers, importers, distributors and shooting ranges.

  ID!!!:
  Pro-Gun Bills:
  HB 271 - A bill to strengthen Utah's existing preemption statute, by providing an enforcement
  mechanism. HB 271 passed the House Law Enforcement and Criminal Justice Committee 7-3-1,
  the House floor 55-15-5 but failed to be considered in the Senate.

  HB 472 -A bill allowing for the carrying of a concealed firearm without a permit. HB 472 failed
  to receive a hearing.

  HJR 15 - Constitutional Right to Hunt and Fish. HJR 15 passed the House Natural Resources
  Committee 10-0-3, House floor 61-9-5, Senate Natural Resources 7-0-2, failed Senate floor 18-
  9-2, passed Senate floor on reconsideration 21-7-1 and was concurred by the House 59-11-5.
  HJR 15 will appear on the November 2020 ballot.

  Anti-Gun Bills:
  HB 109 - A bill criminalizing private transfers of fireanns/ ''Universal Background Checks."
  The bill was tabled by the House Law Enforcement and Criminal Justice Committee 8-3.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 134 of
                                        151



   HB 115 - A bill providing a cause of action for negligent entrustment of a fireann. HB 115
   failed to be considered upon a motion in the House Judiciary Committee 3-7-2.

   HB 136 -A bill requiring locked storage of :firearms. HB 136 failed to be considered upon a
   motion in the House Judiciary Committee 3-7-2.

   HB 229/HB 460/SB 246 -Bills to implement extreme risk protective orders. HB 229, HB 460
   and SB 246 failed without a hearing.

   Vermont
   Pro-Gun Bills:
   H.56/H.80 - Bills to allow the use of suppressors while hunting. The bills were first introduced
   in January 2019 and assigned to the House Committee on Natural Resources, Fish and Wildlife
   Committee (they carried over to 2020). These bills are a continuation of a multi-year endeavor.

  Anti-Gun Bills:
  S. J69 - This legislation imposes a 24-hour waiting period on handgun purchases. It did not
  advance during the 2020 session. This same bill was vetoed by Gov. Phil Scott on June 10, 2019.
  The original bill was a 48-hour waiting period on all fireanns. We expect that we will see
  something similar in 2021.
          We spent the 2019 session fighting this bill which forced them to continue to amend the
          language to keep it alive. The original bill also contained a mandatory storage
          provision, but was removed by amendment. When lawmakers returned in January 2020,
          both chambers placed it on their calendars with the intention oftrying to override the
          Governor 's veto.

  H.610 - This bill removes the "default proceed" provisjon on delayed NICS checks. They are
  portraying this legislation as "closing the Charleston loophole." The original bill started out with
  an indefinite wait, until the check comes back as ''proceed." The bill also "strengthens" the
  state's red-flag law. Under the original ERPO bill, only prosecutors could petition. Titls bill
  significantly expands the class of petitioners, making it much easier to get an order issued. It did
  not advance during the 2020 session, and we again expect to see something similar in 2021.
          Both NRA and our state association, the Vermont Federation ofSportsmen's Clubs,
           testified in House Judiciary and spent days attending committee hearings on this bill.
          In late February, H610 had a large public hearing in the House chambers as NRA anci
           VTFSC rallied gun owners to attend.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 135 of
                                        151



   Virginia
   Anti-Gun Bills:
   Overview:
                 In the summer of2019, Govemor Ralph Northam announced a legislative agenda
         ofeight pieces ofgun control legislation. After Democrats took majorities in both the
         House ofDelegates and State Senate in the November election, Governor Northam
         introduced the same eight bills for the 2020 legislative session.
                 Ahead ofthe 2020 legislative session, NRA-ILA conducted an aggressive
         statewide effort to mobilize members. Between December 1 and the end ofthe legislative
         session on March 12, NRA-ILA sent out dozens ofalerts to members. Billboard
         placements in Richmond were purchased for January as legislators returned to
         Richmond. NRA-ILA also held town-hall meetings in key Senate districts around the
         state, with hundreds ofmembers turning out to hear from Virginia NRA-ILA
         representatives. NRA-ILA also organized a media roundtable off-the-record to facilitate
         betterpress coverage during the legislative session. Additionally, we organized a Lobby
         Day at the Capitol on the first day the Senate Judiciary Committee took up gun control
         bills. As a result, the room was packed with NRA members vocalizing their opposition to
         these overreaching efforts. More than 1,000 members turned up to directly lobby their
         legislators and make their voices heard.
                 After a lengthy and drawn out legislative session, Virginia emerged with new laws
         and regulations govemingflreanns. All but 1 ofthe Governor's 8 gun control bills were
         significantly amended and/or watered down, against the administration's demands. Most
         importantly, his proposed hardware ban. including semi~automatic rifles and magazines
         over 12 rounds, failed.

  HB961 - Omnibus legislation to create gun registration, an assault weapons ban with a
  grandfather clause requiring registration, a magazine ban, a bump stock ban, and a ban on
  silencers. The legislation was amended before receiving a committee hearing in the House,
  removing the gun registration provision. HB961 passed the House Public Safety Committee 12-
  9. On the House floor, the legislation was changed, allowing possession of existing magazines,
  and the penalty was lowered to a class 1 misdemeanor rather than a felony. The amended HB961
  passed the House of Delegates 51-48. HB961 failed in the Senate Judiciary Committee 10-5.

  HB2/SB70- Universal background check legislation. The House version included background
  checks on transfers, temporary loans, and all private sales. The Senate legislation was amended
  in committee to limit background checks to private sales only. HB2 passed the House Public
  Safety Committee 13-9, then the full House 54-46. HB2 was amended in Senate Judiciary to the
  more limited legislation, and passed Judiciary 9-5, then the full Senate 23-17. ln conference, the
  House agreed to the more limited Senate bill. The House agreed to the conference report 54-44,
  and the Senate 23-16. HB2 and SB70 were signed by Governor Northam into law on Apnl 10.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21           Entered 04/03/21 02:48:03       Page 136 of
                                        151



   HB421/S835 - Local authority legislation. Governor Northam proposed new authority allowing
   localities to adopt any gun control legislation they wanted, up to and including blanket bans.
   HB421 was drafted in that vein, allowing localities to regulate firearms and ammunition as they
   wanted. HB421 passed the House Public Safety Committee 13-9, then passed the full House 50-
   48. SB35 was a more limited local authority legislation, restricting localities to government
   buildings, parks, and permitted events. SB35 passed the Senate Judiciary Committee 9-5, then
   full Senate 21-19. The House moved to the Senate position, and HB421 was amended to be
   identical to SB35. HB42 1 passed the Senate as amended 54-45; SB35 passed the House 53-46.
   Governor Northam made a small amendment recommendation, an exemption for ROTC
   programs. The House and Senate agreed to Northam' s recommendations, 48-45, and 21-19, and
   HB421 and SB35 were signed into law on April 22.

  HB812/SB69 - Handgun rationing to one handgun purchase a month. HB812 did not include an
  exemption for conceal carry permit holders, with the administration's backing. 8B69 included an
  exemption for conceal carry permit holders. HB812 passed the House Public Safety Committee
  13-9, then the full House of Delegates 53-47. S869 passed the Senate Judiciary Committee 9-5,
  then full Senate 21-19. After passing both chambers in differing versions, the Senate position
  prevailed over the Governor and the House, exempting conceal carry permit holders. The
  conference report passed the House 52-47, and the Senate 21-19. HB812 and SB69 were signed
  into law by Governor Northam on April 9.

  HB9 - Mandatory reporting oflost and stolen firearms. Companion legislation failed in the
  Senate 19-21. HB9 passed House Public Safety 15-7, then the full House 55-44. HB9 then
  passed the Senate Judiciary Committee 8-7. The bill was amended on the floor to increase the
  timeframe from 24 to 48 hours, and passed 20-20, with the Lieutenant Governor voting yes. The
  House then agreed to the changes with the same 55-44 vote. HB9 was signed into law by
  Governor Northam on April 6.

  HB1083 -Increasing penalty for ' recklessly' leaving an unsecured, loaded firearm around a
  minor. The Governor's proposed legislation would have increased the age of minors impacted to
   18, and made it a felony. The Senate companion bill was killed in the Senate Judiciary as a
  result. HB1083 passed the House Public Safety Committee 13-9, then the full House 54-46. The
  bill was gutted in Senate Judiciary, removing the age change, and changing to penalty from a
  class 6 felony to a class 1 misdemeanor. HB1083 then passed Senate Judiciary 9-6, and the full
  Senate 22-18. The House agreed to the Senate changes with a 55-43 vote. HB I 083 was signed
  into law on April 6.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 137 of
                                        151



  HB674/SB240- 'Red Flag' legislation, extreme risk protection order. HB674 passed the House
  Public Safety Committee 13-9, then the full House 52-46. SB240 passed the Senate Judiciary 9-
  5, then the full Senate 21-19. The bill was amended, increasing elements of due process,
  including separating the ERPO and search warrant processes, and requiring affidavits to be
  provided to individuals. HB674 passed the Senate 20-20, with the Lieutenant Governor voting
  yes, and the House 52-48; SB240 passed the House 53-47, and the Senate 21-17. HB674 and
  S8240 were signed into law by Governor Northam on April 8.

  HB264/SB263 - Training requirements for concealed carry permit. HB264 as drafted would
  have removed the video and online training components, requiring all CCP training to take place
  in-person. In sub-committee the patron, Del. Lopez, drafted a new amendment to strip out all
  references to the NRA from the code. HB264 then passed the House Public Safety Firearms
  Subcommittee 5-3, then the Public Safety Committee 13-9, then the full House 54-46. 8B263
  only removed video and online components, making training in-person. SB263 passed the Senate
  Judiciary Committee 7-6, then the full Senate 21-19. In conference, Senator John Bell insisted
  that the NRA language remain in the code, citing NRA instructor training as the ' gold standard'
  of instruction. The House and Governor caved to the Senate position, and final versions limited
  to requiring in-person training, with an enactment date ofJanuary 1, 2021 was agreed to, 52-42
  in the House, 23-17 in the Senate. HB264 and SB263 were signed into law on March 23.

  Washinirton
  Pro-Gun Bills:
  HB 2367 - A bill to clarify that self-defense legal subscriptions are not insurance, and therefore
  not under the regulation of the Washington Insurance Commissioner. This bill passed out of the
  House Consumer Protection and Business Committee with an 8-4 vote1 but did not receive a
  floor vote.

  SB 6347 - A bill to extend a Conceal Pistol License from 5 to 7 years if an individual voluntarily
  participates in a firearm safety course. This bill received a public hearing but did not receive a
  committee vote.

  Anti-Gun Bills:
  HB 1010 - A bill to allow the Washington State Patrol (WSP) to destroy confiscated firearms.
  Passed out of the House committee with a 9-6 vote but did not receive a floor vote.
         This bill has been introduced each legislative session for several years now at the request
         of WSP. NRA has had several meetings with WSP and the bill proponents over the years
         but have not reached common ground. NRA worked closely with the ranking committee
         member, who is a law enforcement officer on strategy, including proposing several
         amendments that were rejected. NRA testified in opposition to the bill and worked with
         legislators on floor amendments. This bill will be reintroduced next year.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03         Page 138 of
                                        151



  HB 13 I 5/SB6294 - A bill to require eight hours of fireann instruction and a live range
  component in order to receive a Concealed PistoJ License. HB 1315 & SB 6294 both passed out
  oftheir respective chamber committees but neither bill received a floor vote.

  HB 1374- A bill to abolish state preemption. This bill received a public hearing but did not pass
  out of committee.
          HB 13 74 has been introduced throughout the last several legislative sessions. In
         anticipation ofthe bill, NRA worked throughout the interim to generate opposition for the
         bill by meeting with key Senators. NRA testified in opposition at the committee hearings
         and utilized email alerts both before and during the session to engage our members. This
         bill will be reintroduced next session.

  HB 2305 - A bill to impose firearm prohibitions on respondents of a Vulnerable Adult Protective
  Order. This bill passed out oftbe House Judiciary Committee with a 9-6 vote and off the House
  floor with a 55-42. After crossover, the bill passed the Senate Law and Justice Committee with a
  4-3 vote, but did not receive a floor vote.
         Since passing Extreme Risk Protective Orders in Washington in 2016, the anti~gun
         proponents h(fl)e introduced legislation each session to expand firearm prohibitions to
         other protective orders. NRA worked with the ranking committee members on strategy,
         including providing statistics and information to friendly legislators to use for questions
         for the proponents during the hearing.

  HB 2240/HB 2947/SB 6077 -Bills to ban magazines capable of holding more than 10 rounds of
  ammunition. Each bill passed out of their respective committees but did not receive a floor vote.
          The magazine capacity ban was the top priority ofanti-gun legislators and the Alliance
         for Gun Responsibility this session. Proponents organized several lobby days throughout
         the session, with direct advocacy to the legislature by the Governor, the First Lady, and
         the Attorney General. NRA led opposition efforts at the Capitol, arranged all opposition
         testimony at committee hearings, worked with House members to draft floor amendments
         to delay a vote, and secured the necessary votes on the Senate side that ultimately killed
         the bill. Grassroots workshops in key districts, along with post cards, text messages and
         email alerts all successfa/ly generated activism from our members.

  HB 2519 - A bill to ban online sales of ammunition, and to require background check on
  ammunition ifNICS is available for the checks. This bill received a public hearing but did not
  receive a committee vote.
         NRA organized opposition testimony at the committee hearing and alerted members by
         email. This was first draft attempt ofrequiring background checks on ammunition, and
         proponents used the hearing to gain news coverage to stari creating public awareness of
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03         Page 139 of
                                        151



          the issue. This will be reintroduced in some form next year, but will likely change the
          background check requirement to the state system.

   HB 2622 - A bill to require respondents of a protective order to personally appear at a newly
   created hearing and testify they are no longer in possession of firearms. Passed the House
   Judiciary Committee with a 9-6 vote, and the House floor with 56-42 vote. After cross-over, the
   bill passed the Senate Law & Justice Committee with a 4-3 vote, and passed off the Senate floor
   with a 29-19 vote. HB 2622 was signed into the law by Governor Inslee on March 25th•
          NRA testified in opposition to this bill in both committees based on self-incrimination
           concerns, and worked with the House Judiciary Committee Chair and ranking member to
          make slight improvements to the language. This bill has since been struck down in court
          for being in violation of5th amendment protections.

  HB 2623 - A bill to impose fireann prohibition to the misdemeanor crimes of unlawful aiming
  or discharge of a felony, and to second degree animal cruelty. This bill passed out of the House
  Judiciary Committee with a 9-6 vote, and passed the House with a 56-41 vote. After crossover,
  the bill passed out of the Senate Law & Justice Committee with a4-3 vote, but did not receive a
  floor vote.

  SB 5434 - A bill to prohibit fireanns in child care centers. Passed out of Senate Law & Justice
  Committee with a 4-3 vote, and passed the Senate with a 27-20 vote. After crossover, SB 5434
  passed out ofthe House Judiciary Committee with a 9-6 vote, and off the House floor with a 56-
  40 vote. SB 5434 was signed into law by Governor Inslee on March 27.
          SB 5434 was carried over from the 2019 session, and originally included public parks
          and libraries. NRA organized the opposition testimony panels for the committee hearings
          and successfully amended out parks and libraries from the bill on the Senate floor.

  SB 6163 - A bill to impose a firearm prohibition on an individual charged with a DU1 while
  pending trial. This bill passed out of the Senate Law & Justice Committee but did not receive a
  floor vote.

  SB 6288 ~ A bill to establish an Office of Firearm Violence Prevention within the Governor's
  office. The Office will conduct research, work with the legislature on policies, find non-state
  funding, and also implement a state grant system. SB 6288 passed out of the Senate Law &
  Justice Committee with a 4-3 vote and passed the Senate with a 25-23 vote. After crossover, the
  bill passed the House Judiciary Committee with a 9-6 vote and offthe House floor with a 53-44
  vote. The bill was signed into law by Governor Inslee on April 2nd•

  SB 6289 - A bill to amend Washington' s firearm restoration process to allow judicial discretion
  in determining whether to restore Second Amendment rights, and extends the time required
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 140 of
                                        151



   before individual can petition for restoration. This bill passed out ofthe Senate Law & Justice
   Committee with a 4-3 vote but did not receive a floor vote.

   West Vjrginia
   Pro-Gun Bills:
   HB 4955 - Concealed Carry Permit fee reduction. This was NRA priority legislation to reduce
   the total fee for a 5-year permit from $100 to $50. The bill was met with the opposition of
   sheriffs dept. and court clerks due to financial concerns. The bill passed both chambers
   unanimously and was signed into law.

   SB 96 - Preemption. S896 originated with the intent of tightening up statewide preemption to
   include all 'deadly weapons' (knives, etc.) into state code, but NRA added fixes to address
   ongoing firearm issues. The bill passed both chambers and was signed into law.

   Anti-Gun Bills:
   HB 3069 - Employer Parking lot adjustment for chemical plants. This was the third and final
   attempt from Judiciary Chair John Shott to appease his big business supporters by excluding
   "chemical plants" and the "Toyota manufacturing plant" from the employer parking lot law. The
   bill failed in committee by a strong bi-partisan vote.

  Wisconsin
  Pro-Gun Bills:
  SB 822 - This bill allows the concealed carrying of firearms in churches and other places of
   worship with a concealed carry permit. The bill was passed out of Senate Committee on
   Insurance, Financial Services, Government Oversight and Courts on 3/ l 7/20 by a vote of 4-1, but
   never received a floor vote.

  Anti-Gun Bills:
  AB 431 - This bill generally prohibits a person from selling or transferring any firearm,
  including the frame or receiver of a fireann, unless the sale or transfer occurs through a federally
  licensed firearms dealer and involves a background check ofthe prospective transferee. A
  '~universal" background check bill.
          This bill was the main push from the Evers' administration. It did not get a hearing in the
  Assembly however NRA spent time informing legislators ofthe impacts ofthis legislation.

  Wyoming
  2020 was a budget session. No significant NRA backed legislation to report.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 141 of
                                        151



   EXTERNAL AFFAIRS - James Baranowski, Manager

   Arms Trade Treaty

           The results of the United States (U.S.) Presidential election pose a serious threat to the
   work and achievements we have accomplished with the Arms Trade Treaty {ATT) over the past
   4 years. It should be expected that the U.S. will re-sign the ATI, once again binding the U.S. to
   refrain from acts that would defeat the object and purpose of the treaty.

           The consequences of re~signing are even more dire given the expansion oftbe ATI's
   reach at the Sixth Conference of States Parties to the Arms Trade Treaty {CSP6), which was held
   by written/silence procedure due to COVID-19 earlier this year {August 11h- 21 st, 2020).

          As previously reported, at CSP6, the main body of the treaty adopted a resolution brought
  forward by the Working Group on Transparency and Reporting calling for the fonnation of a
  Diversion Infonnation Exchange Forum {DIBF).

           Created in secret through a proposal shared only with States Parties, the intended purpose
   of the DIEF is to allow for State Parties and Signatories to meet in closed sessions in order to
   share information on arms diversion routes and individual end users. However; despite
   continuous efforts by both ourselves and our partners in the World Forum on Shooting Activities
   (WFSA), no further information about the internal functioning or work of the DIBF has been
   uncovered.

          Given the stated purpose of the DIEP and continued secrecy surrounding it, there is a real
  fear that it will be used to begin work on the establishment of a global :firearm user registry. This
  should not be disregarded, as the ATT has already been used as a tool to attack U.S. policy.

          As noted previously, China acceded to the AIT in July, 2020, allowing for them to attend
  CSP6 as a fonnal State Party. Using their newly afforded platform, China attacked the U.S.,
  labelling the country a "_political virus" and calling for all States Parties to cease any anns trade
  with countries not a party to the ATI - a clear attempt to disrupt the U.S. arms trade and strangle
  the military/defensive capabilities of their opponents in the region {i.e., Taiwan).

          Accordingly, it is apparent that our adversaries will use the ATI to their advantage, and
  given the overwhelming support for anns-contro] by the ATI's States Parties and supporting
  Non-Governmental Organizations {NGOs), efforts to create a global registry should not be
  ignored.

          In regards to the overall health of the AIT, the willingness of States Parties to meet their
  obligations continues to decline. Financially, only 47% of States Parties submitted their required
  financial contributions this year, a decrease of l 0% from 2019's abysmal compliance rate of 57%.

        The 2020 reporting numbers mirror the same decline in adherence to the A TT's tenns.
  Only 56% of States Parties submitted their required annual reports in 2020, which, 1ike the
  financial figures, constitute a 10% decline from the previous year.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 142 of
                                        151



          Despite the continued decline in compliance, the ATT continues to move f01ward.
   Fueled by in-kind contributions from Switzerland and the financial relief afforded by the
   COVID-19 outbreak preventing costly in-person meetings, there is little doubt that the ATT will
   continue to operate and expand, especially as 2020 marked the expiration on its mordtorium on
   amendments.

           For 2021 there will once again be two week-long Working Group and Preparatory
   meetings, followed by the Seventh Conference of States Parties to the ATI (CSP7). At this time
   all the meetings are scheduled to occur in Geneva, Switzerland, however, it remains to be
   determined if they will be in-person, via video-conference, or once again held by silence/written
   procedure. Formal dates for the WO and Preparatory meetings have not yet been established, but
   CSP7 is set for August 30th - September 3n1,

   The UN Protocol Against the Illicit Manufacturing Of And Trafficking In Firearms, Their
   Parts And Components And Ammunitions

          The 10th Session of the UN Convention against Transnational Organized Crime
  (UNTOC), under which the UN Protocol Against the Illicit Manufacturing OfAnd Trafficking In
  Fireanns, Their Parts And Components And Ammunitions (Firearms Protocol), met October 12th
  - 16th in Vienna, Austria. Due to the travel restrictions related to COVID-19 only local
  representatives were able to attend in person while others, such as the NRA, participated via the
  UN's virtual online platform.

          1, t 00 participants attended the conference from 120 countries. In addition, 16 inter-
  governmental organizations and 146 civil society representatives were attendance. The main
  discussions focused on the Firearms Protocol occurred October 14th, resulting in a 6 page
  resolution entitled ''Strengthening international cooperation against the illicit manufacturing of
  and trafficking in firearms, their parts and components and ammunition".

          Several sections of the resolution are concerning, in that they call for synergies between
  the Firearms Protocol and other related UN initiatives (such as the PoA and ATI), but two in
  particular are cause for alarm; sections 16 and 17.

          Section 16 calls upon all parties to the Protocol to include in their record-keeping systems
  information about the entire life-cycle of a fireann, parts and components, ammunition, export
  import and transfer information, and the issuance of licenses for firearms possession and end-
  user verifications.

         Section 17 calls on training private sector actors involved in the import, export and
  transportation of .firearms to assist governments in strengthening border security in order to
  prevent and combat the theft, loss or diversion of firearms - a mandate which is clearly against
  the scope of the Firearms Protocol.

         Throughout the week there were also a series of side-events focused on small arms and
  light weapons. The United Nations Office ofDrugs and Crime (UNODC) hosted two events;
  "Celebrating the 15th anniversary of the entry into force of the Firearms Protocol: Time for
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 143 of
                                        151



   universalization and effective implementation" and "Promoting the Community of Practitioners
   Countering Firearms Trafficking and Related Crimes". Small Arms Survey, along with the UN
   Institute for Disarmament Research (UNIDIR), hosted an event entitled "Tracking illicit flows
   and use of ammunition,'' and finally, the Swedish company Hwnanium Me1al hosted an event
   focused on the UN's Sustainable Development Goals, entitled "Together for SDG16: Exploring
   best practice examples to tackle fun violence and organized crime from a youth and survivor's
   perspective."

           The first UNODC event regarding the anniversary of the Firearms Protocol was
  noteworthy in that it was chaired by Ambassador Jean-Claude Brunet (France). Brunet was the
  president of the Third Review Conference of the Programme of Action (RevCon3) which went
  against precedent and incorporated ammunition into the PoA over the objections of the U.S.
  During his presentation, Brunet noted that the highest priority of the PoA and all other UN
  initiatives should be to synergize and harmonize so that they are aligned in including ammunition
  in their terms.

          The Small Arms Survey and UNIDIR side event on tracking illicit flows and use of
  ammunition was also noteworthy. The event focused almost exclusively on the need for the
  marking and tracing of ammunition, justifying it as being the fuel ("oxygen'') of firearms crime.
  It was also announced during the event that UNIDIR wil1 be launching and Ammunition
  Profiling Handbook before the end of this year which they envision serving as a guideline to
  further the discussion about marking and tracing ammunition at all UN firearms initiatives.

          While the U.S. is not a party to the Firearms Protocol, like the ATI, principles adopted
  by it will have an impact on other UN initiatives, most notably the PoA. This is the reason our
  opponents are continuously arguing for synergies between the initiatives and why we must attend
  all meetings regardless of the U.S.' status. It is also apparent that the focus has shifted almost
  exclusively to regulating ammunition on the global scale, and with it now being included in the
  PoA (as noted more below), why we must ensure that international standards are not established.

  UN Programme of Action to Prevent, Combat and Eradicate the Illicit Trade in Small
  Arms and Light Weapons and All its Aspects

         The UN Programme of Action to Prevent, Combat and Eradicate the Illicit Trade in
  Small Arms and Light Weapons and all its Aspects (PoA) will meet for its Seventh Biennial
  Meeting of States to Consider the National, Regional, and Global Implementation of the PoA
  (BMS7) from July 26'11- 30th, 2021 in New York.

        This meeting was previous!y scheduled for June 15th - 19th of this year but postponed due
  to complications associated with COVID-19.

           As previously reported, BMS7 will be a significant meeting when it does occur,
  especially in light of the recent developments with lead ammunition in Europe. It will also be
  the first formal meeting of the PoA since its abandonment of the consensus requirement under
  the leadership of Ambassador Jean-Claude Brunet at the RevCon3 in 2018, which allowed for
  the inclusion of ammunition in its terms.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 144 of
                                        151



          In preparation for the meeting, 14 states have already submitted their views for
  consideration. Regrettably, most ofthese views have not been translated and made available in
  English. Of those that are in English, two of them celebrate the inclusion of ammunition under
  the PoA; India and Ireland. India also takes their welcoming of ammunition a step further,
  noting that their Anns (Amendment) Act of2019 already "lays down provisions for stamping'' of
  ammunition.

         This is noteworthy, as the PoA's inclusion of ammunition within its terms has opened the
  door for the international regulation of ammunition production, sale and possession~
  exponentially increasing the risk of international marking requirements being established.

           Strong arguments exist for the U.S. to formally announce their intention to withdrawal
  from the PoA and propose elimination of the UN mandate for it. The abandonment of consensus
  at RevCon3 was a complete betrayal to the PoA process and should the discussions and decisions
  once again lead to such results we will be prepared to challenge the U.S.' involvement with the
  initiative in order to protect our members' interest and prevent further intrusion by the UN on our
  Second Amendment rights.

  Group of Government Experts on Ammunition Stockpile Management

         The Group of Government Experts on Ammunition Stockpile Management (GGE),
  which first established by a UN General Assembly resolution on December 6th, 2006, began
  work this year to produce a report outlining problems arising from the accumulation of
  conventional ammunition stockpiles in surplus.

          As previously reported, the 25 member GGE, which includes the U.S., met twice this
  year; first in January and again in April. The GGE was expected to meet again prior to the UN
  General Assembly First Committee on Disannament and International Security (First
  Committee) in October to finalize a report outlining its findings and recommendations to the
  General Assembly. Due to complications with the COVID-19 outbreak, the GGE was unable to
  complete their work and no report was tabled at First Committee.

          This was significant, as the GOE had been working in areas far beyond its purported
  scope, and while their meetings are not open to NGOs, it is apparent through issue papers
  released in October, 2019 and again in May of 2020, that the GGE is exploring the possibility of
  establishing a framework to regulate ammunition internationally similar to the International
  Tracing Instrument (ITI).

       As the ITI relies on international firearm marking standards, we believe that the
  ammunition framework envisioned by the GGE would require some fonn of international
  ammunition marking requirements, which they claim to be both "technically feasible and cost
  effective."

          The report will become a critical document which will be relied on by those pushing for
  international ammunition control standards to justify their work and initiatives. Accordingly,
  during First Committee a resolution was passed calling for Secretary-General to convene the
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21              Entered 04/03/21 02:48:03         Page 145 of
                                        151



   GGE for up to 10 working days in 2021 in order to allow for the group to complete its work and
   finish the report. In addition, it was decided that the provisional agenda of the 76th session of the
   First Committee to be held in 2021 will include under "General and complete disannament" a
   sub-item entitled "Problems arising from the accumulation of conventional ammwution
   stockpiles in surplus" during which the report can be presented.

          Despite the 76th First Committee session occurring after the scheduled date ofBMS7 in
   2021, we believe the report will be completed prior to June so that it can be utilized during
   BMS7.

   Geneva Peace Week 2020

           Geneva Peace week is an international initiative which brings together academics,
   international organizations, NGOs and like-minded individuals to ••expand the space for building
   peace and resolving conflict through dialogue and negotiation." Since its inception in 2014 it has
   not delved into the small arms and light weapons issues and has historically not been an event we
   have attended or reported on.

           This year, during its 7th edition which ran virtually during the week of November 2nd -
  5t11, two courses were included on its agenda that were of interest. This included an event
  sponsored by UNIDIR, the U.K. and Switzerland entitled "Building Bridges: Integrating Arms
  Control and Conflict Prevention", and an event sponsored by the Conservation of Nature (IUCN)
  and World Wildlife Fund (WWF) entitled "Conservation and peacebuilding: Towards greater
  collaboration."

          We attended these events, and while it remains concerning that the small arms and light
  weapons are being included on the Peace Week agenda, and especially that UNIDIR bas become
  involved, both focused entirely on overviews ofthe work being conducted by the presenting
  associations and did not address any issues related to anns control in depth.

         Despite the lack ofmaterial information presented this year, the incJusion of these
  organizations and topics in the agenda signals that small arms and light weapons will he
  addressed in the context of Peace Week moving forward. Accordingly, we will continue
  monitoring and participating in pertinent Peace Week events moving forward.

  Ammunition in Europe

          On December 2nd the European Council approved the European Commission's proposal
  to restrict the use of lead shot over wetlands in Europe by a vote of 18 for, 6 against and 3
  abstentions. Due to the manner in which voting is reported it is not possible to know how
  individual countries voted.

         Toe ban has been published in the Official Journal of the European Union as an
  amendment to Annex XVII of the REACH Regulation. Member states now 24 months to
  implement its restrictions, meaning that by the end of 2022 the ban will be implemented
  throughout the region.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 146 of
                                        151



          As previously noted, the restriction uses the Ramsar Convention definition of wetlands,
   which defines them as "areas of marsh, fen, peatland or water, whether natural or artificial,
   permanent or temporary, with water that is static or flowing, fresh, brackish or salt, including
   areas of marine water the depth of which at low time does not exceed six meters." Accordingly,
   any land with standing water, including rain puddles, constitutes a wetland, along with any area
   within one hundred ( 100) meters of it. The ban includes a prohibition on possession in Ramsar
   defined wetlands, meaning that a hunter traversing over a nwetland" to a "dry" area is prohibited
   from carrying lead ammunition with them.

          1n addition, a complete ban on the use of lead ammunition in Europe still remains on the
   horizon. Tiris comes from both a proposal to ban the use of all lead ammunition in terrestrial
   environments and through the listing oflead metal as a Substance ofVery High Concern
   (SVHC) on the European Chemicals Agency (ECHA) Candidate list.

          The terrestrial environment ban witnessed the close of its open comment period on
   December 16th 2019 and is now with the ECHA who is drafting a restriction dossier expected to
   be completed in October. After the completion of the dossier there will be a public consultation
   period expected to close in November of 2021. As previously reported, a finaJ opinion will then
   be submitted to the European Commission in January 2022, followed by a vote on its adoption in
   the summer of 2022 and one to two year implementation period.

          In short: lead shot will be banned over wetlands no later than December 2022 and an
  outright ban on all lead ammunition still remains a very real possibility that could occur as early
  as 2023/2024.

  German Institute for Standardization Specification 91384

          The issues with ammunition in Gean.any continue to be discussed under the authority of
  the German Institute for Standardization (DIN), with the last formal meeting ofthe Consortium
  taking place virtually on November 17th•

         The purpose of this meeting was to incorporate final editorial comments and finalize DIN
  SPEC 91384. The meeting was contentious but did result in the agreement ofwording to be
  contained in a final document which was shared on December 2nd•

          A final up/down vote on DIN SPEC 91384 is scheduled for December 16°1; however, in
  the final document that was shared on the 2nd, numerous changes had been made to the agreed
  upon language from the November 17ili meeting.

          This has been a common theme since the DIN began work on the Specification in 2017.
  While it was initially envisioned as being adopted in 2018 as a means to address the ethical
  culling of wild game species, it now appears likely that the "no" votes will carry on December
  J(ilh and as a result the development process will terminate.

        Despite this likely outcome, new ammunition specifications are still expected to be
  implemented in Germany through a revision of the German Federal Hunting Law. Additionally,
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 147 of
                                        151



   several other nations in Europe have been affording attention to the DIC SPEC process, and even
   if it fails we expect to see them develop their own national ammunition regulations in the region.

   UN General Assembly First Committee on Disarmament and International Security

           The 75th session ofUN General Assembly First Committee on Disannament and
   International Security met October 6th -November 10th in New York. Most of the work was
   performed through virtual webcasting over UN Web TV and limited in•person meetings which
   excluded NGO's from participation.

          Much ofthe time was spent focused on nuclear issues and political posturing by Russia,
   along with discussions dedicated to chemical, explosive and autonomous weapons, space and
   cyber security issues. Accordingly, there was limited discussion on small anns anll light
   weapons, with the focus mainly being on the impact they have on gender based violence.

           There was some discussion directed at diversion, with many states noting the importance
   ofBMS7 and role of the ATT. In total, 8 resolutions were tabled for discussion, with the U.S.
   objecting to the language in only one regarding "strengthening of security and cooperation in the
   Mediterranean region."

           In addition, a resolution was tabled by France and Germany entitled "Fortieth anniversary
   of the United Nations Institute for Disannament Research;'' praising its work and impact on
   small arms and light weapons initiatives. The resolution received 171 votes in favor, none
   against, and two abstentions - the U.S. and Israel. The resolution also contained a paragraph
   calling for UNIDIR's funding to be increased, which led to a separate vote on it which received
   only 160 votes in favor and one directly against from the U.S.

          Also, as previously noted in this report, a resolution was passed affording the GGE 10
  more days in 2021 to complete its report on ammunition stockpile management and including on
  the agenda for the 76th session of the First Committee a sub item entitled ''Problems arising from
  the accumulation of conventional ammunition stockpiles in surplus" during which it is expected
  that the GGE report will be tabled and discussed.

          It was apparent throughout the course of discussions at First Committee this year that
  there is substantial interest and effort being expended into using next year's BMS7 meeting to
  advance the reach of the UN on small anns and light weapons issues, and particularly those
  related to ammunition.

  Canada

          Opposition continues to mount against Canadian Prime Minister Justin Trudeau's May is1
  prohibition on over 1,500 previously lawful firearms and their variants. Multiple lawsuits have
  been filed challenging both the validity of the process used to adopt it, known as an "order-in
  council," and from individual owners questioning the validity of a prohibition on previously
  lawful firearms. In addition, a p]an for the prohibition's al]eged "buy back" program has not
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03         Page 148 of
                                        151



   been developed, largely due to the government's inability to secure a single bid from a company
   willing to design and run the program despite two open solicitations.

           The prohibition is also facing backlash from the National Police Federation (NPF), which
  is the union representing over 20,000 Royal Canadian Mounted Police. In a statement released
  November 23"1, the NPF highlighted several issues with the prohibition, most notably that
  firearm crimes in Canada are best lessened by addressing illegal gun trafficking gangs and not by
  restricting gun ownership on the lawful populace.

          1n court, the most promising challenge to date has come out of Calgary, Alberta, where
  on November 30th the Alberta Provincial ruled that individual owners can in fact challenge the
  prohibition and that the Government's contention that permits are not being "nullified" or
  "invalidated" is false, finding that they are in fact being "revoked" This is significant, as courts
  in both New Brunswick and Newfoundland previously ruled in the Government's favor on
  similar challenges, denying owners the ability to challenge the prohibition under the authority
  vested in them by Section 74 of the Canadian Firearms Act.

          In addition, more information about the language contained in the prohibition, and
  specifically the Government's understanding of it, continues to emerge. As previously noted, the
  stated purpose of the prohibition was to ban the sale, transportation, importation and use of
  "military grade assault weapons," a term undefined by Canadian law.

          As attorney' s and associations began to dissect the language further, it became clear that
  the prohibition's language went much further. In addition to capturing Canada's most common
  firearms such as 10 and 12 gauge shotguns threaded for chokes, the prohibition's reference to
  "variants" finally received a definition from the Government in mid-December. In their
  definition, the Government claimed that a series of factors/guidelines will be used to assess if a
  firearm is a variant of any of those newly prohibited, and therefore itself a prohibited firearm.
  Along with design similarities, the guidelines also included such factors as "advertising,"
  "depiction by the firearms in the press and firearms industry," "name variants," ''purpose ofthe
  firearm," "historical significance," "case law," and "format relationship."

          It has also been discovered that the amnesty program which allows for sustenance hunters
  to continue using their newly prohibited firearms until 2022 contains no exceptions for
  gunsmithing. Canadian associations are already preparing legal chalJenges to this, noting that it
  provides no ability for firearms to be repaired if damaged and that should a one of the amnesty
  firearms jam in the field a hunter has no ability to travel back from the hunting destination with it
  as it would result in a violation of Canada's criminal code regarding driving with a loaded
  firearm.

          The Canadian Shooting Sports Association and Canada's National Fireanns Association,
  both members ofthe WFSA, are both actively fighting against this prohibition, and as a new
  revelation about it emerges almost every day we will continue to update our members on it.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21             Entered 04/03/21 02:48:03        Page 149 of
                                        151



   World Forum on Shooting Activities

           The COVID-19 outbreak and associated travel restrictions have severely impacted the
   ability of the WFSA to meet in person; however, the association continues to function through
   online meetings and workshops.

          In addition, efforts are being made to increase the activity and participation ofmember
  associations who have been afforded more opportunities to both attend and participate in UN
  meetings given the elimination of the travel and related expenses historically associated with
  participation in such events.

          In an effort to both seize the opportunity that the new online format for so many
  international initiatives has afforded and increase the global footprint of the WFSA, we have
  worked with our counterpart in Italy to develop several proposals that will be presented to the
  Executive Committee shortly after the filing of this report.

          The proposals include the hosting of WFSA training sessions for associations that have
  not historically attended UN meetings, educational seminars on key issues and speech writing to
  hopefully result in more associations presenting their opinions at international initiatives, and a
  retooling of the WFSA's current committee work to hopefully allow for an increase of both the
  information being exchanged and worldwide image/footprint of the association itself.

          Support for these efforts have been expressed by many associations already, especially in
  light of the success ofthe online webinar series directed at the countering the lead shot ban in
  European wetlands.

         As previously reported, the WFSA, in partnership AFEMS, FACE, IEACS and SAAMI,
  hosted four workshops this year in an attempt to both educate and mobilize associations in
  opposition to the ban. Despite a ban on lead shot over wetlands in Europe ultimately being
  enacted (as discussed earlier in this report), the workshops showcased the ability of the WFSA to
  expand its reach and increase its value de!,J>ite the inability to hold meetings in person.

         Formal meeting of the Legislative, Statistics, Environment and Image Committees, along
  with the Executive Committee, continue to be held via videoconference. The September 23rd -
  24th meetings were well attended and productive, and due to the cancellation of both the SHOT
  and IWA shows next year, meetings will continue to be held in such a format.

  Conclusion

          The NRA bas been the most influential national firearms group in the international arena
  for more than 20 years. Since the start of the 1995 UN small arms and light weapons effort,
  through the organization of the WFSA io 1996, to being the first firearm group to become an
  official UN NGO, the NRA' s leadership remains unparalleled. While our efforts are often in the
  shadows, our results, such as convincing the current administration to unsign the AIT, can be
  seen and heard around the world. Accordingly, it bears repeating that most of what we do
  internationally is "quiet diplomacy."
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21              Entered 04/03/21 02:48:03         Page 150 of
                                        151



   HUNTING POLICY, NATURAL RESOURCES, CONSERVATION & WILDLIFE -
   Erica Tergeson, Director

   State Issues

           Monitored and researched numerous bills introduced and moving through state
   legislatures that impact hunting, hunters and game management. Drafted testimony and alerts,
   with the help of state lobbyists and legislative aides. Monitored and researched state fish and
   game agency proposals and actions in addition to state initiatives and referendums.

   Highlights

            California- For the past two years, bills have been introduced in the California legislature
   to ban the import ofcertain iconic African hunting trophies into the State. Last year the bill died
   because of the cost to the budget; this year the bill died due to key republicans helping to
   filibuster and nm out the clock before the bill could be passed. While likely short-lived, this is
   still a victory for the NRA.

          Colorado: Wolf Reintroduction Ballot Initiative-- Last year, animal rights activists
  collected enough signatures to include an initiative on the Colorado ballot that would reintroduce
  wolves west of the Continental Divide. Wolves have already been documented in Colorado and
  would naturally repopulate on their own. This would make wolves the top priority for the
  Colorado Division of Wildlife and would jeopardize the newly rebounded moose population in
  addition to threatening elk, mule deer and whitetail deer.

          The initiative passed, as expected, but there are several potential lawsuits that could
  significantly slow implementation. Depending on what happens to the Federal de-listing of the
  grey wolffrom the Endangered Species Act and whether it is upheld in court, the State of
  Colorado may lack the jurisdiction to re-introduce wolves.

         Missouri- In February, the Missouri Senate Committee on Agriculture, Food Production,
  and Outdoor Resources had a hearing on Senate Joint Resolution 62 to amend the Constitution of
  Missouri to affirm that it is a right of the public to hunt, fish and harvest wildlife. NRA-ILA is
  strongly supporting this effort and activated its members in MO. Unfortunately, COVID-19 has
  adversely impacted the ability ofthis bill to move forward at this time, but NRA-ILA will
  continue to push for this in 2021.

           North Carolina- Despite the fact that North Carolina voted to end the ban on Sunday
  Hwiting in 2017, the North Carolina Wildlife Resources Commission has yet to open public
  lands- to Sunday Hunting (Sunday hunting is allowed on private lands). NRA has been working
  with the Commission and other hunting groups to open less controversial public lands to Sunday
  hunting and bas participated in numerous calls, surveys and strategy sessions to accomplish this
  goal. Some of this hard work has paid off as recently, the State of North Carolina announced a
  comment period on lands it would like to open for Sunday Hunting. NRA-ILA will continue to
  push to open all lands to Sunday hunting.
Case 21-30085-hdh11 Doc 468-1 Filed 04/03/21            Entered 04/03/21 02:48:03        Page 151 of
                                        151



           Pennsylvania- On February 25th, the legislation lifting the ban on Sunday Hunting went
   into effect. For the first time since the Revolutionary War, Pennsylvanian's had the opportunity
   to hunt on certain Sundays in the 2020 fall hunting season.

          Utah- In the November election, the people of Utah voted to add the right to hunt and fish
  to the State Constitution. NRA-ILA drafted the language for the amendment and helped
  shepherd the bill through the legislature. There are now a total of 23 states that have enacted
  right to hunt and fish constitutional amendments.

  NRA Online Hunter Education - NRA-ILA has been working with General Operations and
  others to take advantage of the cancellation of in-person bunter education classes and replace
  them with NRA's free online hunter education courses. To date, the NRA's online hunter
  education course has accounted for over $150,000 in 'match' dollars for state's Pittman
  Robertson funds. In other words, thanks to the NRA's free class, states now have $150,000 more
  to spend on wildlife conservation.

  Federal

  Conf"lrmation ofDeputy Secretary of the Department of the Interior, Kate MacGregor

  On February 25th , Katharine MacGregor was confirmed by the Senate to be the Deputy Secretary
  of the Department of the Interior. MacGregor has served in severaJ positions at the Department
  ofthe Interior since joining the Trump Administration in January 2017, including Principal
  Deputy Assistant Secretary for Land and Minerals Management and Deputy Chief of Staff.
  Previously, MacGregor worked on Capitol Hill for 10 years, serving under two Chairmen of the
  House Natural Resources Committee. MacGregor is a hunter, outdoorsman and friend of the
  NRA.

  Trophy Import Permit litigation-NRA win

  On June 16th, the U.S. Court of Appeals for the D.C. District Circuit upheld the USFWS' 2018
  policy permitting importation of certain threatened and endangered species on a case-by-case
  basis. The long-running case began in 2014 when the Obama Administration interrupted the
  legal permitting process in an effort to end importations based on emotion and unsubstantiated
  claims with no basis in wildlife science. The NRA and SCI challenged the move in court to put
  an end to the previous administration's arbitrary importation ban. Not only did the ban remove
  the benefits and incentives oflegal, regulated bunting but it hindered wildlife conservation
  efforts in numerous African nations. This is a huge and long-fought win for NRA, hunters and
  wildlife conservation.

  Expanded Access to Federal Lands for Hunting

  On August 19th the Department of the Interior announced its final rule to open or expand 850-
  plus hunting and fishing opportunities across more than 2.3 million acres at 147 national wildlife
  refuges and national fish hatcheries. This rule marks the single largest expansion of hunting and
